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Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF IDAHO

Case number (if known)                                                     Chapter      11
                                                                                                                         Check if this an
                                                                                                                            amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                          06/24
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                ROOME ENTERPIRSES, INC.

2.   All other names debtor
     used in the last 8 years
                                  DBA ServiceMaster by Roome
     Include any assumed          DBA ServiceMaster Cleaning and Restoration by Roome
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                   Mailing address, if different from principal place of
                                                                                                business

                                  5974 W SELTICE WAY,                                           P.O. Box 1799
                                  POST FALLS, ID 83854-8256                                     Post Falls, ID 83877
                                  Number, Street, City, State & ZIP Code                        P.O. Box, Number, Street, City, State & ZIP Code

                                  Kootenai                                                      Location of principal assets, if different from principal
                                  County                                                        place of business

                                                                                                Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                   Other. Specify:




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Debtor    ROOME ENTERPIRSES, INC.                                                                   Case number (if known)
          Name



7.   Describe debtor's business       A. Check one:
                                       Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                       Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                       Railroad (as defined in 11 U.S.C. § 101(44))
                                       Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                       Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                       Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                       None of the above
                                      B. Check all that apply
                                       Tax-exempt entity (as described in 26 U.S.C. §501)
                                       Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                       Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                      C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                        http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the       Check one:
     Bankruptcy Code is the
     debtor filing?
                                       Chapter 7
                                       Chapter 9
                                       Chapter 11. Check all that apply:
                                                            Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $3,024,725 (amount subject to adjustment on 4/01/25 and every 3 years after that).
                                                            The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                                The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and it chooses to
                                                                 proceed under Subchapter V of Chapter 11.
                                                            A plan is being filed with this petition.
                                                            Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                            The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                            The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                       Chapter 12
9.   Were prior bankruptcy
     cases filed by or against
                                       No.
     the debtor within the last 8      Yes.
     years?
     If more than 2 cases, attach a
     separate list.                             District                                When                                 Case number
                                                District                                When                                 Case number




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Debtor    ROOME ENTERPIRSES, INC.                                                                       Case number (if known)
          Name

10. Are any bankruptcy cases
    pending or being filed by a
                                            No
    business partner or an                  Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                         Debtor                                                                   Relationship
                                                    District                                When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                              preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                             A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or
    have possession of any
                                        No
    real property or personal           Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                          Why does the property need immediate attention? (Check all that apply.)
                                                   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                     What is the hazard?
                                                   It needs to be physically secured or protected from the weather.
                                                   It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                     livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                   Other
                                                  Where is the property?
                                                                                   Number, Street, City, State & ZIP Code
                                                  Is the property insured?
                                                   No
                                                   Yes. Insurance agency
                                                               Contact name
                                                               Phone



          Statistical and administrative information

13. Debtor's estimation of             .       Check one:
    available funds
                                                Funds will be available for distribution to unsecured creditors.
                                                After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                 1-49                                           1,000-5,000                               25,001-50,000
    creditors                                                                           5001-10,000                               50,001-100,000
                                        50-99
                                        100-199                                        10,001-25,000                             More than100,000
                                        200-999

15. Estimated Assets                    $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                        $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                        $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                        $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion

16. Estimated liabilities               $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion

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Debtor   ROOME ENTERPIRSES, INC.                                                 Case number (if known)
         Name

                         $50,001 - $100,000                       $10,000,001 - $50 million              $1,000,000,001 - $10 billion
                         $100,001 - $500,000                      $50,000,001 - $100 million             $10,000,000,001 - $50 billion
                         $500,001 - $1 million                    $100,000,001 - $500 million            More than $50 billion




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Debtor    ROOME ENTERPIRSES, INC.                                                                  Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      January 14, 2025
                                                  MM / DD / YYYY


                             X /s/ Adolphe R Roome                                                        Adolphe R Roome
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Owner/President




18. Signature of attorney    X /s/ Matthew W. Grimshaw                                                     Date January 14, 2025
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Matthew W. Grimshaw
                                 Printed name

                                 Grimshaw Law Group, P.C.
                                 Firm name

                                 800 W. Main Street
                                 Suite 1460
                                 Boise, ID 83702
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     208-391-7860                  Email address      matt@grimshawlawgroup.com

                                 10716 ID
                                 Bar number and State




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2025 Budget
                              January         February        March           April               May              June               July              August          September         October          November         December
Revenue
Damage Restoration            $ 175,000.00    $ 200,000.00    $ 200,000.00    $ 225,000.00        $ 180,000.00     $ 180,000.00       $ 180,000.00      $ 180,000.00    $ 180,000.00      $ 180,000.00     $ 180,000.00     $ 180,000.00
Construction                  $        -      $ 60,000.00     $        -      $        -          $        -       $        -         $        -        $        -      $        -        $        -       $        -       $        -
Janitorial                    $ 166,000.00    $ 164,000.00    $ 165,500.00    $ 167,000.00        $ 168,500.00     $ 170,000.00       $ 171,500.00      $ 173,000.00    $ 174,500.00      $ 176,000.00     $ 177,500.00     $ 179,000.00
Project Work                  $ 12,000.00     $ 10,000.00     $ 11,000.00     $ 15,000.00         $ 17,000.00      $ 15,000.00        $ 13,000.00       $ 15,000.00     $ 12,000.00       $ 15,000.00      $ 13,000.00      $   9,000.00
Consumables                   $   2,000.00    $   2,000.00    $   2,000.00    $   2,000.00        $ 2,000.00       $   2,000.00       $ 2,000.00        $ 2,000.00      $   2,000.00      $   2,000.00     $   2,000.00     $   2,000.00
Total Revenue                 $ 355,000.00    $ 436,000.00    $ 378,500.00    $ 409,000.00        $ 367,500.00     $ 367,000.00       $ 366,500.00      $ 370,000.00    $ 368,500.00      $ 373,000.00     $ 372,500.00     $ 370,000.00         $ 4,533,500.00

Cash Going Out
Payroll                       $ 179,000.00    $ 180,000.00    $ 180,500.00    $ 181,000.00        $ 181,500.00     $ 182,000.00       $ 182,500.00      $ 183,000.00    $ 183,500.00      $ 184,000.00     $ 184,500.00     $ 185,500.00        ***this is actual cash out, not accruals for M/D/V, 401K, this does include employer burden of payroll tax
Restore Supplies              $   3,400.00    $   3,400.00    $   3,400.00    $   3,400.00        $ 3,400.00       $   3,400.00       $ 3,400.00        $ 3,400.00      $   3,400.00      $   3,400.00     $   3,400.00     $   3,400.00
Clean Supplies                $   2,500.00    $   2,500.00    $   2,500.00    $   2,500.00        $ 2,500.00       $   2,500.00       $ 2,500.00        $ 2,500.00      $   2,500.00      $   2,500.00     $   2,500.00     $   2,500.00
Auto Insurance                $   2,138.79    $   2,138.79    $   2,138.79    $   2,138.79        $ 2,138.79       $   2,138.79       $ 2,138.79        $ 2,138.79      $   2,138.79      $   2,138.79     $   2,138.79     $   2,138.79
Liablity Insurance            $   3,226.28    $   3,226.28    $   3,226.28    $ 13,335.55         $ 3,710.22       $   3,710.22       $ 3,710.22        $ 3,710.22      $   3,710.22      $   3,710.22     $   3,710.22     $   3,710.22
Sales & B&O Tax               $   4,500.00    $   9,000.00    $ 10,000.00     $   9,000.00        $ 9,000.00       $   9,000.00       $ 9,000.00        $ 9,000.00      $   9,000.00      $   9,000.00     $   9,000.00     $   9,000.00
Vehicle Maint                 $   3,500.00    $   3,500.00    $   3,500.00    $   3,500.00        $ 3,500.00       $   3,500.00       $ 3,500.00        $ 3,500.00      $   3,500.00      $   3,500.00     $   3,500.00     $   3,500.00
Bank Fees & C.C. fees         $     600.00    $     600.00    $     600.00    $     600.00        $     600.00     $     600.00       $     600.00      $     600.00    $     600.00      $     600.00     $     600.00     $     600.00
Rent                          $ 14,519.68     $ 14,519.68     $ 14,519.68     $ 14,519.68         $ 15,045.68      $ 15,045.68        $ 15,045.68       $ 15,045.68     $ 15,045.68       $ 15,045.68      $ 15,045.68      $ 15,045.68
Utilities                     $   1,666.67    $   1,666.67    $   1,666.67    $   1,666.67        $ 1,666.67       $   1,666.67       $ 1,666.67        $ 1,666.67      $   1,666.67      $   1,666.67     $   1,666.67     $   1,666.67
Royalties                     $ 30,050.00     $ 33,760.00     $ 32,710.00     $ 35,790.00         $ 31,050.00      $ 31,020.00        $ 30,990.00       $ 31,200.00     $ 31,110.00       $ 31,380.00      $ 31,350.00      $ 31,200.00
Job Fees                      $   4,000.00    $   4,000.00    $   4,000.00    $   4,000.00        $ 4,000.00       $   4,000.00       $ 4,000.00        $ 4,000.00      $   4,000.00      $   4,000.00     $   4,000.00     $   4,000.00
Fuel                          $   4,000.00    $   4,000.00    $   4,000.00    $   4,000.00        $ 4,000.00       $   4,000.00       $ 4,000.00        $ 4,000.00      $   4,000.00      $   4,000.00     $   4,000.00     $   4,000.00
Health & Dental Insurance     $   7,500.00    $   7,500.00    $   7,500.00    $   7,500.00        $ 7,500.00       $   7,500.00       $ 7,500.00        $ 7,500.00      $   7,500.00      $   7,500.00     $   7,500.00     $   7,500.00        ***this represents employee portion and employer portion of insurance
401K                          $   3,100.00    $   3,100.00    $   3,100.00    $   3,100.00        $ 3,100.00       $   3,100.00       $ 3,100.00        $ 3,100.00      $   3,100.00      $   3,100.00     $   3,100.00     $   3,100.00        ***this represents employee portion and employer portion of 401K
Office Supplies               $   1,300.00    $   1,300.00    $   1,300.00    $   1,300.00        $ 1,300.00       $   1,300.00       $ 1,300.00        $ 1,300.00      $   1,300.00      $   1,300.00     $   1,300.00     $   1,300.00
Software                      $   5,000.00    $   5,000.00    $   5,000.00    $   5,000.00        $ 5,000.00       $   5,000.00       $ 5,000.00        $ 5,000.00      $   5,000.00      $   5,000.00     $   5,000.00     $   5,000.00
Temp Labor                    $   2,000.00    $   4,000.00    $   4,000.00    $   4,000.00        $ 4,000.00       $   4,000.00       $ 4,000.00        $ 4,000.00      $   4,000.00      $   4,000.00     $   4,000.00     $   4,000.00
Restoration Subcontractors    $ 20,000.00     $ 18,000.00     $ 20,000.00     $ 15,000.00         $ 15,000.00      $ 15,000.00        $ 15,000.00       $ 15,000.00     $ 15,000.00       $ 15,000.00      $ 15,000.00      $ 15,000.00
Construction Subcontractos    $ 25,000.00     $        -      $        -      $        -          $        -       $        -         $        -        $        -      $        -        $        -       $        -       $        -
Telemarketers                 $   3,500.00    $   3,500.00    $   3,500.00    $   3,500.00        $        -       $        -         $        -        $        -      $        -        $        -       $        -       $        -
Digital Marketing             $   3,499.00    $   3,499.00    $   3,499.00    $   3,499.00        $ 3,499.00       $   3,499.00       $ 3,499.00        $ 3,499.00      $   3,499.00      $   3,499.00     $   3,499.00     $   3,499.00
Phone/Internet/Security       $   1,500.00    $   1,500.00    $   1,500.00    $   1,500.00        $ 1,500.00       $   1,500.00       $ 1,500.00        $ 1,500.00      $   1,500.00      $   1,500.00     $   1,500.00     $   1,500.00
Consumables                   $   1,320.00    $   1,320.00    $   1,320.00    $   1,320.00        $ 1,320.00       $   1,320.00       $ 1,320.00        $ 1,320.00      $   1,320.00      $   1,320.00     $   1,320.00     $   1,320.00
Misc Payments                 $ 12,000.00     $ 12,000.00     $ 12,000.00     $ 12,000.00         $ 12,000.00      $ 12,000.00        $ 12,000.00       $ 12,000.00     $ 12,000.00       $ 12,000.00      $ 12,000.00      $ 12,000.00

Total Expenses                $ 338,820.42    $ 323,030.42    $ 325,480.42    $ 333,169.69        $ 316,330.36     $ 316,800.36       $ 317,270.36      $ 317,980.36    $ 318,390.36      $ 319,160.36     $ 319,630.36     $ 320,480.36         $ 3,866,543.79



Debt Payments
SBA                                           $   31,324.30   $   31,324.30   $       31,324.30   $ 31,324.30      $      31,324.30   $ 31,324.30       $ 31,324.30     $    31,324.30    $    31,324.30   $    31,324.30   $    31,324.30
2020 Trax Payment             $      455.87   $      455.87   $      455.87   $          455.87   $    455.87      $         455.87   $    455.87       $    455.87     $       455.87    $       455.87   $       455.87   $       455.87
2022 Colorado Payment         $      752.48   $      752.48   $      752.48   $          752.48   $    752.48      $         752.48   $    752.48       $    752.48     $       752.48    $       752.48   $       752.48   $       752.48
2024 Trax Payment             $      455.61   $      455.61   $      455.61   $          455.61   $    455.61      $         455.61   $    455.61       $    455.61     $       455.61    $       455.61   $       455.61   $       455.61
2024 Silverado Payment        $    1,450.71   $    1,450.71   $    1,450.71   $        1,450.71   $ 1,450.71       $       1,450.71   $ 1,450.71        $ 1,450.71      $     1,450.71    $     1,450.71   $     1,450.71   $     1,450.71
2024 Transit Payment          $    1,352.66   $    1,352.66   $    1,352.66   $        1,352.66   $ 1,352.66       $       1,352.66   $ 1,352.66        $ 1,352.66      $     1,352.66    $     1,352.66   $     1,352.66   $     1,352.66

Total Installment Payments    $    4,467.33   $   35,791.63   $   35,791.63   $       35,791.63   $ 35,791.63      $      35,791.63   $ 35,791.63       $ 35,791.63     $    35,791.63    $    35,791.63   $    35,791.63   $    35,791.63       $      398,175.26

Professionals
Debtor's counsel                              $    5,000.00   $    5,000.00   $        5,000.00   $     5,000.00   $       5,000.00   $      5,000.00   $   5,000.00    $     5,000.00    $     5,000.00   $     5,000.00   $     5,000.00
Trustee                                       $    1,000.00   $    1,000.00   $        1,000.00   $     1,000.00   $       1,000.00   $      1,000.00   $   1,000.00    $     1,000.00    $     1,000.00   $     1,000.00   $     1,000.00
Accountant                    $         -     $    1,000.00   $    1,000.00   $        1,000.00   $     1,000.00   $       1,000.00   $      1,000.00   $   1,000.00    $     1,000.00    $     1,000.00   $     1,000.00   $     1,000.00
Total Professional Payments                   $    7,000.00   $    7,000.00   $        7,000.00   $     7,000.00   $       7,000.00   $      7,000.00   $   7,000.00    $     7,000.00    $     7,000.00   $     7,000.00   $     7,000.00       $        77,000.00

Beginning Cash                $ 89,000.00     $ 91,837.25     $ 151,115.21    $   151,880.66      $ 174,694.34     $   173,884.86     $ 172,117.87      $ 169,393.38    $   169,371.40    $   167,476.91   $   169,199.92   $   169,965.44
Cash Receipts                 $ 346,125.00    $ 425,100.00    $ 369,037.50    $   398,775.00      $ 358,312.50     $   357,825.00     $ 357,337.50      $ 360,750.00    $   359,287.50    $   363,675.00   $   363,187.50   $   360,750.00
Expense Payments              $ 338,820.42    $ 323,030.42    $ 325,480.42    $   333,169.69      $ 316,330.36     $   316,800.36     $ 317,270.36      $ 317,980.36    $   318,390.36    $   319,160.36   $   319,630.36   $   320,480.36
Installment Payments          $   4,467.33    $ 35,791.63     $ 35,791.63     $    35,791.63      $ 35,791.63      $    35,791.63     $ 35,791.63       $ 35,791.63     $    35,791.63    $    35,791.63   $    35,791.63   $    35,791.63
Professional Payments         $        -      $   7,000.00    $   7,000.00    $     7,000.00      $ 7,000.00       $     7,000.00     $ 7,000.00        $ 7,000.00      $     7,000.00    $     7,000.00   $     7,000.00   $     7,000.00
Cash Gain/Loss                $   2,837.25    $ 59,277.95     $     765.45    $    22,813.68      $    (809.49)    $    (1,766.99)    $ (2,724.49)      $     (21.99)   $    (1,894.49)   $     1,723.01   $       765.51   $    (2,521.99)
Ending Cash                   $ 91,837.25     $ 151,115.21    $ 151,880.66    $   174,694.34      $ 173,884.86     $   172,117.87     $ 169,393.38      $ 169,371.40    $   167,476.91    $   169,199.92   $   169,965.44   $   167,443.45
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                              2023 Corporate Return
                                   prepared for:
                        ROOME ENTERPRISES, INC.
                          5974 W SELTICE WAY
                          POST FALLS, ID 83854




                             Van Buren & Associates
                              1536 W. 25th St. Ste. K
                               San Pedro, CA 90732
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             Case 25-20010-NGH                                    Doc 1     Filed 01/14/25 Entered 01/14/25 17:33:39                                                                       Desc Main
                                                                          Document      Page 14 of 172
Form     8879-CORP                                                  E-file Authorization for Corporations
(December 2022)
                                                  For calendar year 20     23 , or tax year beginning                         , 20       , ending                   , 20
                                                                                                                                                                                              OMB No. 1545-0123
                                                                       Use for efile authorizations for Form 1120, 1120-F or 1120S.
Department of the Treasury                                                   Do not send to the IRS. Keep for your records.
Internal Revenue Service                                              Go to www.irs.gov/Form8879CORP for the latest information.
Name of corporation                                                                                                                                                          Employer identification number

ROOME ENTERPRISES, INC.                                                                                                                                                      XX-XXXXXXX
Part I Information (Whole dollars only)

   1 Total income (Form 1120, line 11). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .      1              1,818,854.

   2 Total income (Form 1120-F, Section II, line 11) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                 2

   3 Total income (loss) (Form 1120-S, line 6). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .            3
Part II Declaration and Signature Authorization of Officer. Be sure to get a copy of the corporation's return.
Under penalties of perjury, I declare that I am an officer of the above corporation and that I have examined a copy of the corporation's electronic
income tax return and accompanying schedules and statements, and to the best of my knowledge and belief, they are true, correct, and
complete. I further declare that the amounts in Part I above are the amounts shown on the copy of the corporation's electronic income tax
return. I consent to allow my electronic return originator (ERO), transmitter, or intermediate service provider to send the corporation's return to
the IRS and to receive from the IRS (a) an acknowledgment of receipt or reason for rejection of the transmission, (b) the reason for any delay in
processing the return or refund, and (c) the date of any refund. If applicable, I authorize the U.S. Treasury and its designated Financial
Agent to initiate an electronic funds withdrawal (direct debit) entry to the financial institution account indicated in the tax preparation software
for payment of the corporation's federal taxes owed on this return, and the financial institution to debit the entry to this account. To revoke a
payment, I must contact the U.S. Treasury Financial Agent at 1-888-353-4537 no later than 2 business days prior to the payment (settlement)
date. I also authorize the financial institutions involved in the processing of the electronic payment of taxes to receive confidential information
necessary to answer inquiries and resolve issues related to the payment. I have selected a personal identification number (PIN) as my
signature for the corporation's electronic income tax return and, if applicable, the corporation's consent to electronic funds withdrawal.

Officer's PIN: check one box only

      X I authorize             Van Buren & Associates                                                                                          to enter my PIN                     85775            as my signature
                                                                             ERO firm name                                                                                  do not enter all zeros
           on the corporation's electronically filed income tax return.


           As an officer of the corporation, I will enter my PIN as my signature on the corporation's electronically filed income tax
           return.

Officer's signature                                                                                                                   Date                                    Title   President

Part III Certification and Authentication

ERO's EFIN/PIN. Enter your six-digit EFIN followed by your five-digit self-selected PIN. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                     33248815647
                                                                                                                                                                                                do not enter all zeros

I certify that the above numeric entry is my PIN, which is my signature on the electronically filed income tax return for the corporation indicated
above. I confirm that I am submitting this return in accordance with the requirements of Pub. 3112, IRS e-file Application and Participation, and
Pub. 4163, Modernized e-File (MeF) Information for Authorized IRS e-file Providers for Business Returns.


ERO's signature               George A. Van Buren, MBA, EA                                                                                                                      Date



                                                                    ERO Must Retain This Form ' See Instructions
                                                            Do Not Submit This Form to the IRS Unless Requested To Do So

BAA For Paperwork Reduction Act Notice, see instructions.                                                       CPCA9401L       01/04/23                                               Form 8879-CORP (12-2022)
                 Case 25-20010-NGH                                           Doc 1            Filed 01/14/25 Entered 01/14/25 17:33:39                                                                                   Desc Main
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Form          1120                                                                   U.S. Corporation Income Tax Return
                                                For calendar year 2023 or tax year beginning          , 2023, ending              ,
                                                                                                                                                                                                                                OMB No. 1545-0123

Department of the Treasury
Internal Revenue Service                                  Go to www.irs.gov/Form1120 for instructions and the latest information.                                                                                                   2023
A Check if:                                                                                                                       B                                                                             Employer identification number

1a Consolidated return
      (attach Form 851). . . .               TYPE
                                                                                                                                                                                                            XX-XXXXXXX
    b Life/nonlife consoli-                  OR                   ROOME ENTERPRISES, INC.                                                                                                               C       Date incorporated
      dated return. . . . . . .
                                             PRINT                5974 W SELTICE WAY                                                                                                                        11/01/2021
2     Personal holding co.
      (attach Sch. PH). . . . .                                   POST FALLS, ID 83854                                                                                                                  D       Total assets (see instructions)
3     Personal service
      corp. (see instrs) . . . .                                                                                                                                                                        $                       2,952,265.
4     Schedule M-3 attached                 E       Check if:            (1)         Initial return                 (2)          Final return                  (3)           Name change                    (4)            Address change
               1 a Gross receipts or sales . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                    1a                 4,206,050.
                 b Returns and allowances. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                      1b                                   676.
                 c Balance. Subtract line 1b from line 1a . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                  1c             4,205,374.
               2 Cost of goods sold (attach Form 1125-A). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                        2              2,422,768.
     I
     N         3 Gross profit. Subtract line 2 from line 1c . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                    3              1,782,606.
     C
     O         4 Dividends and inclusions (Schedule C, line 23)                                                                                                                                                      4
     M
     E         5 Interest. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .         5                            45.
               6 Gross rents . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .             6
               7 Gross royalties. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                7
               8 Capital gain net income (attach Schedule D (Form 1120)). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                        8                        518.
               9 Net gain or (loss) from Form 4797, Part II, line 17 (attach Form 4797) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                9
              10 Other income (see instructions ' attach statement). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .See                   . . . . . .Statement
                                                                                                                                                                    . . . . . . . . . . . . . . .1......            10                 35,685.
              11 Total income. Add lines 3 through 10. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                    11              1,818,854.
              12 Compensation of officers (see instructions ' attach Form 1125-E). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                              12                135,350.
              13 Salaries and wages (less employment credits) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                             13                546,083.
              14 Repairs and maintenance. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                           14                  7,574.
         F
D        O    15 Bad debts. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .           15
E
D
         R
              16 Rents. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .       16                159,692.
U
C
  L
  I
              17 Taxes and licenses. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                    17                 94,162.
T
I
  M
  I
              18 Interest (see instructions). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                       18                281,350.
O T           19 Charitable contributions. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                      19
N A
S T           20 Depreciation from Form 4562 not claimed on Form 1125-A or elsewhere on return (attach Form 4562) .                                                                                                 20                 59,001.
  I
S O           21 Depletion . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .          21
E N
E S           22 Advertising. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .           22                   3,122.
I        O    23 Pension, profit-sharing, etc., plans . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                               23
N
S
         N
              24 Employee benefit programs. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                             24                 40,626.
T        D
R        E    25 Energy efficient commercial buildings deduction (attach Form 7205) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                               25
              26 Other deductions (attach statement). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .See      . . . . . .Statement
                                                                                                                                                                . . . . . . . . . . . . . . .2
U
C
         D
         U                                                                                                                                                                                    ......                26                519,460.
T
I
         C
         T    27 Total deductions. Add lines 12 through 26 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                        27              1,846,420.
O
N
         I
         O    28 Taxable income before net operating loss deduction and special deductions. Subtract line 27 from line 11. . . . . . . . . . . . . . . . . . . .                                                    28                -27,566.
S        N
         S    29 a Net operating loss deduction (see instructions) . . . . . . . . . . . . . . . . . . . . . . . . . . 29 a
                 b Special deductions (Schedule C, line 24). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 29 b
                 c Add lines 29a and 29b. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                     29 c
T
         C
         R
              30 Taxable income. Subtract line 29c from line 28. See instructions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                           30                -27,566.
A
X,
         E
         D    31 Total tax (Schedule J, Part I, line 11) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                31                      0.
         I
 R       T    32 Reserved for future use. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                       32
 E       S,
 F            33      Total payments and credits (Schedule J, Part II, line 23) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                             33                             0.
 U       A
 N       N    34      Estimated tax penalty. See instructions. Check if Form 2220 is attached . . . . . . . . . . . . . . . . . . . . . .                                                                           34
 D       D
 A            35      Amount owed. If line 33 is smaller than the total of lines 31 and 34, enter amount owed. . . . . . . . . . . . . .                                                                            35                             0.
 B       P
 L       M    36      Overpayment. If line 33 is larger than the total of lines 31 and 34, enter amount overpaid. . . . . . . . . . . . .                                                                           36
 E       T
         S    37      Enter amount from line 36 you want: Credited to 2024 estimated tax. . . . . .                                              Refunded                                                           37
               Under penalties of perjury, I declare that I have examined this return, including accompanying schedules and statements, and to the best of my knowledge                                                       May the IRS discuss
               and belief, it is true, correct, and complete. Declaration of preparer (other than taxpayer) is based on all information of which preparer has any knowledge.                                                  this return with the
Sign                                                                                                                                                                                                                          preparer shown below?
Here                                                                                                                                                                  President                                               See instructions.
                      Signature of officer                                                                                Date                                       Title                                                           X Yes        No
                             Print/Type preparer's name                                              Preparer's signature                                      Date
                                                                                                                                                                                                 Check       if X            PTIN

Paid                         George A. Van Buren, MBA, EA                                           George A. Van Buren, MBA,                                                                    self-employed              P00058526
Preparer                     Firm's name                Van Buren & Associates                                                                                                               Firm's EIN                  XX-XXXXXXX
Use Only                     Firm's address             1536 W. 25th St. Ste. K
                                                        San Pedro, CA 90732                                                                                                                  Phone no.               310-519-8600
BAA For Paperwork Reduction Act Notice, see separate instructions.                                                                                                                                                       Form 1120 (2023)
                                                                                                                                                                  CPCA0205         06/12/23
          Case 25-20010-NGH                                          Doc 1            Filed 01/14/25 Entered 01/14/25 17:33:39                                       Desc Main
                                                                                    Document      Page 16 of 172
              ROOME ENTERPRISES, INC.
Form 1120 (2023)                                                                                                                                   XX-XXXXXXX                       Page 2
Schedule C Dividends, Inclusions, and Special                                                                                  (a) Dividends and    (b) Percentage    (c) Special deductions
           Deductions (see instructions)                                                                                           inclusions                                (a) x (b)

 1   Dividends from less-than-20%-owned domestic corporations (other
     than debt-financed stock). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                          50
 2   Dividends from 20%-or-more-owned domestic corporations (other
     than debt-financed stock). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                          65
 3   Dividends on certain debt-financed stock of domestic and foreign                                                                                    See
     corporations. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                           instructions

 4   Dividends on certain preferred stock of less-than-20%-owned
     public utilities. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                            23.3
 5   Dividends on certain preferred stock of 20%-or-more-owned
     public utilities. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                            26.7
 6   Dividends from less-than-20%-owned foreign corporations and
     certain FSCs. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                               50
 7   Dividends from 20%-or-more-owned foreign corporations and
     certain FSCs. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                               65

 8   Dividends from wholly owned foreign subsidiaries . . . . . . . . . . . . . . . . . .                                                               100
                                                                                                                                                         See
 9   Subtotal. Add lines 1 through 8. See instructions for limitations . . . . .                                                                     instructions
10   Dividends from domestic corporations received by a small business
     investment company operating under the Small Business
     Investment Act of 1958. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                        100

11   Dividends from affiliated group members . . . . . . . . . . . . . . . . . . . . . . . . . .                                                        100

12   Dividends from certain FSCs. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                             100
13   Foreign-source portion of dividends received from a specified
     10%-owned foreign corporation (excluding hybrid dividends)
     (see instructions) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                 100
14   Dividends from foreign corporations not included on line 3, 6, 7, 8,
     11, 12, or 13 (including any hybrid dividends). . . . . . . . . . . . . . . . . . . . . .


15   Reserved for future use . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
16a Subpart F inclusions derived from the sale by a controlled foreign
    corporation (CFC) of the stock of a lower-tier foreign corporation
    treated as a dividend (attach Form(s) 5471) (see instructions) . . . . . .                                                                          100
  b Subpart F inclusions derived from hybrid dividends of tiered
    corporations (attach Form(s) 5471) (see instructions). . . . . . . . . . . . . . .
  c Other inclusions from CFCs under subpart F not included on line
    16a, 16b, or 17 (attach Form(s) 5471) (see instructions) . . . . . . . . . . . .
17   Global Intangible Low-Taxed Income (GILTI) (attach Form(s) 5471
     and Form 8992). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .


18   Gross-up for foreign taxes deemed paid. . . . . . . . . . . . . . . . . . . . . . . . . . .

19   IC-DISC and former DISC dividends not included on line 1, 2, or 3 . .

20   Other dividends. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
21   Deduction for dividends paid on certain preferred stock of
     public utilities. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .


22   Section 250 deduction (attach Form 8993). . . . . . . . . . . . . . . . . . . . . . . . .
23   Total dividends and inclusions. Add column (a), lines 9 through 20.
      Enter here and on page 1, line 4 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .

24   Total special deductions. Add column (c) lines 9 through 22. Enter here and on page 1, line 29b . . . . . . . . . . . . . . . . .
                                                                                                                                                                        Form 1120 (2023)



                                                                                                          CPCA0212 06/12/23
             Case 25-20010-NGH                                        Doc 1           Filed 01/14/25 Entered 01/14/25 17:33:39                                                                         Desc Main
                                                                                    Document      Page 17 of 172
Form 1120 (2023) ROOME ENTERPRISES, INC.                                                                                                                                                 XX-XXXXXXX                 Page 3
Schedule J     Tax Computation and Payment (see instructions)
Part I ' Tax Computation
 1      Income tax. See instructions. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .       1                   0.
 2      Base erosion minimum tax amount (attach Form 8991). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                   2
 3      Corporate alternative minimum tax from Form 4626, Part II, line 13 (attach Form 4626). . . . . . . . . . . . . . . . . . . . .                                                            3
 4 Add lines 1, 2, and 3. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .     4                   0.
 5 a Foreign tax credit (attach Form 1118) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                    5a
   b Credit from Form 8834 (see instructions) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                       5b
   c General business credit (see instructions ' attach Form 3800). . . . . . . . . . . . . . . . .                                           5c
   d Credit for prior year minimum tax (attach Form 8827) . . . . . . . . . . . . . . . . . . . . . . . . .                                   5d
   e Bond credits from Form 8912 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .              5e
 6 Total credits. Add lines 5a through 5e . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                     6
 7 Subtract line 6 from line 4. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .         7
 8 Personal holding company tax (attach Schedule PH (Form 1120)). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                 8
 9 a Recapture of investment credit (attach Form 4255). . . . . . . . . . . . . . . . . . . . . . . . . . . .                                 9a
   b Recapture of low-income housing credit (attach Form 8611). . . . . . . . . . . . . . . . . . . .                                         9b
     c Interest due under the look-back method ' completed long-term contracts
       (attach Form 8697). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .        9c
  d Interest due under the look-back method ' income forecast method (attach
    Form 8866). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 9d
  e Alternative tax on qualifying shipping activities (attach Form 8902) . . . . . . . . . . . . .                                              9e
  f Interest/tax due under section 453A(c) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                        9f
  g Interest/tax due under section 453(l) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                     9g
  z Other (see instructions ' attach statement). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                            9z
10 Total. Add lines 9a through 9z . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .             10
11 Total tax. Add lines 7, 8, and 10. Enter here and on page 1, line 31. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                              11                  0.
Part II ' Payments and Refundable Credits
12      Reserved for future use . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .   12
13      Preceding year's overpayment credited to the current year. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                  13
14      Current year's estimated tax payments . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                 14
15      Current year's refund applied for on Form 4466 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                        15 (                     )
16      Combine lines 13, 14, and 15. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .         16                  0.
17      Tax deposited with Form 7004 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .          17
18      Withholding (see instructions). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .       18
19      Total payments. Add lines 16, 17, and 18. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                   19                  0.
20      Refundable credits from:
  a Form 2439. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 20 a
  b Form 4136. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 20 b
  c Reserved for future use . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 20 c
  z Other (attach statement ' see instructions). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 20 z
21 Total credits. Add lines 20a through 20z. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                      21
22 Elective payment election amount from Form 3800. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                   22
23 Total payments and credits. Add lines 19, 21, and 22. Enter here and on page 1, line 33. . . . . . . . . . . . . . . . . . .                                                                   23                  0.
                                                                                                                                                                                                          Form 1120 (2023)




                                                                                                         CPCA0234         06/12/23
             Case 25-20010-NGH                                   Doc 1
                                                     Filed 01/14/25 Entered 01/14/25 17:33:39                                                                                              Desc Main
Form 1120 (2023)                                  Document
                                ROOME ENTERPRISES, INC.          Page 18 of 172  XX-XXXXXXX                                                                                                                           Page 4
Schedule K     Other Information (see instructions)
 1 Check accounting method: a  Cash    b X Accrual                 c    Other (specify)                                                                                                                         Yes       No
 2  See the instructions and enter the:
  a Business activity code no. 561720
  b Business activity JANITORIAL SERVICES
  c Product or service JANITORIAL SERVICES
 3 Is the corporation a subsidiary in an affiliated group or a parent-subsidiary controlled group? . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                           X
    If "Yes," enter name and EIN of the parent corporation


 4     At the end of the tax year:
     a Did any foreign or domestic corporation, partnership (including any entity treated as a partnership), trust, or tax-exempt
       organization own directly 20% or more, or own, directly or indirectly, 50% or more of the total voting power of all classes of
       the corporation's stock entitled to vote? If "Yes," complete Part I of Schedule G (Form 1120) (attach Schedule G). . . . . . . . . . . .                                                                   X
  b Did any individual or estate own directly 20% or more, or own, directly or indirectly, 50% or more of the total voting power of
    all classes of the corporation's stock entitled to vote? If "Yes," complete Part II of Schedule G (Form 1120) (attach Schedule G). . . . . . .                                                                          X
 5 At the end of the tax year, did the corporation:
  a Own directly 20% or more, or own, directly or indirectly, 50% or more of the total voting power of all classes of stock entitled
    to vote of any foreign or domestic corporation not included on Form 851, Affiliations Schedule? For rules of constructive
    ownership, see instructions. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .    X
    If "Yes," complete (i) through (iv) below.
                                                                                                                 (ii) Employer                                   (iii) Country of                            (iv) Percentage
                        (i) Name of Corporation                                                           Identification Number                                    Incorporation                            Owned in Voting
                                                                                                                       (if any)                                                                                       Stock




     b Own directly an interest of 20% or more, or own, directly or indirectly, an interest of 50% or more in any foreign or domestic
       partnership (including an entity treated as a partnership) or in the beneficial interest of a trust? For rules of constructive
       ownership, see instructions. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .    X
       If "Yes," complete (i) through (iv) below.
                                                                                                                     (ii) Employer                                   (iii) Country of                             (iv) Maximum
                              (i) Name of Entity                                                             Identification Number                                    Organization                        Percentage Owned in
                                                                                                                          (if any)                                                                       Profit, Loss, or Capital




 6     During this tax year, did the corporation pay dividends (other than stock dividends and distributions in exchange for stock) in
       excess of the corporation's current and accumulated earnings and profits? See sections 301 and 316 . . . . . . . . . . . . . . . . . . . . . . .                                                                    X
       If "Yes," file Form 5452, Corporate Report of Nondividend Distributions. See the instructions for Form 5452.
       If this is a consolidated return, answer here for the parent corporation and on Form 851 for each subsidiary.
 7     At any time during this tax year, did one foreign person own, directly or indirectly, at least 25% of the total voting power of
       all classes of the corporation's stock entitled to vote or at least 25% of the total value of all classes of the corporation's stock?                                                                               X
       For rules of attribution, see section 318. If "Yes," enter:
       (a) Percentage owned                                            and (b) Owner's country
       (c) The corporation may have to file Form 5472, Information Return of a 25% Foreign-Owned U.S. Corporation or a Foreign
       Corporation Engaged in a U.S. Trade or Business. Enter the number of Forms 5472 attached
 8     Check this box if the corporation issued publicly offered debt instruments with original issue discount . . . . . . . . . . . . . . . . . . .
       If checked, the corporation may have to file Form 8281, Information Return for Publicly Offered Original Issue Discount Instruments.
 9     Enter the amount of tax-exempt interest received or accrued during this tax year $                                                                                                         None
10     Enter the number of shareholders at the end of the tax year (if 100 or fewer) 2
11     If the corporation has an NOL for the tax year and is electing to forego the carryback period, check here (see instructions). . . . . . . . . . . . . . . . . . . . . . . . .
       If the corporation is filing a consolidated return, the statement required by Regulations section 1.1502-21(b)(3) must be
       attached or the election will not be valid.
12     Enter the available NOL carryover from prior tax years (do not reduce it by any deduction reported on page 1, line 29a) . . . . . .                           $                           None
                                                                                                                                                                                                   Form 1120 (2023)

                                                                                                  CPCA0234       06/12/23
             Case 25-20010-NGH                                           Doc 1
                                                        Filed 01/14/25 Entered 01/14/25 17:33:39                                                                                                                   Desc Main
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                                   ROOME ENTERPRISES, INC.          Page 19 of 172  XX-XXXXXXX                                                                                                                                              Page 5
Schedule K                    Other Information (continued from page 4)
                                                                                                                                                                                                                                        Yes   No
13     Are the corporation's total receipts (page 1, line 1a, plus lines 4 through 10) for the tax year and its total assets at the end
       of the tax year less than $250,000? . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                            X
       If "Yes," the corporation is not required to complete Schedules L, M-1, and M-2. Instead, enter
       the total amount of cash distributions and the book value of property distributions (other than cash)
       made during this tax year. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $
14     Is the corporation required to file Schedule UTP (Form 1120), Uncertain Tax Position Statement? See instructions . . . . . . . . . .                                                                                                   X
       If "Yes," complete and attach Schedule UTP.
15 a Did the corporation make any payments that would require it to file Form(s) 1099?. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                         X
   b If "Yes," did or will the corporation file required Form(s) 1099?. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
16     During this tax year, did the corporation have an 80%-or-more change in ownership, including a change due to redemption of
       its own stock? . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .         X
17     During or subsequent to this tax year, but before the filing of this return, did the corporation dispose of more than 65% (by
       value) of its assets in a taxable, non-taxable, or tax deferred transaction? . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                           X
18     Did this corporation receive assets in a section 351 transfer in which any of the transferred assets had a fair market basis or
       fair market value of more than $1 million?. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                  X
19     During this corporation's tax year, did the corporation make any payments that would require it to file Forms 1042 and 1042-S
       under chapter 3 (sections 1441 through 1464) or chapter 4 (sections 1471 through 1474) of the Code?. . . . . . . . . . . . . . . . . . . . . .                                                                                         X
20     Is the corporation operating on a cooperative basis? . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                           X
21     During this tax year, did the corporation pay or accrue any interest or royalty for which the deduction is not allowed under
       section 267A? See instructions                                                                                                                                                                                                         X
       If "Yes," enter the total amount of the disallowed deductions. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                $
22     Does this corporation have gross receipts of at least $500 million in any of the 3 preceding tax years?
       (See sections 59A(e)(2) and (3).) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                          X
       If "Yes," complete and attach Form 8991.
23     Did the corporation have an election under section 163(j) for any real property trade or business or any farming business
       in effect during this tax year? See instructions. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                    X
24     Does the corporation satisfy one or more of the following? If "Yes," complete and attach Form 8990. See instructions . . . . . . .                                                                                                     X
     a The corporation owns a pass-through entity with current, or prior year carryover, excess business interest expense.

     b The corporation's aggregate average annual gross receipts (determined under section 448(c)) for the 3 tax years preceding
       the current tax year are more than $29 million and the corporation has business interest expense.

     c The corporation is a tax shelter and the corporation has business interest expense.

25     Is the corporation attaching Form 8996 to certify as a Qualified Opportunity Fund? . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                     X
       If "Yes," enter amount from Form 8996, line 15 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                      $
26     Since December 22, 2017, did a foreign corporation directly or indirectly acquire substantially all of the properties held directly
       or indirectly by the corporation, and was the ownership percentage (by vote or value) for purposes of section 7874 greater than
       50% (for example, the shareholders held more than 50% of the stock of the foreign corporation)? If "Yes," list the ownership
       percentage by vote and by value. See instructions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                          X
       Percentage: By Vote                                                                                By Value
27     At any time during this tax year, did the corporation (a) receive a digital asset (as a reward, award, or payment for property or services); or (b) sell, exchange,
       or otherwise dispose of a digital asset (or a financial interest in a digital asset)? See instructions. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                      X
28     Is the corporation a member of a controlled group? . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                           X
       If "Yes," attach Schedule O (Form 1120). See instructions.
29     Corporate Alternative Minimum Tax:
     a Was the corporation an applicable corporation under section 59(k)(1) in any prior tax year?. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                             X
       If “Yes,” go to question 29b. If “No,” skip to question 29c.
     b Is the corporation an applicable corporation under section 59(k)(1) in the current tax year because the corporation was an
       applicable corporation in the prior tax year? . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
       If “Yes,” complete and attach Form 4626. If “No,” continue to question 29c.
  c Does the corporation meet the requirements of the safe harbor method as provided under section 59(k)(3)(A), for the current tax year? See instructions . . . . . .                                                                  X
    If “No,” complete and attach Form 4626. If “Yes,” the corporation is not required to file Form 4626.
30 Is the corporation required to file Form 7208 relating to the excise tax on repurchase of corporate stock (see instructions):
  a Under the rules for stock repurchased by a covered corporation (or stock acquired by its specified affiliate)?. . . . . . . . . . . . . . . .                                                                                             X
  b Under the applicable foreign corporation rules? . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                         X
  c Under the covered surrogate foreign corporation rules?. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                 X
    If “Yes” to either (a), (b), or (c), complete Form 7208, Excise Tax on Repurchase of Corporate Stock. See the Instructions for Form 7208.
31 Is this a consolidated return with gross receipts or sales of $1 billion or more and a subchapter K basis adjustment,
    as described in the instructions, of $10 million or more?. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                X
    If “Yes,” attach a statement. See instructions.
                                                                                                               CPCA0234         01/02/24                                                                                    Form 1120 (2023)
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Form 1120 (2023)               ROOME ENTERPRISES, INC.                                                                                               XX-XXXXXXX                                   Page 6
Schedule L                   Balance Sheets per Books                                         Beginning of tax year                                                  End of tax year
                                  Assets                                                   (a)                    (b)                                        (c)                            (d)
 1 Cash. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                        253,477.                                                         113,881.
 2 a Trade notes and accounts receivable. . . . . . . .                                   229,970.                                                          408,495.
   b Less allowance for bad debts . . . . . . . . . . . . . . . (                                      )                  229,970. (                                           )           408,495.
 3 Inventories . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 4 U.S. government obligations. . . . . . . . . . . . . . . .
 5 Tax-exempt securities (see instructions). . . . .
 6 Other current assets (attach statement). . . . . . . . . . . . . .
 7 Loans to shareholders. . . . . . . . . . . . . . . . . . . . . .
 8 Mortgage and real estate loans . . . . . . . . . . . . .
 9 Other investments (attach statement) . . . . . . . . . . . . . . .
10 a Buildings and other depreciable assets. . . . . .                                    185,146.                                                          236,168.
   b Less accumulated depreciation . . . . . . . . . . . . . (                            142,645. )                        42,501. (                       201,346.)                       34,822.
11 a Depletable assets. . . . . . . . . . . . . . . . . . . . . . . . . .
   b Less accumulated depletion . . . . . . . . . . . . . . . . (                                      )                                         (                             )
12 Land (net of any amortization). . . . . . . . . . . . . .
13 a Intangible assets (amortizable only). . . . . . . . .                              2,641,861.                                                      2,641,861.
   b Less accumulated amortization . . . . . . . . . . . . . (                            116,359. )                 2,525,502. (                         291,650.)                     2,350,211.
14     Other assets (attach statement) . . . . . . .See   . . . . . .St
                                                                      . . . .3..                                        24,336.                                                            44,856.
15     Total assets . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                    3,075,786.                                                         2,952,265.
         Liabilities and Shareholders' Equity
16     Accounts payable. . . . . . . . . . . . . . . . . . . . . . . . . .                                                  41,137.                                                         28,485.
17     Mortgages, notes, bonds payable in less than 1 year . . . .
18     Other current liabilities (attach stmt). . . See . . . . . . St
                                                                    . . . . .4..                                        34,622.                                                            186,588.
19     Loans from shareholders . . . . . . . . . . . . . . . . . . .                                                   107,028.
20     Mortgages, notes, bonds payable in 1 year or more . . . . .                                                   2,627,429.                                                         2,504,411.
21     Other liabilities (attach statement) . . . . . . . . . . . . . . . . .
22     Capital stock: a Preferred stock. . . . . . . . . . . .
                             b Common stock . . . . . . . . . . . .                       443,865.                        443,865.                          443,865.                       443,865.
23     Additional paid-in capital . . . . . . . . . . . . . . . . . . .
24     Retained earnings ' Approp (att stmt). . . . . . . . . . . . . .
25     Retained earnings ' Unappropriated. . . . . . . .                                                               -178,295.                                                          -211,084.
26     Adjmt to shareholders' equity (att stmt). . . . . . . . . . . . . .
27     Less cost of treasury stock . . . . . . . . . . . . . . . . .                                       (                                 )                                     (                   )
28     Total liabilities and shareholders' equity . . . . .3,075,786.                                                                                                                   2,952,265.
Schedule M-1 Reconciliation of Income (Loss) per Books With Income per Return
                              Note: The corporation may be required to file Schedule M-3. See instructions.
 1     Net income (loss) per books. . . . . . . . . . . . . . . .                         -32,789.             7     Income recorded on books this year not
 2     Federal income tax per books. . . . . . . . . . . . . . .                                                     included on this return (itemize):
 3     Excess of capital losses over capital gains. . .                                                              Tax-exempt interest $
 4     Income subject to tax not recorded on books
       this year (itemize):
                                                                                                               8     Deductions on this return not charged
 5     Expenses recorded on books this year not                                                                      against book income this year (itemize):
       deducted on this return (itemize):                                                                          a Depreciation . . $
     a Depreciation. . . . . . . . $                                                                               b Charitable contribns$
     b Charitable contributions . . $
     c Travel & entertainment. . . $
     Statement 5                                                  5,223.
                                                                        5,223. 9 Add lines 7 and 8 . . . . . . . . . . . . . . . . . . . . .                                                      0.
 6 Add lines 1 through 5 . . . . . . . . . . . . . . . . . . . . . .  -27,566. 10 Income (page 1, line 28) ' line 6 less line 9. . . . .                                                    -27,566.
Schedule M-2 Analysis of Unappropriated Retained Earnings per Books (Schedule L, Line 25)
 1 Balance at beginning of year . . . . . . . . . . . . . . .        -178,295. 5 Distributions. . . . . . . . . . . . . . . a Cash. . . .
 2 Net income (loss) per books. . . . . . . . . . . . . . . .         -32,789.   b Stock                                    c Property. . .
 3     Other increases (itemize):                                                                              6     Other decreases (itemize):


                                                                                                               7     Add lines 5 and 6 . . . . . . . . . . . . . . . . . . . . .
 4     Add lines 1, 2, and 3. . . . . . . . . . . . . . . . . . . . . . .                -211,084.             8     Balance at end of year (line 4 less line 7) . . . . . . .            -211,084.
                                                                                                                                                                                       Form 1120 (2023)
                                                                                            CPCA0234   06/12/23
               Case 25-20010-NGH                                        Doc 1              Filed 01/14/25 Entered 01/14/25 17:33:39                                                          Desc Main
                                                                                         Document      Page 21 of 172
SCHEDULE D                                                                               Capital Gains and Losses                                                                              OMB No. 1545-0123

(Form 1120)                                    Attach to Form 1120, 1120-C, 1120-F, 1120-FSC, 1120-H, 1120-IC-DISC, 1120-L, 1120-ND,

Department of the Treasury
Internal Revenue Service
                                                     1120-PC, 1120-POL, 1120-REIT, 1120-RIC, 1120-SF, or certain Forms 990-T.
                                                      Go to www.irs.gov/Form1120 for instructions and the latest information.
                                                                                                                                                                                                 2023
Name                                                                                                                                                                   Employer identification number

ROOME ENTERPRISES, INC.                                                                                                                                                XX-XXXXXXX
Did the corporation dispose of any investment(s) in a qualified opportunity fund during the tax year?. . . . . . . . . . .                                                                        Yes X No
If "Yes," attach Form 8949 and see its instructions for additional requirements for reporting your gain or loss.
Part I               Short-Term Capital Gains and Losses ' Assets Held One Year or Less
See instructions for how to figure the amounts to                                                (d)                              (e)                         (g) Adjustments       (h) Gain or (loss)
enter on the lines below.                                                                     Proceeds                           Cost                      to gain or loss from   Subtract column (e) from
This form may be easier to complete if you round                                            (sales price)                  (or other basis)                Form(s) 8949, Part I, column (d) and combine the
off cents to whole dollars.                                                                                                                                 line 2, column (g)      result with column (g)
  1a Totals for all short-term transactions reported
      on Form 1099-B for which basis was reported
      to the IRS and for which you have no adjust-
      ments (see instructions). However, if you
      choose to report all these transactions on
      Form 8949, leave this line blank and go to
      line 1b. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
  1b Totals for all transactions reported on
      Form(s) 8949 with Box A checked . . . . . . . . . . .
  2 Totals for all transactions reported on
      Form(s) 8949 with Box B checked . . . . . . . . . . .
   3 Totals for all transactions reported on
     Form(s) 8949 with Box C checked . . . . . . . . . . .

   4     Short-term capital gain from installment sales from Form 6252, line 26 or 37 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                        4

   5     Short-term capital gain or (loss) from like-kind exchanges from Form 8824 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                       5

   6     Unused capital loss carryover (attach computation). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                 6 (                        )

   7     Net short-term capital gain or (loss). Combine lines 1a through 6 in column h. . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                        7
Part II              Long-Term Capital Gains and Losses ' Assets Held More Than One Year
See instructions for how to figure the amounts to                                                (d)                              (e)                          (g) Adjustments       (h) Gain or (loss)
enter on the lines below.                                                                     Proceeds                           Cost                       to gain or loss from   Subtract column (e) from
This form may be easier to complete if you round                                            (sales price)                  (or other basis)                Form(s) 8949, Part II, column (d) and combine the
off cents to whole dollars.                                                                                                                                  line 2, column (g)      result with column (g)
  8a Totals for all long-term transactions reported
      on Form 1099-B for which basis was reported
      to the IRS and for which you have no adjust-
      ments (see instructions). However, if you
      choose to report all these transactions on
      Form 8949, leave this line blank and go to
      line 8b. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
  8b Totals for all transactions reported on
      Form(s) 8949 with Box D checked . . . . . . . . . . .
  9 Totals for all transactions reported on
      Form(s) 8949 with Box E checked . . . . . . . . . . .
 10 Totals for all transactions reported on
    Form(s) 8949 with Box F checked . . . . . . . . . . .

 11      Enter gain from Form 4797, line 7 or 9 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .     11                   518.

 12      Long-term capital gain from installment sales from Form 6252, line 26 or 37. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                       12

 13      Long-term capital gain or (loss) from like-kind exchanges from Form 8824. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                      13

 14      Capital gain distributions (see instructions) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .      14

 15      Net long-term capital gain or (loss). Combine lines 8a through 14 in column h . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                        15                   518.
 Part III            Summary of Parts I and II
 16      Enter excess of net short-term capital gain (line 7) over net long-term capital loss (line 15). . . . . . . . . . . . . . . . .                                                16
 17      Net capital gain. Enter excess of net long-term capital gain (line 15) over net short-term capital loss (line 7).                                                              17                   518.
 18      Add lines 16 and 17. Enter here and on Form 1120, page 1, line 8, or the applicable line on other returns . . .                                                                18                   518.
    Note: If losses exceed gains, see Capital Losses in the instructions.
BAA For Paperwork Reduction Act Notice, see the Instructions for Form 1120.                                                            CPCA0301L       07/03/23                       Schedule D (Form 1120) 2023
                Case 25-20010-NGH                                         Doc 1            Filed 01/14/25 Entered 01/14/25 17:33:39                                                                           Desc Main
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Form       4797                                                                          Sales of Business Property
                                                                    (Also Involuntary Conversions and Recapture Amounts
                                                                                                                                                                                                                  OMB No. 1545-0184


                                                                              Under Sections 179 and 280F(b)(2))                                                                                                       2023
Department of the Treasury                                                         Attach to your tax return.                                                                                                     Attachment
Internal Revenue Service                                     Go to www.irs.gov/Form4797 for instructions and the latest information.                                                                              Sequence No.    27
Name(s) shown on return                                                                                                                                                                     Identifying number

ROOME ENTERPRISES, INC.                                                                                                                                                                     XX-XXXXXXX
   1a Enter the gross proceeds from sales or exchanges reported to you for 2023 on Form(s) 1099-B or 1099-S
      (or substitute statement) that you are including on line 2, 10, or 20. See instructions . . . . . . . . . . . . . . . . . . . . . . .                                                               1a
       b Enter the total amount of gain that you are including on lines 2, 10, and 24 due to the partial dispositions of
         MACRS assets. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .    1b
       c Enter the total amount of loss that you are including on lines 2 and 10 due to the partial dispositions of
         MACRS assets. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .    1c
Part I               Sales or Exchanges of Property Used in a Trade or Business and Involuntary Conversions From Other
                     Than Casualty or Theft ' Most Property Held More Than 1 Year (see instructions)
   2                                                                                                                                                                (e) Depreciation              (f) Cost or other
                                 (a) Description                              (b) Date acquired            (c) Date sold                  (d) Gross                     allowed or                  basis, plus
                                                                                                                                                                                                                          (g) Gain or (loss)
                                    of property                                  (mo., day, yr.)            (mo., day, yr.)               sales price                allowable since             improvements and        Subtract (f) from the
                                                                                                                                                                                                                          sum of (d) and (e)
                                                                                                                                                                        acquisition               expense of sale

1999 DODGE VAN                                                                     5/01/22 12/31/23                                                 518.                          300.                        300.                    518.



   3      Gain, if any, from Form 4684, line 39. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                 3
   4      Section 1231 gain from installment sales from Form 6252, line 26 or 37 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                 4
   5      Section 1231 gain or (loss) from like-kind exchanges from Form 8824 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                5
   6      Gain, if any, from line 32, from other than casualty or theft . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                  6
   7      Combine lines 2 through 6. Enter the gain or (loss) here and on the appropriate line as follows:. . . . . . . . . . . . . . . . . . .                                                                    7                  518.
          Partnerships and S corporations. Report the gain or (loss) following the instructions for Form 1065, Schedule K,
          line 10, or Form 1120-S, Schedule K, line 9. Skip lines 8, 9, 11, and 12 below.

          Individuals, partners, S corporation shareholders, and all others. If line 7 is zero or a loss, enter the amount
          from line 7 on line 11 below and skip lines 8 and 9. If line 7 is a gain and you didn't have any prior year section
          1231 losses, or they were recaptured in an earlier year, enter the gain from line 7 as a long-term capital gain on
          the Schedule D filed with your return and skip lines 8, 9, 11, and 12 below.
   8      Nonrecaptured net section 1231 losses from prior years. See instructions. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                  8
   9      Subtract line 8 from line 7. If zero or less, enter -0-. If line 9 is zero, enter the gain from line 7 on line 12 below.
          If line 9 is more than zero, enter the amount from line 8 on line 12 below and enter the gain from line 9 as a
          long-term capital gain on the Schedule D filed with your return. See instructions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                      9
Part II              Ordinary Gains and Losses (see instructions)
 10       Ordinary gains and losses not included on lines 11 through 16 (include property held 1 year or less):




 11       Loss, if any, from line 7 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .   11 (                           )
 12       Gain, if any, from line 7 or amount from line 8, if applicable . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                  12
 13       Gain, if any, from line 31 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .    13
 14       Net gain or (loss) from Form 4684, lines 31 and 38a. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                              14
 15       Ordinary gain from installment sales from Form 6252, line 25 or 36 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                            15
 16       Ordinary gain or (loss) from like-kind exchanges from Form 8824 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                           16
 17       Combine lines 10 through 16. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .          17
 18      For all except individual returns, enter the amount from line 17 on the appropriate line of your return and skip
         lines a and b below. For individual returns, complete lines a and b below.
       a If the loss on line 11 includes a loss from Form 4684, line 35, column (b)(ii), enter that part of the loss here. Enter
         the loss from income-producing property on Schedule A (Form 1040), line 16. (Do not include any loss on property
         used as an employee.) Identify as from "Form 4797, line 18a." See instructions. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 18 a
  b Redetermine the gain or (loss) on line 17 excluding the loss, if any, on line 18a. Enter here and on Schedule 1
    (Form 1040), Part I, line 4. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .            18 b
BAA For Paperwork Reduction Act Notice, see separate instructions.                                                                                                                                                    Form 4797 (2023)



                                                                                                               FDIZ1001L        06/26/23
              Case 25-20010-NGH                                            Doc 1            Filed 01/14/25 Entered 01/14/25 17:33:39                                                                              Desc Main
                                                                                          Document      Page 23 of 172
Form     1125-A                                                                                      Cost of Goods Sold
(Rev. November 2018)                                                                                                                                                                                               OMB No. 1545-0123
                                                                   G Attach to Form 1120, 1120-C, 1120-F, 1120S, or 1065.
Department of the Treasury
Internal Revenue Service                                          G Go to www.irs.gov/Form1125A for the latest information.
Name                                                                                                                                                                                             Employer identification number

ROOME ENTERPRISES, INC.                                                                                                                                                                          XX-XXXXXXX
   1     Inventory at beginning of year . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                   1
   2     Purchases. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .   2             80,838.
   3     Cost of labor. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .   3          1,310,683.
   4     Additional section 263A costs (attach schedule). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .               4
   5     Other costs (attach schedule). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .See    . . . . . .Statement
                                                                                                                                                        . . . . . . . . . . . . . . .6......                  5          1,031,247.
   6     Total. Add lines 1 through 5 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                 6          2,422,768.
   7     Inventory at end of year . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .             7
   8   Cost of goods sold. Subtract line 7 from line 6. Enter here and on Form 1120, page 1, line 2 or the
       appropriate line of your tax return. See instructions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                      8          2,422,768.
   9 a Check all methods used for valuing closing inventory:
         (i) X Cost
        (ii)   Lower of cost or market
         (iii)     Other (Specify method used and attach explanation.) G
       b Check if there was a writedown of subnormal goods. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . G
       c Check if the LIFO inventory method was adopted this tax year for any goods (if checked, attach Form 970) . . . . . . . . . . . . . . . . . . . G
       d If the LIFO inventory method was used for this tax year, enter amount of closing inventory computed
         under LIFO . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 9d
       e If property is produced or acquired for resale, do the rules of section 263A apply to the entity? See instructions. . . . . . .                                                                       Yes                X No
  f Was there any change in determining quantities, cost, or valuations between opening and
    closing inventory? If "Yes," attach explanation . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . Yes X No
BAA For Paperwork Reduction Act Notice, see instructions.                                                                                                                   Form 1125-A (Rev. 11-2018)




                                                                                                                CPCZ0401L          09/26/18
           Case 25-20010-NGH                          Doc 1       Filed 01/14/25 Entered 01/14/25 17:33:39                                          Desc Main
                                                                Document      Page 24 of 172
SCHEDULE G                                       Information on Certain Persons Owning the
(Form 1120)                                              Corporation's Voting Stock                                                                    OMB No. 1545-0123
(Rev December 2011)
                                                                     G Attach to Form 1120.
Department of the Treasury
Internal Revenue Service                                              G See instructions.
Name                                                                                                                            Employer identification number (EIN)

ROOME ENTERPRISES, INC.                                                             XX-XXXXXXX
Part I  Certain Entities Owning the Corporation's Voting Stock. (Form 1120, Schedule K, Question 4a).
                Complete columns (i) through (v) below for any foreign or domestic corporation, partnership (including any entity treated as a
                partnership), trust, or tax-exempt organization that owns directly 20% or more, or owns, directly or indirectly, 50% or more of the
                total voting power of all classes of the corporation's stock entitled to vote (see instructions).
                       (i) Name of Entity                     (ii) Employer Identification (iii) Type of Entity (iv) Country of Organization (v) Percentage Owned in
                                                                     Number (if any)                                                                       Voting Stock



ROOME ENTERPRISES 401K PLAN                                      XX-XXXXXXX               Exempt Org.                United States                                93.32%




Part II         Certain Individuals and Estates Owning the Corporation's Voting Stock. (Form 1120, Schedule K, Question 4b).
                Complete columns (i) through (iv) below for any individual or estate that owns directly 20% or more, or owns, directly or indirectly,
                50% or more of the total voting power of all classes of the corporation's stock entitled to vote (see instructions).

                             (i) Name of Individual or Estate                          (ii) Identifying Number       (iii) Country of Citizenship     (iv) Percentage Owned
                                                                                               (if any)                   (see instructions)              in Voting Stock




BAA      For Paperwork Reduction Act Notice,                                               CPCA1901L      06/02/11             Schedule G (Form 1120) (Rev 12-2011)
         see the Instructions for Form 1120.
             Case 25-20010-NGH                                       Doc 1           Filed 01/14/25 Entered 01/14/25 17:33:39                                                                          Desc Main
                                                                                   Document      Page 25 of 172
Form    1125-E                                                                      Compensation of Officers
                                                                                                                                                                                                        OMB No. 1545-0123
(Rev October 2016)
                                                       G Attach to Form 1120, 1120-C, 1120-F, 1120-REIT, 1120-RIC, or 1120S.
Department of the Treasury
Internal Revenue Service                          G Information about Form 1125-E and its separate instructions is at www.irs.gov/form1125e.
Name                                                                                                                                                                              Employer identification number

ROOME ENTERPRISES, INC.                                                                                                                                                          XX-XXXXXXX
Note: Complete Form 1125-E only if total receipts are $500,000 or more. See instructions for definition of total receipts.

                                                                       (b) Social security                  (c) Percent of                         Percent of stock owned                                  (f) Amount of
  1                  (a) Name of officer                                                                    time devoted
                                                                            number                           to business                    (d) Common                      (e) Preferred                  compensation


ADOLPHE ROOME                                                                         -3947                            100 %                         6.68 %                         0.00 %                      135,350.

                                                                                                                                 %                               %                               %

                                                                                                                                 %                               %                               %

                                                                                                                                 %                               %                               %

                                                                                                                                 %                               %                               %

                                                                                                                                 %                               %                               %

                                                                                                                                 %                               %                               %

                                                                                                                                 %                               %                               %

                                                                                                                                 %                               %                               %

                                                                                                                                 %                               %                               %

                                                                                                                                 %                               %                               %

                                                                                                                                 %                               %                               %

                                                                                                                                 %                               %                               %

                                                                                                                                 %                               %                               %

                                                                                                                                 %                               %                               %

                                                                                                                                 %                               %                               %

                                                                                                                                 %                               %                               %

                                                                                                                                 %                               %                               %

                                                                                                                                 %                               %                               %

                                                                                                                                 %                               %                               %

  2    Total compensation of officers. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .             135,350.

  3    Compensation of officers claimed on Form 1125-A or elsewhere on return. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
  4Subtract line 3 from line 2. Enter the result here and on Form 1120, page 1, line 12 or the appropriate
   line of your tax return. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .         135,350.
BAA For Paperwork Reduction Act Notice, see separate instructions.                                                                                                                                  Form 1125-E (Rev 10-2016)



                                                                                                       CPCA2101L         08/18/16
               Case 25-20010-NGH                                     Doc 1         Filed 01/14/25 Entered 01/14/25 17:33:39                                                                             Desc Main
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                                                                                                                                                                                                            OMB No. 1545-0172
                                                                                Depreciation and Amortization
Form      4562                                                             (Including Information on Listed Property)
                                                                               Attach to your tax return.                                                                                                      2023
Department of the Treasury                                                                                                                                                                                  Attachment
Internal Revenue Service                                 Go to www.irs.gov/Form4562 for instructions and the latest information.                                                                            Sequence No.    179
Name(s) shown on return                                                                                                                                                                               Identifying number

ROOME ENTERPRISES, INC.                                                                                                                                                                               XX-XXXXXXX
Business or activity to which this form relates

Form 1120
Part I Election To Expense Certain Property Under Section 179
                    Note: If you have any listed property, complete Part V before you complete Part I.
   1     Maximum amount (see instructions). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                    1          1,160,000.
   2     Total cost of section 179 property placed in service (see instructions) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                             2             51,622.
   3     Threshold cost of section 179 property before reduction in limitation (see instructions). . . . . . . . . . . . . . . . . . . . . .                                                           3          2,890,000.
   4     Reduction in limitation. Subtract line 3 from line 2. If zero or less, enter -0-. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                               4                  0.
   5     Dollar limitation for tax year. Subtract line 4 from line 1. If zero or less, enter -0-. If married filing
         separately, see instructions. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .         5          1,160,000.
   6                               (a) Description of property                                                        (b) Cost (business use only)                        (c) Elected cost



  7 Listed property. Enter the amount from line 29. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 7                                  0.
  8 Total elected cost of section 179 property. Add amounts in column (c), lines 6 and 7. . . . . . . . . . . . . . . . . . . . . . .                             8
  9 Tentative deduction. Enter the smaller of line 5 or line 8 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .  9
 10 Carryover of disallowed deduction from line 13 of your 2022 Form 4562. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                 10                                                        78,152.
 11 Business income limitation. Enter the smaller of business income (not less than zero) or line 5. See instrs . .                                              11                                                             0.
 12 Section 179 expense deduction. Add lines 9 and 10, but don't enter more than line 11. . . . . . . . . . . . . . . . . . . . . .                              12                                                             0.
 13 Carryover of disallowed deduction to 2024. Add lines 9 and 10, less line 12. . . . . . . . . . 13                                                   78,152.
Note: Don't use Part II or Part III below for listed property. Instead, use Part V.
Part II             Special Depreciation Allowance and Other Depreciation (Don't include listed property. See instructions.)
 14 Special depreciation allowance for qualified property (other than listed property) placed in service during the
    tax year. See instructions. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .       14                       22,262.
 15 Property subject to section 168(f)(1) election. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                       15
 16 Other depreciation (including ACRS) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                   16
Part III            MACRS Depreciation (Don't include listed property. See instructions.)
                                                                                                              Section A
 17      MACRS deductions for assets placed in service in tax years beginning before 2023. . . . . . . . . . . . . . . . . . . . . . . . .                                                        17
 18      If you are electing to group any assets placed in service during the tax year into one or more general
         asset accounts, check here. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                   Section B ' Assets Placed in Service During 2023 Tax Year Using the General Depreciation System
                        (a)                     (b) Month and  (c) Basis for depreciation (d)           (e)            (f)                                                                                      (g) Depreciation
           Classification of property                       year placed              (business/investment use               Recovery period             Convention                  Method                         deduction
                                                             in service              only ' see instructions)

 19 a 3-year property . . . . . . . . . .
    b 5-year property . . . . . . . . . .                                                              5,566.                              5                HY                    200DB                                     1,113.
    c 7-year property . . . . . . . . . .
    d 10-year property . . . . . . . . .
    e 15-year property . . . . . . . . .
    f 20-year property . . . . . . . . .
    g 25-year property . . . . . . . . .                                                                                    25 yrs                                                     S/L
    h Residential rental                                                                                                   27.5 yrs                         MM                         S/L
         property. . . . . . . . . . . . . . . . .                                                                         27.5 yrs                         MM                         S/L
       i Nonresidential real                                                                                                39 yrs                          MM                         S/L
         property. . . . . . . . . . . . . . . . .                                                                                                          MM                         S/L
                             Section C ' Assets Placed in Service During 2023 Tax Year Using the Alternative Depreciation System
 20 a Class life. . . . . . . . . . . . . . . .                                                                                                                                        S/L
    b 12-year. . . . . . . . . . . . . . . . . .                                                                             12 yrs                                                    S/L
    c 30-year. . . . . . . . . . . . . . . . . .                                                                             30 yrs                         MM                         S/L
    d 40-year. . . . . . . . . . . . . . . . . .                                                                             40 yrs                         MM                         S/L
Part IV     Summary (See instructions.)
 21 Listed property. Enter amount from line 28 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                         21                        35,626.
 22 Total. Add amounts from line 12, lines 14 through 17, lines 19 and 20 in column (g), and line 21. Enter here and on
    the appropriate lines of your return. Partnerships and S corporations ' see instructions. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                            22                        59,001.
 23 For assets shown above and placed in service during the current year, enter
    the portion of the basis attributable to section 263A costs. . . . . . . . . . . . . . . . . . . . . . . . 23
BAA For Paperwork Reduction Act Notice, see separate instructions.                                                 FDIZ0812L 06/22/23                                                                           Form 4562 (2023)
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Form 4562 (2023)            ROOME ENTERPRISES, INC.                                                                      XX-XXXXXXX                                                                                                Page 2
Part V               Listed Property (Include automobiles, certain other vehicles, certain aircraft, and property used for entertainment,
                     recreation, or amusement.)
                     Note: For any vehicle for which you are using the standard mileage rate or deducting lease expense, complete only 24a, 24b,
                     columns (a) through (c) of Section A, all of Section B, and Section C if applicable.
                      Section A ' Depreciation and Other Information (Caution: See the instructions for limits for passenger automobiles.)
 24 a Do you have evidence to support the business/investment use claimed?. . . . . . . . . .                               X Yes                No 24b If 'Yes,' is the evidence written?. . . . . .                  X Yes            No
               (a)                         (b)                     (c)                        (d)                              (e)                         (f)                   (g)                       (h)                    (i)
       Type of property                                        Business/                    Cost or                 Basis for depreciation             Recovery              Method/                 Depreciation               Elected
                                      Date placed
      (list vehicles first)            in service             investment                  other basis               (business/investment                period              Convention                deduction               section 179
                                                                  use                                                     use only)                                                                                              cost
                                                              percentage
 25     Special depreciation allowance for qualified listed property placed in service during the tax year and
        used more than 50% in a qualified business use. See instructions. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                25                19,035.
 26     Property used more than 50% in a qualified business use:
2018 NISSAN                           5/01/22                  100.0                           7,000.                                                      5.0          200DB MQ
2019 CHEVY C                          5/01/22                  100.0                           6,000.                                                      5.0          200DB MQ
2004 FORD EC                          5/01/22                  100.0                             900.                                                      5.0          200DB MQ
 27 Property used 50% or less in a qualified business use:




 28 Add amounts in column (h), lines 25 through 27. Enter here and on line 21, page 1 . . . . . . . . . . . . . . .                       28                 35,626.
 29 Add amounts in column (i), line 26. Enter here and on line 7, page 1. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 29                                                                  0.
                                                Section B ' Information on Use of Vehicles
Complete this section for vehicles used by a sole proprietor, partner, or other 'more than 5% owner,' or related person. If you provided vehicles
to your employees, first answer the questions in Section C to see if you meet an exception to completing this section for those vehicles.

                                                                                             (a)                      (b)                         (c)                      (d)                         (e)                    (f)
 30     Total business/investment miles driven                                            Vehicle 1                 Vehicle 2                  Vehicle 3                 Vehicle 4                  Vehicle 5              Vehicle 6
        during the year (don't include
        commuting miles). . . . . . . . . . . . . . . . . . . . . . . . .
 31     Total commuting miles driven during the year. . . . . . . .
 32     Total other personal (noncommuting)
        miles driven . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 33     Total miles driven during the year. Add
        lines 30 through 32. . . . . . . . . . . . . . . . . . . . . . . .
                                                                                        Yes            No           Yes         No          Yes           No           Yes           No          Yes           No         Yes          No
 34     Was the vehicle available for personal use
        during off-duty hours?. . . . . . . . . . . . . . . . . . . . .
 35     Was the vehicle used primarily by a more
        than 5% owner or related person? . . . . . . . . .
 36     Is another vehicle available for
        personal use? . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                          Section C ' Questions for Employers Who Provide Vehicles for Use by Their Employees
Answer these questions to determine if you meet an exception to completing Section B for vehicles used by employees who aren't more than
5% owners or related persons. See instructions.
                                                                                                                                                                                                                          Yes          No
 37 Do you maintain a written policy statement that prohibits all personal use of vehicles, including commuting,
    by your employees?. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 38 Do you maintain a written policy statement that prohibits personal use of vehicles, except commuting, by your
    employees? See the instructions for vehicles used by corporate officers, directors, or 1% or more owners . . . . . . . . . . . . . .

 39 Do you treat all use of vehicles by employees as personal use? . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 40 Do you provide more than five vehicles to your employees, obtain information from your employees about the use of the
    vehicles, and retain the information received?. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .

 41 Do you meet the requirements concerning qualified automobile demonstration use? See instructions . . . . . . . . . . . . . . . . . . .
    Note: If your answer to 37, 38, 39, 40, or 41 is 'Yes,' don't complete Section B for the covered vehicles.
Part VI              Amortization
                                       (a)                                                       (b)                              (c)                             (d)                         (e)                           (f)
                              Description of costs                                      Date amortization                    Amortizable                          Code                   Amortization                  Amortization
                                                                                             begins                           amount                             section                  period or                    for this year
                                                                                                                                                                                         percentage

 42     Amortization of costs that begins during your 2023 tax year (see instructions):



 43      Amortization of costs that began before your 2023 tax year. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                      43                    175,291.
 44      Total. Add amounts in column (f). See the instructions for where to report . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                   44                    175,291.
                                                                                                            FDIZ0812L 06/22/23                                                                                        Form 4562 (2023)
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Form 4562 (2023)            ROOME ENTERPRISES, INC.                                                                      XX-XXXXXXX                                                                                                Page 2
Part V               Listed Property (Include automobiles, certain other vehicles, certain aircraft, and property used for entertainment,
                     recreation, or amusement.)
                     Note: For any vehicle for which you are using the standard mileage rate or deducting lease expense, complete only 24a, 24b,
                     columns (a) through (c) of Section A, all of Section B, and Section C if applicable.
                      Section A ' Depreciation and Other Information (Caution: See the instructions for limits for passenger automobiles.)
 24 a Do you have evidence to support the business/investment use claimed?. . . . . . . . . .                                    Yes             No 24b If 'Yes,' is the evidence written?. . . . . .                      Yes          No
               (a)                         (b)                     (c)                        (d)                              (e)                         (f)                   (g)                       (h)                    (i)
       Type of property                                        Business/                    Cost or                 Basis for depreciation             Recovery              Method/                 Depreciation               Elected
                                      Date placed
      (list vehicles first)            in service             investment                  other basis               (business/investment                period              Convention                deduction               section 179
                                                                  use                                                     use only)                                                                                              cost
                                                              percentage
 25     Special depreciation allowance for qualified listed property placed in service during the tax year and
        used more than 50% in a qualified business use. See instructions. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                25
 26     Property used more than 50% in a qualified business use:
2006 FORD EC                          5/01/22                  100.0                             900.                                                      5.0          200DB MQ
2006 CHEVY E                          5/01/22                  100.0                           1,000.                                                      5.0          200DB MQ
2011 VW JETT                          5/01/22                  100.0                           1,300.                                                      5.0          200DB MQ
 27 Property used 50% or less in a qualified business use:




 28 Add amounts in column (h), lines 25 through 27. Enter here and on line 21, page 1 . . . . . . . . . . . . . . .                       28
 29 Add amounts in column (i), line 26. Enter here and on line 7, page 1. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                   29
                                                Section B ' Information on Use of Vehicles
Complete this section for vehicles used by a sole proprietor, partner, or other 'more than 5% owner,' or related person. If you provided vehicles
to your employees, first answer the questions in Section C to see if you meet an exception to completing this section for those vehicles.

                                                                                             (a)                      (b)                         (c)                      (d)                         (e)                    (f)
 30     Total business/investment miles driven                                            Vehicle 1                 Vehicle 2                  Vehicle 3                 Vehicle 4                  Vehicle 5              Vehicle 6
        during the year (don't include
        commuting miles). . . . . . . . . . . . . . . . . . . . . . . . .
 31     Total commuting miles driven during the year. . . . . . . .
 32     Total other personal (noncommuting)
        miles driven . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 33     Total miles driven during the year. Add
        lines 30 through 32. . . . . . . . . . . . . . . . . . . . . . . .
                                                                                        Yes            No           Yes         No          Yes           No           Yes           No          Yes           No          Yes         No
 34     Was the vehicle available for personal use
        during off-duty hours?. . . . . . . . . . . . . . . . . . . . .
 35     Was the vehicle used primarily by a more
        than 5% owner or related person? . . . . . . . . .
 36     Is another vehicle available for
        personal use? . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                          Section C ' Questions for Employers Who Provide Vehicles for Use by Their Employees
Answer these questions to determine if you meet an exception to completing Section B for vehicles used by employees who aren't more than
5% owners or related persons. See instructions.
                                                                                                                                                                                                                           Yes         No
 37 Do you maintain a written policy statement that prohibits all personal use of vehicles, including commuting,
    by your employees?. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 38 Do you maintain a written policy statement that prohibits personal use of vehicles, except commuting, by your
    employees? See the instructions for vehicles used by corporate officers, directors, or 1% or more owners . . . . . . . . . . . . . .

 39 Do you treat all use of vehicles by employees as personal use? . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 40 Do you provide more than five vehicles to your employees, obtain information from your employees about the use of the
    vehicles, and retain the information received?. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .

 41 Do you meet the requirements concerning qualified automobile demonstration use? See instructions . . . . . . . . . . . . . . . . . . .
    Note: If your answer to 37, 38, 39, 40, or 41 is 'Yes,' don't complete Section B for the covered vehicles.
Part VI              Amortization
                                       (a)                                                       (b)                              (c)                             (d)                         (e)                           (f)
                              Description of costs                                      Date amortization                    Amortizable                          Code                   Amortization                  Amortization
                                                                                             begins                           amount                             section                  period or                    for this year
                                                                                                                                                                                         percentage

 42     Amortization of costs that begins during your 2023 tax year (see instructions):



 43      Amortization of costs that began before your 2023 tax year. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                      43
 44      Total. Add amounts in column (f). See the instructions for where to report . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                   44
                                                                                                            FDIZ0812L 06/22/23                                                                                        Form 4562 (2023)
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Form 4562 (2023)            ROOME ENTERPRISES, INC.                                                                      XX-XXXXXXX                                                                                                Page 2
Part V               Listed Property (Include automobiles, certain other vehicles, certain aircraft, and property used for entertainment,
                     recreation, or amusement.)
                     Note: For any vehicle for which you are using the standard mileage rate or deducting lease expense, complete only 24a, 24b,
                     columns (a) through (c) of Section A, all of Section B, and Section C if applicable.
                      Section A ' Depreciation and Other Information (Caution: See the instructions for limits for passenger automobiles.)
 24 a Do you have evidence to support the business/investment use claimed?. . . . . . . . . .                                    Yes             No 24b If 'Yes,' is the evidence written?. . . . . .                      Yes          No
               (a)                         (b)                     (c)                        (d)                              (e)                         (f)                   (g)                       (h)                    (i)
       Type of property                                        Business/                    Cost or                 Basis for depreciation             Recovery              Method/                 Depreciation               Elected
                                      Date placed
      (list vehicles first)            in service             investment                  other basis               (business/investment                period              Convention                deduction               section 179
                                                                  use                                                     use only)                                                                                              cost
                                                              percentage
 25     Special depreciation allowance for qualified listed property placed in service during the tax year and
        used more than 50% in a qualified business use. See instructions. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                25
 26     Property used more than 50% in a qualified business use:
2015 FORD EC                          5/01/22                  100.0                           2,000.                                                      5.0          200DB MQ
2017 DODGE P                          5/01/22                  100.0                           8,000.                                                      5.0          200DB MQ
2019 CHEVY T                          5/01/22                  100.0                           3,400.                                                      5.0          200DB MQ
 27 Property used 50% or less in a qualified business use:




 28 Add amounts in column (h), lines 25 through 27. Enter here and on line 21, page 1 . . . . . . . . . . . . . . .                       28
 29 Add amounts in column (i), line 26. Enter here and on line 7, page 1. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                   29
                                                Section B ' Information on Use of Vehicles
Complete this section for vehicles used by a sole proprietor, partner, or other 'more than 5% owner,' or related person. If you provided vehicles
to your employees, first answer the questions in Section C to see if you meet an exception to completing this section for those vehicles.

                                                                                             (a)                      (b)                         (c)                      (d)                         (e)                    (f)
 30     Total business/investment miles driven                                            Vehicle 1                 Vehicle 2                  Vehicle 3                 Vehicle 4                  Vehicle 5              Vehicle 6
        during the year (don't include
        commuting miles). . . . . . . . . . . . . . . . . . . . . . . . .
 31     Total commuting miles driven during the year. . . . . . . .
 32     Total other personal (noncommuting)
        miles driven . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 33     Total miles driven during the year. Add
        lines 30 through 32. . . . . . . . . . . . . . . . . . . . . . . .
                                                                                        Yes            No           Yes         No          Yes           No           Yes           No          Yes           No          Yes         No
 34     Was the vehicle available for personal use
        during off-duty hours?. . . . . . . . . . . . . . . . . . . . .
 35     Was the vehicle used primarily by a more
        than 5% owner or related person? . . . . . . . . .
 36     Is another vehicle available for
        personal use? . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                          Section C ' Questions for Employers Who Provide Vehicles for Use by Their Employees
Answer these questions to determine if you meet an exception to completing Section B for vehicles used by employees who aren't more than
5% owners or related persons. See instructions.
                                                                                                                                                                                                                           Yes         No
 37 Do you maintain a written policy statement that prohibits all personal use of vehicles, including commuting,
    by your employees?. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 38 Do you maintain a written policy statement that prohibits personal use of vehicles, except commuting, by your
    employees? See the instructions for vehicles used by corporate officers, directors, or 1% or more owners . . . . . . . . . . . . . .

 39 Do you treat all use of vehicles by employees as personal use? . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 40 Do you provide more than five vehicles to your employees, obtain information from your employees about the use of the
    vehicles, and retain the information received?. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .

 41 Do you meet the requirements concerning qualified automobile demonstration use? See instructions . . . . . . . . . . . . . . . . . . .
    Note: If your answer to 37, 38, 39, 40, or 41 is 'Yes,' don't complete Section B for the covered vehicles.
Part VI              Amortization
                                       (a)                                                       (b)                              (c)                             (d)                         (e)                           (f)
                              Description of costs                                      Date amortization                    Amortizable                          Code                   Amortization                  Amortization
                                                                                             begins                           amount                             section                  period or                    for this year
                                                                                                                                                                                         percentage

 42     Amortization of costs that begins during your 2023 tax year (see instructions):



 43      Amortization of costs that began before your 2023 tax year. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                      43
 44      Total. Add amounts in column (f). See the instructions for where to report . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                   44
                                                                                                            FDIZ0812L 06/22/23                                                                                        Form 4562 (2023)
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Form 4562 (2023)            ROOME ENTERPRISES, INC.                                                                      XX-XXXXXXX                                                                                                Page 2
Part V               Listed Property (Include automobiles, certain other vehicles, certain aircraft, and property used for entertainment,
                     recreation, or amusement.)
                     Note: For any vehicle for which you are using the standard mileage rate or deducting lease expense, complete only 24a, 24b,
                     columns (a) through (c) of Section A, all of Section B, and Section C if applicable.
                      Section A ' Depreciation and Other Information (Caution: See the instructions for limits for passenger automobiles.)
 24 a Do you have evidence to support the business/investment use claimed?. . . . . . . . . .                                    Yes             No 24b If 'Yes,' is the evidence written?. . . . . .                      Yes          No
               (a)                         (b)                     (c)                        (d)                              (e)                         (f)                   (g)                       (h)                    (i)
       Type of property                                        Business/                    Cost or                 Basis for depreciation             Recovery              Method/                 Depreciation               Elected
                                      Date placed
      (list vehicles first)            in service             investment                  other basis               (business/investment                period              Convention                deduction               section 179
                                                                  use                                                     use only)                                                                                              cost
                                                              percentage
 25     Special depreciation allowance for qualified listed property placed in service during the tax year and
        used more than 50% in a qualified business use. See instructions. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                25
 26     Property used more than 50% in a qualified business use:
1999 DODGE V                          5/01/22                  100.0                             300.                                                      5.0          200DB MQ
2020 FORD TR                          5/01/22                  100.0                           8,000.                                                      5.0          200DB MQ
2017 FORD TR                          8/01/22                  100.0                           5,000.                                                      5.0          200DB MQ
 27 Property used 50% or less in a qualified business use:




 28 Add amounts in column (h), lines 25 through 27. Enter here and on line 21, page 1 . . . . . . . . . . . . . . .                       28
 29 Add amounts in column (i), line 26. Enter here and on line 7, page 1. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                   29
                                                Section B ' Information on Use of Vehicles
Complete this section for vehicles used by a sole proprietor, partner, or other 'more than 5% owner,' or related person. If you provided vehicles
to your employees, first answer the questions in Section C to see if you meet an exception to completing this section for those vehicles.

                                                                                             (a)                      (b)                         (c)                      (d)                         (e)                    (f)
 30     Total business/investment miles driven                                            Vehicle 1                 Vehicle 2                  Vehicle 3                 Vehicle 4                  Vehicle 5              Vehicle 6
        during the year (don't include
        commuting miles). . . . . . . . . . . . . . . . . . . . . . . . .
 31     Total commuting miles driven during the year. . . . . . . .
 32     Total other personal (noncommuting)
        miles driven . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 33     Total miles driven during the year. Add
        lines 30 through 32. . . . . . . . . . . . . . . . . . . . . . . .
                                                                                        Yes            No           Yes         No          Yes           No           Yes           No          Yes           No          Yes         No
 34     Was the vehicle available for personal use
        during off-duty hours?. . . . . . . . . . . . . . . . . . . . .
 35     Was the vehicle used primarily by a more
        than 5% owner or related person? . . . . . . . . .
 36     Is another vehicle available for
        personal use? . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                          Section C ' Questions for Employers Who Provide Vehicles for Use by Their Employees
Answer these questions to determine if you meet an exception to completing Section B for vehicles used by employees who aren't more than
5% owners or related persons. See instructions.
                                                                                                                                                                                                                           Yes         No
 37 Do you maintain a written policy statement that prohibits all personal use of vehicles, including commuting,
    by your employees?. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 38 Do you maintain a written policy statement that prohibits personal use of vehicles, except commuting, by your
    employees? See the instructions for vehicles used by corporate officers, directors, or 1% or more owners . . . . . . . . . . . . . .

 39 Do you treat all use of vehicles by employees as personal use? . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 40 Do you provide more than five vehicles to your employees, obtain information from your employees about the use of the
    vehicles, and retain the information received?. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .

 41 Do you meet the requirements concerning qualified automobile demonstration use? See instructions . . . . . . . . . . . . . . . . . . .
    Note: If your answer to 37, 38, 39, 40, or 41 is 'Yes,' don't complete Section B for the covered vehicles.
Part VI              Amortization
                                       (a)                                                       (b)                              (c)                             (d)                         (e)                           (f)
                              Description of costs                                      Date amortization                    Amortizable                          Code                   Amortization                  Amortization
                                                                                             begins                           amount                             section                  period or                    for this year
                                                                                                                                                                                         percentage

 42     Amortization of costs that begins during your 2023 tax year (see instructions):



 43      Amortization of costs that began before your 2023 tax year. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                      43
 44      Total. Add amounts in column (f). See the instructions for where to report . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                   44
                                                                                                            FDIZ0812L 06/22/23                                                                                        Form 4562 (2023)
              Case 25-20010-NGH                                        Doc 1           Filed 01/14/25 Entered 01/14/25 17:33:39                                                                          Desc Main
                                                                                     Document      Page 31 of 172
Form 4562 (2023)            ROOME ENTERPRISES, INC.                                                                      XX-XXXXXXX                                                                                                Page 2
Part V               Listed Property (Include automobiles, certain other vehicles, certain aircraft, and property used for entertainment,
                     recreation, or amusement.)
                     Note: For any vehicle for which you are using the standard mileage rate or deducting lease expense, complete only 24a, 24b,
                     columns (a) through (c) of Section A, all of Section B, and Section C if applicable.
                      Section A ' Depreciation and Other Information (Caution: See the instructions for limits for passenger automobiles.)
 24 a Do you have evidence to support the business/investment use claimed?. . . . . . . . . .                                    Yes             No 24b If 'Yes,' is the evidence written?. . . . . .                      Yes          No
               (a)                         (b)                     (c)                        (d)                              (e)                         (f)                   (g)                       (h)                    (i)
       Type of property                                        Business/                    Cost or                 Basis for depreciation             Recovery              Method/                 Depreciation               Elected
                                      Date placed
      (list vehicles first)            in service             investment                  other basis               (business/investment                period              Convention                deduction               section 179
                                                                  use                                                     use only)                                                                                              cost
                                                              percentage
 25     Special depreciation allowance for qualified listed property placed in service during the tax year and
        used more than 50% in a qualified business use. See instructions. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                25
 26     Property used more than 50% in a qualified business use:
2020 CHEVY T 9/23/22                                           100.0                        23,987.                          12,787.                       5.0          200DB MQ                          4,348.
2022 CHEVY C 11/18/22                                          100.0                        40,914.                          29,714.                       5.0          200DB MQ                         11,291.
2024 CHEVY T 7/01/23                                           100.0                        23,794.                           4,759.                       5.0          200DB HY                            952.
 27 Property used 50% or less in a qualified business use:




 28 Add amounts in column (h), lines 25 through 27. Enter here and on line 21, page 1 . . . . . . . . . . . . . . .                       28
 29 Add amounts in column (i), line 26. Enter here and on line 7, page 1. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                   29
                                                Section B ' Information on Use of Vehicles
Complete this section for vehicles used by a sole proprietor, partner, or other 'more than 5% owner,' or related person. If you provided vehicles
to your employees, first answer the questions in Section C to see if you meet an exception to completing this section for those vehicles.

                                                                                             (a)                      (b)                         (c)                      (d)                         (e)                    (f)
 30     Total business/investment miles driven                                            Vehicle 1                 Vehicle 2                  Vehicle 3                 Vehicle 4                  Vehicle 5              Vehicle 6
        during the year (don't include
        commuting miles). . . . . . . . . . . . . . . . . . . . . . . . .
 31     Total commuting miles driven during the year. . . . . . . .
 32     Total other personal (noncommuting)
        miles driven . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 33     Total miles driven during the year. Add
        lines 30 through 32. . . . . . . . . . . . . . . . . . . . . . . .
                                                                                        Yes            No           Yes         No          Yes           No           Yes           No          Yes           No          Yes         No
 34     Was the vehicle available for personal use
        during off-duty hours?. . . . . . . . . . . . . . . . . . . . .
 35     Was the vehicle used primarily by a more
        than 5% owner or related person? . . . . . . . . .
 36     Is another vehicle available for
        personal use? . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                          Section C ' Questions for Employers Who Provide Vehicles for Use by Their Employees
Answer these questions to determine if you meet an exception to completing Section B for vehicles used by employees who aren't more than
5% owners or related persons. See instructions.
                                                                                                                                                                                                                           Yes         No
 37 Do you maintain a written policy statement that prohibits all personal use of vehicles, including commuting,
    by your employees?. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 38 Do you maintain a written policy statement that prohibits personal use of vehicles, except commuting, by your
    employees? See the instructions for vehicles used by corporate officers, directors, or 1% or more owners . . . . . . . . . . . . . .

 39 Do you treat all use of vehicles by employees as personal use? . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 40 Do you provide more than five vehicles to your employees, obtain information from your employees about the use of the
    vehicles, and retain the information received?. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .

 41 Do you meet the requirements concerning qualified automobile demonstration use? See instructions . . . . . . . . . . . . . . . . . . .
    Note: If your answer to 37, 38, 39, 40, or 41 is 'Yes,' don't complete Section B for the covered vehicles.
Part VI              Amortization
                                       (a)                                                       (b)                              (c)                             (d)                         (e)                           (f)
                              Description of costs                                      Date amortization                    Amortizable                          Code                   Amortization                  Amortization
                                                                                             begins                           amount                             section                  period or                    for this year
                                                                                                                                                                                         percentage

 42     Amortization of costs that begins during your 2023 tax year (see instructions):



 43      Amortization of costs that began before your 2023 tax year. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                      43
 44      Total. Add amounts in column (f). See the instructions for where to report . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                   44
                                                                                                            FDIZ0812L 06/22/23                                                                                        Form 4562 (2023)
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               Case 25-20010-NGH                                          Doc 1            Filed 01/14/25 Entered 01/14/25 17:33:39                                                                              Desc Main
DON'T STAPLE
                                                                                         Document      Page 36 of 172
                                                                                                                                                                                                                                 1032
                                                        Form 41
                                                        Corporation Income Tax Return                                                                                                                                       2023
          Amended Return? Check the box. See                                                                                           Mo     Day      Year                              Mo      Day      Year
                                                                                                                                                                                                                        State use only
          page 1 of the instructions for reasons                                                  For calendar year
X         to amend, and enter the number that applies.                      X                     2023 or fiscal                                                                                                          1223
                                                                                                  year beginning                                                         ending
Business name                                                                                                                          State use only                               Federal Employer Identification Number (EIN)

ROOME ENTERPRISES, INC.                                                                                                                   ROOM                                                       873377753
Current business mailing address

5974 W SELTICE WAY                                                                                                                                                           X 561720                                  NAICS Code
City                                                                                                  State               ZIP Code                                   Foreign country (if not U.S.)

POST FALLS                                                                                            ID                  83854
    1     If a federal audit was finalized this year, enter the latest year audited . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . X
    2     Is this an inactive corporation or nameholder corporation?. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                      Yes X X No
    3 a Were federal estimated tax payments required?. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                 Yes X X No
        b Were estimated tax payments based on annualized amounts? . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                               Yes X X No
    4     Is this a final return?. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .   Yes X X No
          If yes, check the proper box below, and enter the date the event occurred. . . . . . . . . .
                 Withdrawn from Idaho                                     Dissolved                           Merged or reorganized                                 Enter new EIN
    5     Is this an electrical or telephone utility? . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                  Yes X     X No
    6     EIN of parent from consolidated Form 1120, Schedule K as filed with the IRS X
    7     Did you use the combined reporting method?. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                              Yes X X No
        a Does this corporation own more than 50% of another corporation? . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                Yes X X No
        b Does another corporation own more than 50% of this corporation? . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                Yes X X No
        c Does one interest own more than 50% of this corporation and another corporation?. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                Yes X X No
     d Are two or more corporations in this report operating in Idaho or authorized to do business in Idaho? . . . . . . . . . . . . . .                                                                               Yes X X No
    8 If you're a multinational unitary group, answer questions a, b, and c. Complete Form 42.
     a Check the box for your filing method:    X    Worldwide return          X     Water's-edge return       See Form 14.
        b If you're filing a water's-edge return, do you elect not to file the water's-edge spreadsheets?. . . . . . . . . . . . . . . . . . . . . . .                                                                 Yes X X No
        c If you're filing a worldwide return, did you compute foreign income by making book-to-tax adjustments?. . . . . . . . . . . .                                                                                Yes X X No
    9     Did you claim the property tax exemption for investment tax credit property acquired this tax year? . . . . . . . . . . . . . . . .                                                                          Yes X X No
 10       Are one or more corporations in this report paying the Idaho premium tax?. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                       Yes X X No
Additions
 11       Federal taxable income. See instructions. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . X                            11             -27,566.
 12       Interest and dividends not taxable under Internal Revenue Code . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . X                                                 12
 13       State, municipal, and local taxes measured by net income. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . X                                            13
 14       Net operating loss deducted on federal return. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . X                               14
 15       Dividends-received deduction on federal return. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . X                                15
 16       Bonus depreciation. Include a schedule.                                                                                 See Statement 1
          Check the box if you have a current year loss limitation. See instructions                           X        ........................... X                                                      16               33,037.
 17       Other additions, including additions from Form 42, Part II. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . X                                        17
 18       Add lines 11 through 17 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .              18                  5,471.
Subtractions
 19       Foreign dividend gross-up (Sec. 78, Internal Revenue Code). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                           X    19
 20       Interest from Idaho municipal securities . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . X 20
 21       Interest on U.S. government obligations. Include a schedule. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . X 21
 22       Interest and other expenses related to lines 20 and 21 . . . . . . . . . . . . . . . . . . . . . . X 22
 23       Add lines 20 and 21, then subtract line 22 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                           23
 24       Technological equipment donation . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                     X 24
 25       Allocated income. Include a schedule . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . X 25
 26       Interest and other expenses related to line 25. Include a schedule. . . . . . . . . . . . . . . . . . . . . . . . . . X 26
 27       Subtract line 26 from line 25. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .               27
 28       Bonus depreciation. Include a schedule. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                        X 28
 29       Other subtractions, including subtractions from Form 42, Part II. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                            X 29
 30       Total subtractions. Add lines 19, 23, 24, 27, 28, and 29. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                      30
 31       Net business income subject to apportionment. Subtract line 30 from line 18. . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                         X 31                    5,471.
          Continue to page 2. ' Include a complete copy of your federal Form 1120.
Return and payment - Mail to: Idaho State Tax Commission, PO Box 83784 Boise ID 83707-3784
Return only - Mail to: Idaho State Tax Commission, PO Box 56, Boise, ID 83756-0056
                                                                                                                                                                                                     02320037
EFO00025 09-08-2023                                               IDCA0112L        09/28/23                                               Page 1 of 2
              Case 25-20010-NGH                                      Doc 1           Filed 01/14/25 Entered 01/14/25 17:33:39 Desc Main
1032          ROOME ENTERPRISES, INC.                                              Document      Page 37 of 172         XX-XXXXXXX
                                                                                                                                                                                                 Form 41 2023 (continued)
32     Net business income subject to apportionment. Enter the amount from line 31. . . . . . . . . . . . . . . . . . . . . .                                                         32                          5,471.
33     Corporations with all activity in Idaho enter 100%. Multistate/multinational corporations complete and
       include Form 42; enter the apportionment factor from Form 42, Part I, line 21. . . . . . . . . . . . . . . . . . . . . . . . . . . . X 33                                                           100.0000 %
34     Net business income apportioned to Idaho. Multiply line 32 by the percent on line 33. . . . . . . . . . . . . . . . . . . . . X 34                                                                       5,471.
35     Income allocated to Idaho. See instructions. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . X 35
36     Idaho net operating loss carryover X                                                          50. carryback X
       Enter total. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . See
                                                                                                                                                             . . . Statement
                                                                                                                                                                    . .  . . . .2                36                   50.
37     Idaho taxable income. Add lines 34 and 35, then subtract line 36. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . X 37                                                       5,421.

38     Idaho income tax. Multiply line 37 by 5.8%. Minimum $20 for each corporation. See instructions.                                                                                       X 38                    314.
Credits
39     Credit for contributions to Idaho educational entities. . . . . . . . . . . . . . . . . . . . . . . . . X 39
40     Credit for contributions to Idaho youth and rehabilitation facilities . . . . . . . . . . . . X 40
41     Total business income tax credits from Form 44, Part I, line 10.
       Include Form 44 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 41
42     Total credits. Add lines 39 through 41 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                  42
43     Subtract line 42 from line 38. If line 42 is greater than line 38, enter zero. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                              43                  314.
Other Taxes
44     Permanent building fund tax. Enter $10. Combined reports include $10 for each corporation operating or
       authorized to do business in Idaho . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .            X 44                     10.
45     Total tax from recapture of income tax credits from Form 44, Part II, line 6. Include Form 44. . . . . . . . . . . . . .                                                                45
46     Fuels tax due. Include Form 75 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .            46
47     Sales/use tax due on untaxed purchases (online, mail order, and other) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                X 47
48     Tax from recapture of qualified investment exemption (QIE). Include Form 49ER. . . . . . . . . . . . . . . . . . . . . . . . .                                                        X 48
49     Total tax. Add lines 43 through 48. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .           X 49                    324.
50     Underpayment interest. Include Form 41ESR . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . X 50
51     Donation to Opportunity Scholarship Program. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . X 51
52     Add lines 49 through 51 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 52                        324.
Payments and Other Credits
53     Estimated tax payments. If made under other EINs, provide EINs, amounts, and rollforwards . . . . . . . . . . . . . X 53
54     Tax paid by ABE on the corporation's behalf. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . X 54
55     Special fuels tax refund                                                   Gasoline tax refund                                                               Include Form 75. . . 55
56     Tax reimbursement incentive credit. X                                                                Claim of Right credit X
       Include certificate. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . X 56
57     Total payments and other credits. Add lines 53 through 56. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                         57
Refund or Payment Due
58     Tax due. If line 52 is more than line 57, subtract line 57 from line 52 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . X 58                                                          324.
59     Penalty X                          Interest from the due date X                                         Enter total . . . . . . .           59
60     Nonrefundable credit from a prior year return. See Form 44 instructions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . X 60
61     Total Due. Add lines 58 and 59, then subtract line 60. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . X 61                                                         324.
62     Overpayment. If line 52 is less than line 57, subtract line 52 from line 57 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . X 62
63     Refund. . . . . . . X                    Apply to 2024. . . . . . . . . . . . X                                 See instructions.
Amended Return Only. Complete this section to determine your tax due or refund.
64     Total due (line 61) or overpayment (line 62) on this return. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                    64
65     Refund from original return plus additional refunds. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                              65
66     Tax paid with original return plus additional tax paid. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                             66
67  Amended tax due or refund. Add lines 64 and 65, then subtract line 66. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 67
X X Within 180 days of receiving this return, the Idaho State Tax Commission may discuss this return with the paid preparer identified below.
    Under penalties of perjury, I declare that to the best of my knowledge and belief this return is true, correct, and complete. See instructions.
           Signature of officer                                                                                           Date
          X
Sign
Here       Title                                                                                                          Phone number

          President                                                                                                       208-446-5322
Paid preparer's signature                                                                                                 Preparer's EIN, SSN, or PTIN
X George             A. Van Buren, MBA, EA                                                                                X P00058526
Address                                                                                                                   Phone number                                                          02320237
Van Buren & Associates
1536 W. 25th St. Ste. K
San Pedro, CA 90732                                                                                                       310-519-8600
EFO00025           09-08-2023                        IDCA0112L 09/28/23                                                                            Page 2 of 2
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                                                                                       Idaho Form 4562                                                                                                      OMB No. 1545-0172
                                                                                Depreciation and Amortization
Form      4562                                                             (Including Information on Listed Property)
                                                                               Attach to your tax return.                                                                                                      2023
Department of the Treasury                                                                                                                                                                                  Attachment
Internal Revenue Service                                 Go to www.irs.gov/Form4562 for instructions and the latest information.                                                                            Sequence No.    179
Name(s) shown on return                                                                                                                                                                               Identifying number

ROOME ENTERPRISES, INC.                                                                                                                                                                               XX-XXXXXXX
Business or activity to which this form relates

Form 1120
Part I Election To Expense Certain Property Under Section 179
                    Note: If you have any listed property, complete Part V before you complete Part I.
   1     Maximum amount (see instructions). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                    1          1,160,000.
   2     Total cost of section 179 property placed in service (see instructions) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                             2
   3     Threshold cost of section 179 property before reduction in limitation (see instructions). . . . . . . . . . . . . . . . . . . . . .                                                           3          2,890,000.
   4     Reduction in limitation. Subtract line 3 from line 2. If zero or less, enter -0-. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                               4
   5     Dollar limitation for tax year. Subtract line 4 from line 1. If zero or less, enter -0-. If married filing
         separately, see instructions. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .         5
   6                               (a) Description of property                                                        (b) Cost (business use only)                        (c) Elected cost



  7 Listed property. Enter the amount from line 29. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 7
  8 Total elected cost of section 179 property. Add amounts in column (c), lines 6 and 7. . . . . . . . . . . . . . . . . . . . . . .                                                              8
  9 Tentative deduction. Enter the smaller of line 5 or line 8 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                   9
 10 Carryover of disallowed deduction from line 13 of your 2022 Form 4562. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                  10
 11 Business income limitation. Enter the smaller of business income (not less than zero) or line 5. See instrs . .                                                                               11
 12 Section 179 expense deduction. Add lines 9 and 10, but don't enter more than line 11. . . . . . . . . . . . . . . . . . . . . .                                                               12
 13 Carryover of disallowed deduction to 2024. Add lines 9 and 10, less line 12. . . . . . . . . . 13
Note: Don't use Part II or Part III below for listed property. Instead, use Part V.
Part II             Special Depreciation Allowance and Other Depreciation (Don't include listed property. See instructions.)
 14 Special depreciation allowance for qualified property (other than listed property) placed in service during the
    tax year. See instructions. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .       14
 15 Property subject to section 168(f)(1) election. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                       15
 16 Other depreciation (including ACRS) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                   16
Part III            MACRS Depreciation (Don't include listed property. See instructions.)
                                                                                                              Section A
 17      MACRS deductions for assets placed in service in tax years beginning before 2023. . . . . . . . . . . . . . . . . . . . . . . . .                                                        17
 18      If you are electing to group any assets placed in service during the tax year into one or more general
         asset accounts, check here. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                   Section B ' Assets Placed in Service During 2023 Tax Year Using the General Depreciation System
                        (a)                     (b) Month and  (c) Basis for depreciation (d)           (e)            (f)                                                                                      (g) Depreciation
           Classification of property                       year placed              (business/investment use               Recovery period             Convention                  Method                         deduction
                                                             in service              only ' see instructions)

 19 a 3-year property . . . . . . . . . .
    b 5-year property . . . . . . . . . .                                                           27,828.                                5                HY                    200DB                                     5,566.
    c 7-year property . . . . . . . . . .
    d 10-year property . . . . . . . . .
    e 15-year property . . . . . . . . .
    f 20-year property . . . . . . . . .
    g 25-year property . . . . . . . . .                                                                                    25 yrs                                                     S/L
    h Residential rental                                                                                                   27.5 yrs                         MM                         S/L
         property. . . . . . . . . . . . . . . . .                                                                         27.5 yrs                         MM                         S/L
       i Nonresidential real                                                                                                39 yrs                          MM                         S/L
         property. . . . . . . . . . . . . . . . .                                                                                                          MM                         S/L
                             Section C ' Assets Placed in Service During 2023 Tax Year Using the Alternative Depreciation System
 20 a Class life. . . . . . . . . . . . . . . .                                                                                                                                        S/L
    b 12-year. . . . . . . . . . . . . . . . . .                                                                             12 yrs                                                    S/L
    c 30-year. . . . . . . . . . . . . . . . . .                                                                             30 yrs                         MM                         S/L
    d 40-year. . . . . . . . . . . . . . . . . .                                                                             40 yrs                         MM                         S/L
Part IV     Summary (See instructions.)
 21 Listed property. Enter amount from line 28 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                         21                        20,398.
 22 Total. Add amounts from line 12, lines 14 through 17, lines 19 and 20 in column (g), and line 21. Enter here and on
    the appropriate lines of your return. Partnerships and S corporations ' see instructions. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                            22                        25,964.
 23 For assets shown above and placed in service during the current year, enter
    the portion of the basis attributable to section 263A costs. . . . . . . . . . . . . . . . . . . . . . . . 23
BAA For Paperwork Reduction Act Notice, see separate instructions.                                                 FDIZ0812L 06/22/23                                                                           Form 4562 (2023)
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Form 4562 (2023)            ROOME ENTERPRISES, INC.                                                                      XX-XXXXXXX                                                                                                Page 2
Part V               Listed Property (Include automobiles, certain other vehicles, certain aircraft, and property used for entertainment,
                     recreation, or amusement.)
                     Note: For any vehicle for which you are using the standard mileage rate or deducting lease expense, complete only 24a, 24b,
                     columns (a) through (c) of Section A, all of Section B, and Section C if applicable.
                      Section A ' Depreciation and Other Information (Caution: See the instructions for limits for passenger automobiles.)
 24 a Do you have evidence to support the business/investment use claimed?. . . . . . . . . .                               X Yes                No 24b If 'Yes,' is the evidence written?. . . . . .                  X Yes            No
               (a)                         (b)                     (c)                        (d)                              (e)                         (f)                   (g)                       (h)                    (i)
       Type of property                                        Business/                    Cost or                 Basis for depreciation             Recovery              Method/                 Depreciation               Elected
                                      Date placed
      (list vehicles first)            in service             investment                  other basis               (business/investment                period              Convention                deduction               section 179
                                                                  use                                                     use only)                                                                                              cost
                                                              percentage
 25     Special depreciation allowance for qualified listed property placed in service during the tax year and
        used more than 50% in a qualified business use. See instructions. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                25
 26     Property used more than 50% in a qualified business use:
2018 NISSAN                           5/01/22                  100.0                           7,000.                                                    5.0            200DB MQ
2019 CHEVY C                          5/01/22                  100.0                           6,000.                                                    5.0            200DB MQ
2004 FORD EC                          5/01/22                  100.0                             900.                                                    5.0            200DB MQ
 27 Property used 50% or less in a qualified business use:




 28 Add amounts in column (h), lines 25 through 27. Enter here and on line 21, page 1 . . . . . . . . . . . . . . .                       28                 20,398.
 29 Add amounts in column (i), line 26. Enter here and on line 7, page 1. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 29                                                                  0.
                                                Section B ' Information on Use of Vehicles
Complete this section for vehicles used by a sole proprietor, partner, or other 'more than 5% owner,' or related person. If you provided vehicles
to your employees, first answer the questions in Section C to see if you meet an exception to completing this section for those vehicles.

                                                                                             (a)                      (b)                         (c)                      (d)                         (e)                    (f)
 30     Total business/investment miles driven                                            Vehicle 1                 Vehicle 2                  Vehicle 3                 Vehicle 4                  Vehicle 5              Vehicle 6
        during the year (don't include
        commuting miles). . . . . . . . . . . . . . . . . . . . . . . . .
 31     Total commuting miles driven during the year. . . . . . . .
 32     Total other personal (noncommuting)
        miles driven . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 33     Total miles driven during the year. Add
        lines 30 through 32. . . . . . . . . . . . . . . . . . . . . . . .
                                                                                        Yes            No           Yes         No          Yes           No           Yes           No          Yes           No         Yes          No
 34     Was the vehicle available for personal use
        during off-duty hours?. . . . . . . . . . . . . . . . . . . . .
 35     Was the vehicle used primarily by a more
        than 5% owner or related person? . . . . . . . . .
 36     Is another vehicle available for
        personal use? . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                          Section C ' Questions for Employers Who Provide Vehicles for Use by Their Employees
Answer these questions to determine if you meet an exception to completing Section B for vehicles used by employees who aren't more than
5% owners or related persons. See instructions.
                                                                                                                                                                                                                          Yes          No
 37 Do you maintain a written policy statement that prohibits all personal use of vehicles, including commuting,
    by your employees?. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 38 Do you maintain a written policy statement that prohibits personal use of vehicles, except commuting, by your
    employees? See the instructions for vehicles used by corporate officers, directors, or 1% or more owners . . . . . . . . . . . . . .

 39 Do you treat all use of vehicles by employees as personal use? . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 40 Do you provide more than five vehicles to your employees, obtain information from your employees about the use of the
    vehicles, and retain the information received?. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .

 41 Do you meet the requirements concerning qualified automobile demonstration use? See instructions . . . . . . . . . . . . . . . . . . .
    Note: If your answer to 37, 38, 39, 40, or 41 is 'Yes,' don't complete Section B for the covered vehicles.
Part VI              Amortization
                                       (a)                                                       (b)                              (c)                             (d)                         (e)                           (f)
                              Description of costs                                      Date amortization                    Amortizable                          Code                   Amortization                  Amortization
                                                                                             begins                           amount                             section                  period or                    for this year
                                                                                                                                                                                         percentage

 42     Amortization of costs that begins during your 2023 tax year (see instructions):



 43      Amortization of costs that began before your 2023 tax year. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                      43                    175,291.
 44      Total. Add amounts in column (f). See the instructions for where to report . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                   44                    175,291.
                                                                                                            FDIZ0812L 06/22/23                                                                                        Form 4562 (2023)
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Form 4562 (2023)            ROOME ENTERPRISES, INC.                                                                      XX-XXXXXXX                                                                                                Page 2
Part V               Listed Property (Include automobiles, certain other vehicles, certain aircraft, and property used for entertainment,
                     recreation, or amusement.)
                     Note: For any vehicle for which you are using the standard mileage rate or deducting lease expense, complete only 24a, 24b,
                     columns (a) through (c) of Section A, all of Section B, and Section C if applicable.
                      Section A ' Depreciation and Other Information (Caution: See the instructions for limits for passenger automobiles.)
 24 a Do you have evidence to support the business/investment use claimed?. . . . . . . . . .                                    Yes             No 24b If 'Yes,' is the evidence written?. . . . . .                      Yes          No
               (a)                         (b)                     (c)                        (d)                              (e)                         (f)                   (g)                       (h)                    (i)
       Type of property                                        Business/                    Cost or                 Basis for depreciation             Recovery              Method/                 Depreciation               Elected
                                      Date placed
      (list vehicles first)            in service             investment                  other basis               (business/investment                period              Convention                deduction               section 179
                                                                  use                                                     use only)                                                                                              cost
                                                              percentage
 25     Special depreciation allowance for qualified listed property placed in service during the tax year and
        used more than 50% in a qualified business use. See instructions. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                25
 26     Property used more than 50% in a qualified business use:
2006 FORD EC                          5/01/22                  100.0                             900.                                                    5.0            200DB MQ
2006 CHEVY E                          5/01/22                  100.0                           1,000.                                                    5.0            200DB MQ
2011 VW JETT                          5/01/22                  100.0                           1,300.                                                    5.0            200DB MQ
 27 Property used 50% or less in a qualified business use:




 28 Add amounts in column (h), lines 25 through 27. Enter here and on line 21, page 1 . . . . . . . . . . . . . . .                       28
 29 Add amounts in column (i), line 26. Enter here and on line 7, page 1. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                   29
                                                Section B ' Information on Use of Vehicles
Complete this section for vehicles used by a sole proprietor, partner, or other 'more than 5% owner,' or related person. If you provided vehicles
to your employees, first answer the questions in Section C to see if you meet an exception to completing this section for those vehicles.

                                                                                             (a)                      (b)                         (c)                      (d)                         (e)                    (f)
 30     Total business/investment miles driven                                            Vehicle 1                 Vehicle 2                  Vehicle 3                 Vehicle 4                  Vehicle 5              Vehicle 6
        during the year (don't include
        commuting miles). . . . . . . . . . . . . . . . . . . . . . . . .
 31     Total commuting miles driven during the year. . . . . . . .
 32     Total other personal (noncommuting)
        miles driven . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 33     Total miles driven during the year. Add
        lines 30 through 32. . . . . . . . . . . . . . . . . . . . . . . .
                                                                                        Yes            No           Yes         No          Yes           No           Yes           No          Yes           No          Yes         No
 34     Was the vehicle available for personal use
        during off-duty hours?. . . . . . . . . . . . . . . . . . . . .
 35     Was the vehicle used primarily by a more
        than 5% owner or related person? . . . . . . . . .
 36     Is another vehicle available for
        personal use? . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                          Section C ' Questions for Employers Who Provide Vehicles for Use by Their Employees
Answer these questions to determine if you meet an exception to completing Section B for vehicles used by employees who aren't more than
5% owners or related persons. See instructions.
                                                                                                                                                                                                                           Yes         No
 37 Do you maintain a written policy statement that prohibits all personal use of vehicles, including commuting,
    by your employees?. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 38 Do you maintain a written policy statement that prohibits personal use of vehicles, except commuting, by your
    employees? See the instructions for vehicles used by corporate officers, directors, or 1% or more owners . . . . . . . . . . . . . .

 39 Do you treat all use of vehicles by employees as personal use? . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 40 Do you provide more than five vehicles to your employees, obtain information from your employees about the use of the
    vehicles, and retain the information received?. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .

 41 Do you meet the requirements concerning qualified automobile demonstration use? See instructions . . . . . . . . . . . . . . . . . . .
    Note: If your answer to 37, 38, 39, 40, or 41 is 'Yes,' don't complete Section B for the covered vehicles.
Part VI              Amortization
                                       (a)                                                       (b)                              (c)                             (d)                         (e)                           (f)
                              Description of costs                                      Date amortization                    Amortizable                          Code                   Amortization                  Amortization
                                                                                             begins                           amount                             section                  period or                    for this year
                                                                                                                                                                                         percentage

 42     Amortization of costs that begins during your 2023 tax year (see instructions):



 43      Amortization of costs that began before your 2023 tax year. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                      43
 44      Total. Add amounts in column (f). See the instructions for where to report . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                   44
                                                                                                            FDIZ0812L 06/22/23                                                                                        Form 4562 (2023)
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                                                                                     Document      Page 41 of 172
Form 4562 (2023)            ROOME ENTERPRISES, INC.                                                                      XX-XXXXXXX                                                                                                Page 2
Part V               Listed Property (Include automobiles, certain other vehicles, certain aircraft, and property used for entertainment,
                     recreation, or amusement.)
                     Note: For any vehicle for which you are using the standard mileage rate or deducting lease expense, complete only 24a, 24b,
                     columns (a) through (c) of Section A, all of Section B, and Section C if applicable.
                      Section A ' Depreciation and Other Information (Caution: See the instructions for limits for passenger automobiles.)
 24 a Do you have evidence to support the business/investment use claimed?. . . . . . . . . .                                    Yes             No 24b If 'Yes,' is the evidence written?. . . . . .                      Yes          No
               (a)                         (b)                     (c)                        (d)                              (e)                         (f)                   (g)                       (h)                    (i)
       Type of property                                        Business/                    Cost or                 Basis for depreciation             Recovery              Method/                 Depreciation               Elected
                                      Date placed
      (list vehicles first)            in service             investment                  other basis               (business/investment                period              Convention                deduction               section 179
                                                                  use                                                     use only)                                                                                              cost
                                                              percentage
 25     Special depreciation allowance for qualified listed property placed in service during the tax year and
        used more than 50% in a qualified business use. See instructions. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                25
 26     Property used more than 50% in a qualified business use:
2015 FORD EC                          5/01/22                  100.0                           2,000.                                                    5.0            200DB MQ
2017 DODGE P                          5/01/22                  100.0                           8,000.                                                    5.0            200DB MQ
2019 CHEVY T                          5/01/22                  100.0                           3,400.                                                    5.0            200DB MQ
 27 Property used 50% or less in a qualified business use:




 28 Add amounts in column (h), lines 25 through 27. Enter here and on line 21, page 1 . . . . . . . . . . . . . . .                       28
 29 Add amounts in column (i), line 26. Enter here and on line 7, page 1. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                   29
                                                Section B ' Information on Use of Vehicles
Complete this section for vehicles used by a sole proprietor, partner, or other 'more than 5% owner,' or related person. If you provided vehicles
to your employees, first answer the questions in Section C to see if you meet an exception to completing this section for those vehicles.

                                                                                             (a)                      (b)                         (c)                      (d)                         (e)                    (f)
 30     Total business/investment miles driven                                            Vehicle 1                 Vehicle 2                  Vehicle 3                 Vehicle 4                  Vehicle 5              Vehicle 6
        during the year (don't include
        commuting miles). . . . . . . . . . . . . . . . . . . . . . . . .
 31     Total commuting miles driven during the year. . . . . . . .
 32     Total other personal (noncommuting)
        miles driven . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 33     Total miles driven during the year. Add
        lines 30 through 32. . . . . . . . . . . . . . . . . . . . . . . .
                                                                                        Yes            No           Yes         No          Yes           No           Yes           No          Yes           No          Yes         No
 34     Was the vehicle available for personal use
        during off-duty hours?. . . . . . . . . . . . . . . . . . . . .
 35     Was the vehicle used primarily by a more
        than 5% owner or related person? . . . . . . . . .
 36     Is another vehicle available for
        personal use? . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                          Section C ' Questions for Employers Who Provide Vehicles for Use by Their Employees
Answer these questions to determine if you meet an exception to completing Section B for vehicles used by employees who aren't more than
5% owners or related persons. See instructions.
                                                                                                                                                                                                                           Yes         No
 37 Do you maintain a written policy statement that prohibits all personal use of vehicles, including commuting,
    by your employees?. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 38 Do you maintain a written policy statement that prohibits personal use of vehicles, except commuting, by your
    employees? See the instructions for vehicles used by corporate officers, directors, or 1% or more owners . . . . . . . . . . . . . .

 39 Do you treat all use of vehicles by employees as personal use? . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 40 Do you provide more than five vehicles to your employees, obtain information from your employees about the use of the
    vehicles, and retain the information received?. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .

 41 Do you meet the requirements concerning qualified automobile demonstration use? See instructions . . . . . . . . . . . . . . . . . . .
    Note: If your answer to 37, 38, 39, 40, or 41 is 'Yes,' don't complete Section B for the covered vehicles.
Part VI              Amortization
                                       (a)                                                       (b)                              (c)                             (d)                         (e)                           (f)
                              Description of costs                                      Date amortization                    Amortizable                          Code                   Amortization                  Amortization
                                                                                             begins                           amount                             section                  period or                    for this year
                                                                                                                                                                                         percentage

 42     Amortization of costs that begins during your 2023 tax year (see instructions):



 43      Amortization of costs that began before your 2023 tax year. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                      43
 44      Total. Add amounts in column (f). See the instructions for where to report . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                   44
                                                                                                            FDIZ0812L 06/22/23                                                                                        Form 4562 (2023)
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Form 4562 (2023)            ROOME ENTERPRISES, INC.                                                                      XX-XXXXXXX                                                                                                Page 2
Part V               Listed Property (Include automobiles, certain other vehicles, certain aircraft, and property used for entertainment,
                     recreation, or amusement.)
                     Note: For any vehicle for which you are using the standard mileage rate or deducting lease expense, complete only 24a, 24b,
                     columns (a) through (c) of Section A, all of Section B, and Section C if applicable.
                      Section A ' Depreciation and Other Information (Caution: See the instructions for limits for passenger automobiles.)
 24 a Do you have evidence to support the business/investment use claimed?. . . . . . . . . .                                    Yes             No 24b If 'Yes,' is the evidence written?. . . . . .                      Yes          No
               (a)                         (b)                     (c)                        (d)                              (e)                         (f)                   (g)                       (h)                    (i)
       Type of property                                        Business/                    Cost or                 Basis for depreciation             Recovery              Method/                 Depreciation               Elected
                                      Date placed
      (list vehicles first)            in service             investment                  other basis               (business/investment                period              Convention                deduction               section 179
                                                                  use                                                     use only)                                                                                              cost
                                                              percentage
 25     Special depreciation allowance for qualified listed property placed in service during the tax year and
        used more than 50% in a qualified business use. See instructions. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                25
 26     Property used more than 50% in a qualified business use:
1999 DODGE V                          5/01/22                  100.0                             300.                                                    5.0            200DB MQ
2020 FORD TR                          5/01/22                  100.0                           8,000.                                                    5.0            200DB MQ
2017 FORD TR                          8/01/22                  100.0                           5,000.                                                    5.0            200DB MQ
 27 Property used 50% or less in a qualified business use:




 28 Add amounts in column (h), lines 25 through 27. Enter here and on line 21, page 1 . . . . . . . . . . . . . . .                       28
 29 Add amounts in column (i), line 26. Enter here and on line 7, page 1. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                   29
                                                Section B ' Information on Use of Vehicles
Complete this section for vehicles used by a sole proprietor, partner, or other 'more than 5% owner,' or related person. If you provided vehicles
to your employees, first answer the questions in Section C to see if you meet an exception to completing this section for those vehicles.

                                                                                             (a)                      (b)                         (c)                      (d)                         (e)                    (f)
 30     Total business/investment miles driven                                            Vehicle 1                 Vehicle 2                  Vehicle 3                 Vehicle 4                  Vehicle 5              Vehicle 6
        during the year (don't include
        commuting miles). . . . . . . . . . . . . . . . . . . . . . . . .
 31     Total commuting miles driven during the year. . . . . . . .
 32     Total other personal (noncommuting)
        miles driven . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 33     Total miles driven during the year. Add
        lines 30 through 32. . . . . . . . . . . . . . . . . . . . . . . .
                                                                                        Yes            No           Yes         No          Yes           No           Yes           No          Yes           No          Yes         No
 34     Was the vehicle available for personal use
        during off-duty hours?. . . . . . . . . . . . . . . . . . . . .
 35     Was the vehicle used primarily by a more
        than 5% owner or related person? . . . . . . . . .
 36     Is another vehicle available for
        personal use? . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                          Section C ' Questions for Employers Who Provide Vehicles for Use by Their Employees
Answer these questions to determine if you meet an exception to completing Section B for vehicles used by employees who aren't more than
5% owners or related persons. See instructions.
                                                                                                                                                                                                                           Yes         No
 37 Do you maintain a written policy statement that prohibits all personal use of vehicles, including commuting,
    by your employees?. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 38 Do you maintain a written policy statement that prohibits personal use of vehicles, except commuting, by your
    employees? See the instructions for vehicles used by corporate officers, directors, or 1% or more owners . . . . . . . . . . . . . .

 39 Do you treat all use of vehicles by employees as personal use? . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 40 Do you provide more than five vehicles to your employees, obtain information from your employees about the use of the
    vehicles, and retain the information received?. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .

 41 Do you meet the requirements concerning qualified automobile demonstration use? See instructions . . . . . . . . . . . . . . . . . . .
    Note: If your answer to 37, 38, 39, 40, or 41 is 'Yes,' don't complete Section B for the covered vehicles.
Part VI              Amortization
                                       (a)                                                       (b)                              (c)                             (d)                         (e)                           (f)
                              Description of costs                                      Date amortization                    Amortizable                          Code                   Amortization                  Amortization
                                                                                             begins                           amount                             section                  period or                    for this year
                                                                                                                                                                                         percentage

 42     Amortization of costs that begins during your 2023 tax year (see instructions):



 43      Amortization of costs that began before your 2023 tax year. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                      43
 44      Total. Add amounts in column (f). See the instructions for where to report . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                   44
                                                                                                            FDIZ0812L 06/22/23                                                                                        Form 4562 (2023)
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Form 4562 (2023)            ROOME ENTERPRISES, INC.                                                                      XX-XXXXXXX                                                                                                Page 2
Part V               Listed Property (Include automobiles, certain other vehicles, certain aircraft, and property used for entertainment,
                     recreation, or amusement.)
                     Note: For any vehicle for which you are using the standard mileage rate or deducting lease expense, complete only 24a, 24b,
                     columns (a) through (c) of Section A, all of Section B, and Section C if applicable.
                      Section A ' Depreciation and Other Information (Caution: See the instructions for limits for passenger automobiles.)
 24 a Do you have evidence to support the business/investment use claimed?. . . . . . . . . .                                    Yes             No 24b If 'Yes,' is the evidence written?. . . . . .                      Yes          No
               (a)                         (b)                     (c)                        (d)                              (e)                         (f)                   (g)                       (h)                    (i)
       Type of property                                        Business/                    Cost or                 Basis for depreciation             Recovery              Method/                 Depreciation               Elected
                                      Date placed
      (list vehicles first)            in service             investment                  other basis               (business/investment                period              Convention                deduction               section 179
                                                                  use                                                     use only)                                                                                              cost
                                                              percentage
 25     Special depreciation allowance for qualified listed property placed in service during the tax year and
        used more than 50% in a qualified business use. See instructions. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                25
 26     Property used more than 50% in a qualified business use:
2020 CHEVY T 9/23/22                                           100.0                        23,987.                          12,787.                     5.0            200DB MQ                          4,348.
2022 CHEVY C 11/18/22                                          100.0                        40,914.                          29,714.                     5.0            200DB MQ                         11,291.
2024 CHEVY T 7/01/23                                           100.0                        23,794.                          23,794.                     5.0            200DB HY                          4,759.
 27 Property used 50% or less in a qualified business use:




 28 Add amounts in column (h), lines 25 through 27. Enter here and on line 21, page 1 . . . . . . . . . . . . . . .                       28
 29 Add amounts in column (i), line 26. Enter here and on line 7, page 1. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                   29
                                                Section B ' Information on Use of Vehicles
Complete this section for vehicles used by a sole proprietor, partner, or other 'more than 5% owner,' or related person. If you provided vehicles
to your employees, first answer the questions in Section C to see if you meet an exception to completing this section for those vehicles.

                                                                                             (a)                      (b)                         (c)                      (d)                         (e)                    (f)
 30     Total business/investment miles driven                                            Vehicle 1                 Vehicle 2                  Vehicle 3                 Vehicle 4                  Vehicle 5              Vehicle 6
        during the year (don't include
        commuting miles). . . . . . . . . . . . . . . . . . . . . . . . .
 31     Total commuting miles driven during the year. . . . . . . .
 32     Total other personal (noncommuting)
        miles driven . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 33     Total miles driven during the year. Add
        lines 30 through 32. . . . . . . . . . . . . . . . . . . . . . . .
                                                                                        Yes            No           Yes         No          Yes           No           Yes           No          Yes           No          Yes         No
 34     Was the vehicle available for personal use
        during off-duty hours?. . . . . . . . . . . . . . . . . . . . .
 35     Was the vehicle used primarily by a more
        than 5% owner or related person? . . . . . . . . .
 36     Is another vehicle available for
        personal use? . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                          Section C ' Questions for Employers Who Provide Vehicles for Use by Their Employees
Answer these questions to determine if you meet an exception to completing Section B for vehicles used by employees who aren't more than
5% owners or related persons. See instructions.
                                                                                                                                                                                                                           Yes         No
 37 Do you maintain a written policy statement that prohibits all personal use of vehicles, including commuting,
    by your employees?. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 38 Do you maintain a written policy statement that prohibits personal use of vehicles, except commuting, by your
    employees? See the instructions for vehicles used by corporate officers, directors, or 1% or more owners . . . . . . . . . . . . . .

 39 Do you treat all use of vehicles by employees as personal use? . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 40 Do you provide more than five vehicles to your employees, obtain information from your employees about the use of the
    vehicles, and retain the information received?. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .

 41 Do you meet the requirements concerning qualified automobile demonstration use? See instructions . . . . . . . . . . . . . . . . . . .
    Note: If your answer to 37, 38, 39, 40, or 41 is 'Yes,' don't complete Section B for the covered vehicles.
Part VI              Amortization
                                       (a)                                                       (b)                              (c)                             (d)                         (e)                           (f)
                              Description of costs                                      Date amortization                    Amortizable                          Code                   Amortization                  Amortization
                                                                                             begins                           amount                             section                  period or                    for this year
                                                                                                                                                                                         percentage

 42     Amortization of costs that begins during your 2023 tax year (see instructions):



 43      Amortization of costs that began before your 2023 tax year. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                      43
 44      Total. Add amounts in column (f). See the instructions for where to report . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                   44
                                                                                                            FDIZ0812L 06/22/23                                                                                        Form 4562 (2023)
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                  Idaho Income Tax Payment Voucher                   Amount Paid:   $       324.00
                        E-Filed Original Return

Mail to: Idaho State Tax Commission                                                        IDIA1202L   11/10/22
         PO Box 83784
         Boise ID 83707-3784




   ROOME ENTERPRISES, INC.                                                              XX-XXXXXXX
   5974 W SELTICE WAY
   POST FALLS                                    ID    83854




                                                          873377753 000000000 ROOM 05 1223 A 95 0
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Fill in this information to identify the case:

Debtor name         ROOME ENTERPIRSES, INC.

United States Bankruptcy Court for the:     DISTRICT OF IDAHO

Case number (if known)
                                                                                                                            Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

              Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

              Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

              Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

              Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

              Schedule H: Codebtors (Official Form 206H)

              Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
              Amended Schedule
              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
              Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       January 14, 2025                X /s/ Adolphe R Roome
                                                           Signature of individual signing on behalf of debtor

                                                            Adolphe R Roome
                                                            Printed name

                                                            Owner/President
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
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Fill in this information to identify the case:
Debtor name ROOME ENTERPIRSES, INC.
United States Bankruptcy Court for the: DISTRICT OF IDAHO                                                                               Check if this is an

Case number (if known):                                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                 professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                 and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                 contracts)                                        partially secured          of collateral or setoff
Advanced                                                                                                                                                          $2,586.50
Equipment
&Supplies
P.O. Box 2531
Spokane, WA 99220
American Express                                    Credit card                                                                                                 $18,844.55
P.O. BOX 981535                                     purchases
El Paso, TX
79998-1535
Avista                                              Utilities                                                                                                       $350.50
1411 E. Mission Ave
Spokane, WA
99252-0001
Captiol One                                         Credit card                                                                                                 $38,241.14
P.O. Box 60519                                      purchases
City of Industry, CA
91716-0519
City of Post Falls                                                                                                                                                  $387.93
PO Box 789
Post Falls, ID 83877
CTC Electrical                                                                                                                                                    $2,850.66
Contracting
1423 N Molter Rd,
Suite 813
Liberty Lake, WA
99019
Diversity Services                                  Loan                                                                                                      $250,993.21
LLC
14180 N. Spiral
Ridge Trail
Rathdrum, ID 83858
Exbabylon IT                                                                                                                                                      $1,472.50
Solutions
204 W Walnut St.
Suite D
Newport, WA 99156



Official form 204                      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1
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          Case 25-20010-NGH                                      Doc 1           Filed 01/14/25 Entered 01/14/25 17:33:39                                                             Desc Main
                                                                               Document      Page 52 of 172                                                                                        1/14/25 4:03PM


Fill in this information to identify the case:

Debtor name           ROOME ENTERPIRSES, INC.

United States Bankruptcy Court for the:                      DISTRICT OF IDAHO

Case number (if known)
                                                                                                                                                                                  Check if this is an
                                                                                                                                                                                      amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                  12/15

Part 1:     Summary of Assets


1.   Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

     1a. Real property:
         Copy line 88 from Schedule A/B.............................................................................................................................                   $                  0.00

     1b. Total personal property:
         Copy line 91A from Schedule A/B.........................................................................................................................                      $       1,201,963.68

     1c. Total of all property:
         Copy line 92 from Schedule A/B...........................................................................................................................                     $       1,201,963.68


Part 2:     Summary of Liabilities


2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                   $       2,603,008.50


3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

     3a. Total claim amounts of priority unsecured claims:
         Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                      $          27,729.98

     3b. Total amount of claims of nonpriority amount of unsecured claims:
         Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                              +$         338,269.16


4.   Total liabilities .......................................................................................................................................................
     Lines 2 + 3a + 3b                                                                                                                                                            $          2,969,007.64




Official Form 206Sum                                             Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
           Case 25-20010-NGH                  Doc 1     Filed 01/14/25 Entered 01/14/25 17:33:39                            Desc Main
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Fill in this information to identify the case:

Debtor name        ROOME ENTERPIRSES, INC.

United States Bankruptcy Court for the:     DISTRICT OF IDAHO

Case number (if known)
                                                                                                                      Check if this is an
                                                                                                                            amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                            12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

      No. Go to Part 2.
      Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                         Current value of
                                                                                                                            debtor's interest
2.         Cash on hand                                                                                                                      $207.00



3.         Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                  Last 4 digits of account
                                                                                                 number


           3.1.   First Interstate Bank                          Checking Account                8324                                   $2,011.21




           3.2.   First Interstate Bank                          Checking Account                8364                                        $120.91




           3.3.   US Bank                                        Checking Account                1209                                  $10,190.83




           3.4.   US Bank                                        Checking Account                9617                                   $7,821.27




           3.5.   First Interstate Bank                          Checking Account                8516                                  $40,060.38



4.         Other cash equivalents (Identify all)




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Debtor            ROOME ENTERPIRSES, INC.                                                    Case number (If known)
                  Name


5.         Total of Part 1.                                                                                                         $60,411.60
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:           Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

      No. Go to Part 3.
      Yes Fill in the information below.
7.         Deposits, including security deposits and utility deposits
           Description, including name of holder of deposit


           7.1.     Security Deposit for Lease held by Landlord-N&M Services LLC                                                        $24,336.00




           7.2.     Deposit for work in progress                                                                                         $5,798.83



8.         Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
           Description, including name of holder of prepayment


9.         Total of Part 2.                                                                                                         $30,134.83
           Add lines 7 through 8. Copy the total to line 81.

Part 3:           Accounts receivable
10. Does the debtor have any accounts receivable?

      No. Go to Part 4.
      Yes Fill in the information below.
11.        Accounts receivable
           11a. 90 days old or less:                   307,408.81       -                                   0.00 = ....                $307,408.81
                                        face amount                            doubtful or uncollectible accounts




12.        Total of Part 3.                                                                                                        $307,408.81
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

Part 4:           Investments
13. Does the debtor own any investments?

      No. Go to Part 5.
      Yes Fill in the information below.

Part 5:           Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

      No. Go to Part 6.
      Yes Fill in the information below.
           General description                Date of the last              Net book value of         Valuation method used   Current value of
                                              physical inventory            debtor's interest         for current value       debtor's interest
                                                                            (Where available)

19.        Raw materials

Official Form 206A/B                                  Schedule A/B Assets - Real and Personal Property                                       page 2
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Debtor       ROOME ENTERPIRSES, INC.                                                 Case number (If known)
             Name

20.       Work in progress
          Work in Progress                                                         $0.00                                         $65,716.44



21.       Finished goods, including goods held for resale

22.       Other inventory or supplies
          Cleaning and other
          supplies                                                                 $0.00                                         $13,000.00




23.       Total of Part 5.                                                                                                   $78,716.44
          Add lines 19 through 22. Copy the total to line 84.

24.       Is any of the property listed in Part 5 perishable?
           No
           Yes
25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
           No
           Yes. Book value                              Valuation method                          Current Value

26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
           No
           Yes
Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

    No. Go to Part 7.
    Yes Fill in the information below.

Part 7:      Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

    No. Go to Part 8.
    Yes Fill in the information below.
          General description                                        Net book value of         Valuation method used   Current value of
                                                                     debtor's interest         for current value       debtor's interest
                                                                     (Where available)

39.       Office furniture
          Office Desks, Chairs, Furniture                                          $0.00                                          $7,500.00


          Office - Vaults/Wooden Crates 49 @ $75 each                              $0.00                                          $3,675.00



40.       Office fixtures
          Metal Racking                                                            $0.00                                          $1,500.00



41.       Office equipment, including all computer equipment and
          communication systems equipment and software
          Computers/Laptops 10 @ $250/ea                                           $0.00                                          $2,500.00


          Phone System 20 @ $50/ea                                               $0.00                                            $1,000.00
Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                  page 3
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Debtor       ROOME ENTERPIRSES, INC.                                                        Case number (If known)
             Name




          Office Equipment- Misc (i.e. shredder,coffee
          maker, entry mat, lamps, cubicle partitions, SM
          decor, etc.)                                                                    $0.00                                        $1,500.00



42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
          books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
          collections; other collections, memorabilia, or collectibles

43.       Total of Part 7.                                                                                                           $17,675.00
          Add lines 39 through 42. Copy the total to line 86.

44.       Is a depreciation schedule available for any of the property listed in Part 7?
           No
           Yes
45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
           No
           Yes
Part 8:      Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

    No. Go to Part 9.
    Yes Fill in the information below.
          General description                                            Net book value of          Valuation method used   Current value of
          Include year, make, model, and identification numbers          debtor's interest          for current value       debtor's interest
          (i.e., VIN, HIN, or N-number)                                  (Where available)

47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

          47.1.   2019 Chevy Colorado                                                     $0.00     KBB                               $12,772.00


          47.2.   2004 Ford Econoline                                                     $0.00     KBB                                $1,184.00


          47.3.   2006 Ford Econoline                                                     $0.00     KBB                                $1,364.00


          47.4.   2006 Chevy Express                                                      $0.00     KBB                                $1,291.00


          47.5.   2011 VW Jetta                                                           $0.00     KBB                                $1,985.00


          47.6.   2015 Ford Ecoline                                                       $0.00     KBB                                $4,485.00


          47.7.   2017 Dodge Ram Promaster                                                $0.00     KBB                                $6,673.00


          47.8.   2018 Nissan NV                                                          $0.00     KBB                               $15,431.00


          47.9.   2019 Chevy Trax                                                         $0.00     KBB                                $2,318.00




Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                       page 4
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Debtor      ROOME ENTERPIRSES, INC.                                                   Case number (If known)
            Name

         47.10
         .     2020 Ford Transit                                                    $0.00     KBB                    $38,489.00


         47.11
         .     1999 Cargo Trailer                                                   $0.00                              $500.00


         47.12
         .     2009 Cargo Trailer                                                   $0.00                             $1,000.00


         47.13
         .     2016 Cargo Trailer                                                   $0.00                              $500.00


         47.14
         .     2017 Ford Transit Connect                                            $0.00     KBB                    $10,371.00


         47.15
         .     2020 Chevy Trax                                                      $0.00     KBB                     $9,660.00


         47.16
         .     2022 Chevy Colorado                                                  $0.00     KBB                    $31,802.00


         47.17
         .     2022 Continental Cargo Trailer                                       $0.00                             $1,500.00


         47.18
         .     2024 Chevy Trax                                                      $0.00                            $18,634.00


         47.19
         .     2024 Ford Transit                                                    $0.00                            $43,201.00


         47.20
         .     2024 Chevy Silverado 2500HD                                          $0.00                            $53,857.00



48.      Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
         floating homes, personal watercraft, and fishing vessels

49.      Aircraft and accessories


50.      Other machinery, fixtures, and equipment (excluding farm
         machinery and equipment)
         Janitorial Equipment- Scrubbers                                            $0.00                            $15,000.00


         Janitorial Equipment- Floor Machines                                       $0.00                             $6,000.00


         Janitorial Equipment- Burnishers                                           $0.00                             $6,000.00


         Janitorial Equipment- Carpet/Floor Cleaning                                $0.00                             $4,000.00


         Janitorial Equipment- Vacuums 65 @ $50/ea                                  $0.00                             $3,250.00


Official Form 206A/B                             Schedule A/B Assets - Real and Personal Property                          page 5
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Debtor      ROOME ENTERPIRSES, INC.                                              Case number (If known)
            Name

         Janitorial Equipment- Misc. (i.e. mop buckets,
         mop handles, janitor carts, cleaning supplies,
         Dust mop handles, Push sweeper, etc.)                                  $0.00                             $3,000.00


         Restoration Equipment- Dehumidifiers
         30@$500/each                                                           $0.00                           $10,000.00


         Restoration Equipment- Air Movers 200 @
         $50/ea                                                                 $0.00                           $10,000.00


         Restoration Equipment- Air Scrubbers 8 @
         300/ea                                                                 $0.00                             $2,400.00


         Restoration Equipment- Heaters 2 @ 300/ea                              $0.00                              $600.00


         Restoration Equipment- Misc. (i.e Drywall lift
         panel, Floor drying mats & hoses, Floor Jack,
         Injectidry, Spider boxes, Storage blankets,
         etc.)                                                                  $0.00                             $5,000.00


         Misc. Hand Tools- Leaf Blowers, Lawn Mower,
         Ladder, Hand Trucks, Dollys, etc.                                      $0.00                             $5,000.00


         Janitorial Equipment- Truck Mount                                      $0.00                           $15,000.00


         Restoration Equipment- Extractors 3 @
         $500/ea                                                                $0.00                             $1,500.00


         Restoration Equipment- Testing Equipment 6
         @ $500/ea                                                              $0.00                             $3,000.00


         Restoration Equipment- Hydroxyl 6 @ 1,000/ea                           $0.00                             $6,000.00


         Restoration Equipment- Spider Boxes 4 @
         400/ea                                                                 $0.00                             $1,600.00


         Restoration Equipment- Ozone Generator                                 $0.00                              $500.00


         Washers & Dryers 6@ $250/ea                                            $0.00                             $1,500.00


         Forklift                                                               $0.00                             $3,500.00


         Air Compressors 2@$125/ea                                              $0.00                              $250.00



51.      Total of Part 8.                                                                                    $360,117.00
         Add lines 47 through 50. Copy the total to line 87.

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Debtor        ROOME ENTERPIRSES, INC.                                                     Case number (If known)
              Name

52.        Is a depreciation schedule available for any of the property listed in Part 8?
            No
            Yes
53.        Has any of the property listed in Part 8 been appraised by a professional within the last year?
            No
            Yes
Part 9:       Real property
54. Does the debtor own or lease any real property?

    No. Go to Part 10.
    Yes Fill in the information below.
55.        Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

           Description and location of           Nature and             Net book value of             Valuation method used   Current value of
           property                              extent of              debtor's interest             for current value       debtor's interest
           Include street address or other       debtor's interest      (Where available)
           description such as Assessor          in property
           Parcel Number (APN), and type
           of property (for example,
           acreage, factory, warehouse,
           apartment or office building, if
           available.
           55.1.
                   5974 W Seltice Way,
                   Post Falls, ID 83854          Lease                                  $0.00                                             Unknown




56.        Total of Part 9.                                                                                                                  $0.00
           Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
           Copy the total to line 88.

57.        Is a depreciation schedule available for any of the property listed in Part 9?
            No
            Yes
58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
            No
            Yes
Part 10:      Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

    No. Go to Part 11.
    Yes Fill in the information below.
           General description                                          Net book value of             Valuation method used    Current value of
                                                                        debtor's interest             for current value        debtor's interest
                                                                        (Where available)

60.        Patents, copyrights, trademarks, and trade secrets

61.        Internet domain names and websites

62.        Licenses, franchises, and royalties
           ServiceMaster Franchise Agreement ; License
           #10959 Clean                                                                 $0.00                                            $32,500.00




Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                          page 7
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Debtor        ROOME ENTERPIRSES, INC.                                                      Case number (If known)
              Name

           ServiceMaster Franchise Agreement; License
           #10960 Clean                                                                  $0.00                                       $32,500.00


           ServiceMaster Franchise Agreement; License
           #10961 Clean                                                                  $0.00                                       $32,500.00


           ServiceMaster Franchise Agreement; License
           #10962 Restore                                                                $0.00                                       $72,500.00


           ServiceMaster Franchise Agreement; License
           #10963 Restore                                                                $0.00                                       $72,500.00


           ServiceMaster Franchise Agreement; License
           #10964 Restore                                                                $0.00                                       $72,500.00


           ServiceMaster Clean Franchise Agreement;
           License #11070 Clean                                                          $0.00                                       $32,500.00



63.        Customer lists, mailing lists, or other compilations

64.        Other intangibles, or intellectual property

65.        Goodwill

66.        Total of Part 10.                                                                                                     $347,500.00
           Add lines 60 through 65. Copy the total to line 89.

67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
            No
            Yes
68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
            No
            Yes
69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
            No
            Yes
Part 11:      All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

    No. Go to Part 12.
    Yes Fill in the information below.
                                                                                                                          Current value of
                                                                                                                          debtor's interest


71.        Notes receivable
           Description (include name of obligor)

72.        Tax refunds and unused net operating losses (NOLs)
           Description (for example, federal, state, local)

73.        Interests in insurance policies or annuities
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Debtor      ROOME ENTERPIRSES, INC.                                                 Case number (If known)
            Name



74.      Causes of action against third parties (whether or not a lawsuit
         has been filed)

75.      Other contingent and unliquidated claims or causes of action of
         every nature, including counterclaims of the debtor and rights to
         set off claims

76.      Trusts, equitable or future interests in property

77.      Other property of any kind not already listed Examples: Season tickets,
         country club membership

         Non Compete Agreement w Brian Davis                                                                        Unknown



         Non Compete Agreement w Jason McGeary                                                                      Unknown




78.      Total of Part 11.                                                                                            $0.00
         Add lines 71 through 77. Copy the total to line 90.

79.      Has any of the property listed in Part 11 been appraised by a professional within the last year?
          No
          Yes




Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                      page 9
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Debtor          ROOME ENTERPIRSES, INC.                                                                             Case number (If known)
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                            $60,411.60

81. Deposits and prepayments. Copy line 9, Part 2.                                                                 $30,134.83

82. Accounts receivable. Copy line 12, Part 3.                                                                   $307,408.81

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                               $78,716.44

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                          $17,675.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                    $360,117.00

88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                $347,500.00

90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

91. Total. Add lines 80 through 90 for each column                                                         $1,201,963.68            + 91b.                      $0.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $1,201,963.68




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Fill in this information to identify the case:

Debtor name          ROOME ENTERPIRSES, INC.

United States Bankruptcy Court for the:            DISTRICT OF IDAHO

Case number (if known)
                                                                                                                                      Check if this is an
                                                                                                                                           amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                   12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
       No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
       Yes. Fill in all of the information below.
Part 1:      List Creditors Who Have Secured Claims
                                                                                                                 Column A                    Column B
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim.                                                              Amount of claim             Value of collateral
                                                                                                                                             that supports this
                                                                                                                 Do not deduct the value     claim
                                                                                                                 of collateral.
2.1    First Bank of the Lake                       Describe debtor's property that is subject to a lien              $1,961,590.89               $643,501.78
       Creditor's Name                              All assets, including accounts and vehicles
       4558 Osage Beach                             and trailers listed in attachment D-1
       Parkway,
       Suite 100
       Osage Beach, MO 65065
       Creditor's mailing address                   Describe the lien
                                                    UCC/Notation on Vehicle Title
                                                    Is the creditor an insider or related party?
                                                     No
       Creditor's email address, if known            Yes
                                                    Is anyone else liable on this claim?
       Date debt was incurred                        No
       04-29-2022                                    Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                As of the petition filing date, the claim is:
       interest in the same property?               Check all that apply
        No                                          Contingent
        Yes. Specify each creditor,                 Unliquidated
       including this creditor and its relative      Disputed
       priority.



2.2    Ford Credit                                  Describe debtor's property that is subject to a lien                  $59,308.84               $43,201.00
       Creditor's Name                              2024 Ford Transit
       P.O. BOX 650575
       Dallas, TX 75265-0575
       Creditor's mailing address                   Describe the lien
                                                    Financing Lien
                                                    Is the creditor an insider or related party?
                                                     No
       Creditor's email address, if known            Yes
                                                    Is anyone else liable on this claim?
       Date debt was incurred                        No
       05-16-2024                                    Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       4814
       Do multiple creditors have an                As of the petition filing date, the claim is:
       interest in the same property?               Check all that apply

Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                               page 1 of 4
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Debtor      ROOME ENTERPIRSES, INC.                                                               Case number (if known)
            Name

       No                                         Contingent
       Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative     Disputed
      priority.



2.3   GM Financial                                Describe debtor's property that is subject to a lien                     $77,307.55       $53,857.00
      Creditor's Name                             2024 Chevy Silverado 2500HD
      PO BOX 78143
      Phoenix, AZ 85062-8143
      Creditor's mailing address                  Describe the lien
                                                  Financing Lien
                                                  Is the creditor an insider or related party?
                                                   No
      Creditor's email address, if known           Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                       No
      09-27-2024                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      9341
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
       No                                         Contingent
       Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative     Disputed
      priority.



2.4   GM Financial                                Describe debtor's property that is subject to a lien                     $31,236.66       $31,802.00
      Creditor's Name                             2022 Chevy Colorado
      PO BOX 78143
      Phoenix, AZ 85062-8143
      Creditor's mailing address                  Describe the lien
                                                  Financing Lien
                                                  Is the creditor an insider or related party?
                                                   No
      Creditor's email address, if known           Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                       No
      11-18-2022                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      7857
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
       No                                         Contingent
       Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative     Disputed
      priority.



2.5   GM Financial                                Describe debtor's property that is subject to a lien                     $20,883.90       $18,634.00
      Creditor's Name                             2024 Chevy Trax
      PO BOX 78143
      Phoenix, AZ 85062-8143
      Creditor's mailing address                  Describe the lien
                                                  Financing Lien
                                                  Is the creditor an insider or related party?
                                                   No

Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                              page 2 of 4
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Debtor       ROOME ENTERPIRSES, INC.                                                               Case number (if known)
             Name

       Creditor's email address, if known           Yes
                                                   Is anyone else liable on this claim?
       Date debt was incurred                       No
       09-25-2023                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       9192
       Do multiple creditors have an               As of the petition filing date, the claim is:
       interest in the same property?              Check all that apply
        No                                         Contingent
        Yes. Specify each creditor,                Unliquidated
       including this creditor and its relative     Disputed
       priority.



2.6    GM Financial                                Describe debtor's property that is subject to a lien                      $17,904.41         $9,660.00
       Creditor's Name                             2020 Chevy Trax
       PO BOX 78143
       Phoenix, AZ 85062-8143
       Creditor's mailing address                  Describe the lien

                                                   Is the creditor an insider or related party?
                                                    No
       Creditor's email address, if known           Yes
                                                   Is anyone else liable on this claim?
       Date debt was incurred                       No
                                                    Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an               As of the petition filing date, the claim is:
       interest in the same property?              Check all that apply
        No                                         Contingent
        Yes. Specify each creditor,                Unliquidated
       including this creditor and its relative     Disputed
       priority.



2.7    Kalamata Capitol Group                      Describe debtor's property that is subject to a lien                     $434,776.25            $0.00
       Creditor's Name                             2nd priority lien against accounts receivable
       1 Blue Hill Plaza
       Lobby Level #1509
       Pearl River, NY 10965
       Creditor's mailing address                  Describe the lien
                                                   UCC
                                                   Is the creditor an insider or related party?
                                                    No
       Creditor's email address, if known           Yes
                                                   Is anyone else liable on this claim?
       Date debt was incurred                       No
       07-05-2024                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an               As of the petition filing date, the claim is:
       interest in the same property?              Check all that apply
        No                                         Contingent
        Yes. Specify each creditor,                Unliquidated
       including this creditor and its relative
       priority.
                                                    Disputed


3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.            $2,603,008.5

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Debtor     ROOME ENTERPIRSES, INC.                                                             Case number (if known)
           Name

                                                                                                                                       0

Part 2:   List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
        Name and address                                                                                     On which line in Part 1 did        Last 4 digits of
                                                                                                             you enter the related creditor?    account number for
                                                                                                                                                this entity
       Berkovitich & Bouskila, PLLC
       Attn: Ariel Bouskila                                                                              Line   2.7
       1545 U.S. 202, Ste. 101
       Pomona, NY 10970




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                                    Attachment D-1
                                Vehicle and Trailer Assets


List of Vehicles

Year            Make                Model                   VIN                      Loan Provider
           2019 Chevy               Colorado                1GCHTBEN9K1263787        FBOL
           2004 Ford                Econoline               1FDXE45S04HA49526        FBOL
           2006 Ford                Econoline               1FDSE35L56DA11927        FBOL
           2006 Chevy               Express                 1GCHG35V961226920        FBOL
           2011 VW                  Jetta                   3VWDZ7AJ5BM377878        FBOL
           2015 Ford                Econoline               1FDWE3FL7FDA07894        FBOL
           2017 Dodge/Ram           Promaster City          ZFBERFBB1H6E04193        FBOL
           2018 Nissan              NV                      1N6AF0LY5JN803439        FBOL
           2019 Chevy               Trax                    3GNCJNSB0KL228566        FBOL
           2020 Ford                Transit                 1FTBW2D88LKB72031        FBOL
           1999 Cargo Trailer                               1WC200C16M151903         FBOL
           2009 Cargo Trailer                               5NHUTWV249T609672        FBOL
           2016 Interstate          Cargo Trailer           4RALS1013GN097825        FBOL
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Fill in this information to identify the case:

Debtor name        ROOME ENTERPIRSES, INC.

United States Bankruptcy Court for the:         DISTRICT OF IDAHO

Case number (if known)
                                                                                                                                          Check if this is an
                                                                                                                                               amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                               12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

          No. Go to Part 2.
          Yes. Go to line 2.
      2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
         with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                 Total claim           Priority amount

2.1       Priority creditor's name and mailing address        As of the petition filing date, the claim is:                                    $0.00     $0.00
          Idaho State Tax Commission                          Check all that apply.
          Attn: Bankruptcy                                     Contingent
          P.O. Box 36                                          Unliquidated
          Boise, ID 83722-0410                                 Disputed
          Date or dates debt was incurred                     Basis for the claim:


          Last 4 digits of account number                     Is the claim subject to offset?
          Specify Code subsection of PRIORITY                  No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes

2.2       Priority creditor's name and mailing address        As of the petition filing date, the claim is:                                    $0.00     $0.00
          Internal Revenue Service                            Check all that apply.
          Centralized Insolvency                               Contingent
          PO Box 7346                                          Unliquidated
          Philadelphia, PA 19101                               Disputed
          Date or dates debt was incurred                     Basis for the claim:


          Last 4 digits of account number                     Is the claim subject to offset?
          Specify Code subsection of PRIORITY                  No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes




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Debtor       ROOME ENTERPIRSES, INC.                                                                    Case number (if known)
             Name

2.3       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                       $4,222.79   $4,222.79
          WA State Dept of Revenue                             Check all that apply.
          Attn: Bankruptcy Unit                                 Contingent
          2101 4th Ave., Ste 1400                               Unliquidated
          Seattle, WA 98121                                     Disputed
          Date or dates debt was incurred                      Basis for the claim:
                                                               Tax
          Last 4 digits of account number                      Is the claim subject to offset?
          Specify Code subsection of PRIORITY                   No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                Yes

2.4       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                  $23,507.19       $0.00
          WA State Labor& Industries                           Check all that apply.
          7273 Linderson Way SW                                 Contingent
          Turnwater, WA 98501-5414                              Unliquidated
                                                                Disputed
          Date or dates debt was incurred                      Basis for the claim:


          Last 4 digits of account number                      Is the claim subject to offset?
          Specify Code subsection of PRIORITY                   No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                Yes


Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
      3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
         out and attach the Additional Page of Part 2.
                                                                                                                                                     Amount of claim

3.1       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          Acrisure LLC / Dickinson Ins                                        Contingent
          609 N Syringa Street                                                Unliquidated
          Post Falls, ID 83854                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Insurance
          Last 4 digits of account number                                     Account is Current
                                                                             Is the claim subject to offset?    No  Yes
3.2       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $2,586.50
          Advanced Equipment &Supplies                                        Contingent
          P.O. Box 2531                                                       Unliquidated
          Spokane, WA 99220                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
3.3       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          Air Tech Abatement Tech                                             Contingent
          55 E Lincoln Rd #106                                                Unliquidated
          Spokane, WA 99208                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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Debtor      ROOME ENTERPIRSES, INC.                                                         Case number (if known)
            Name

3.4      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $18,844.55
         American Express                                           Contingent
         P.O. BOX 981535                                            Unliquidated
         El Paso, TX 79998-1535                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Credit card purchases
         Last 4 digits of account number 1007
                                                                   Is the claim subject to offset?    No  Yes
3.5      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $350.50
         Avista                                                     Contingent
         1411 E. Mission Ave                                        Unliquidated
         Spokane, WA 99252-0001                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Utilities
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.6      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $38,241.14
         Captiol One                                                Contingent
         P.O. Box 60519                                             Unliquidated
         City of Industry, CA 91716-0519                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Credit card purchases
         Last 4 digits of account number 9766
                                                                   Is the claim subject to offset?    No  Yes
3.7      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $387.93
         City of Post Falls                                         Contingent
         PO Box 789                                                 Unliquidated
         Post Falls, ID 83877                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.8      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $2,850.66
         CTC Electrical Contracting                                 Contingent
         1423 N Molter Rd, Suite 813                                Unliquidated
         Liberty Lake, WA 99019                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.9      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $53.74
         Culligan Water LLC                                         Contingent
         991 E Best Ave                                             Unliquidated
         Coeur D Alene, ID 83814                                    Disputed
         Date(s) debt was incurred 11-30-2024
                                                                   Basis for the claim:
         Last 4 digits of account number 6801
                                                                   Is the claim subject to offset?    No  Yes
3.10     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $250,993.21
         Diversity Services LLC                                     Contingent
         14180 N. Spiral Ridge Trail                                Unliquidated
         Rathdrum, ID 83858                                         Disputed
         Date(s) debt was incurred 04-29-2022
                                                                   Basis for the claim: Loan
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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Debtor      ROOME ENTERPIRSES, INC.                                                         Case number (if known)
            Name

3.11     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,472.50
         Exbabylon IT Solutions                                     Contingent
         204 W Walnut St. Suite D                                   Unliquidated
         Newport, WA 99156                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.12     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $0.00
         Guidant Financial Group                                    Contingent
         2404 Bank Drive, Suite 310                                 Unliquidated
         Boise, ID 83705                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: 401 K
         Last 4 digits of account number                            Account is Current
                                                                   Is the claim subject to offset?    No  Yes
3.13     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $0.00
         Hiscox Insurance Co Inc.                                   Contingent
         30 North LaSalle St.                                       Unliquidated
         Suite 1760                                                 Disputed
         Chicago, IL 60602
                                                                   Basis for the claim: Insurance
         Date(s) debt was incurred
                                                                    Account is Current
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.14     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $95.00
         Home Appliance Tech                                        Contingent
         PO Box 2622                                                Unliquidated
         Post Falls, ID 83877                                       Disputed
         Date(s) debt was incurred 01-06-2025
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.15     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $0.00
         Jason McGeary                                              Contingent
         3411 W Pine Hill Dr.                                       Unliquidated
         Coeur D Alene, ID 83815                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.16     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $0.00
         Liberty Mutual Insurance                                   Contingent
         175 Berkeley Street                                        Unliquidated
         Boston, MA 02166                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Insurance
         Last 4 digits of account number                            Account is Current
                                                                   Is the claim subject to offset?    No  Yes
3.17     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $23.95
         Montgomery Hardware                                        Contingent
         9110 E. Montgomery Ave                                     Unliquidated
         Spokane, WA 99206                                          Disputed
         Date(s) debt was incurred 12-19-2024
                                                                   Basis for the claim:
         Last 4 digits of account number 2342
                                                                   Is the claim subject to offset?    No  Yes



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Debtor      ROOME ENTERPIRSES, INC.                                                         Case number (if known)
            Name

3.18     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $0.00
         N&M Services LLC                                           Contingent
         14180 N. Spiral Trail                                      Unliquidated
         Rathdrum, ID 83858                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Lease
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.19     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $35.00
         Newport Alarm                                              Contingent
         204 W. Walnut St.                                          Unliquidated
         Newport, WA 99156                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.20     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $228.50
         Northwest Supply Company                                   Contingent
         P.O. Box 2131                                              Unliquidated
         Hayden, ID 83835                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.21     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $0.00
         Palms Specialty Insurance Co                               Contingent
         700 Universe Blvd.                                         Unliquidated
         North Palm Beach, FL 33408                                 Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Insurance
         Last 4 digits of account number                            Account is Current
                                                                   Is the claim subject to offset?    No  Yes
3.22     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $0.00
         Regence Blue Shield of Idaho                               Contingent
         1602 21st Avenue                                           Unliquidated
         Lewiston, ID 83501                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Medical Insurance
         Last 4 digits of account number                            Account is current
                                                                   Is the claim subject to offset?    No  Yes
3.23     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $20,470.94
         ServiceMaster Clean/Restore                                Contingent
          One Glenlake Parkway                                      Unliquidated
         14th Floor                                                 Disputed
         Atlanta, GA 30328
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.24     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $0.00
         Spectrum                                                   Contingent
         PO Box 60075                                               Unliquidated
         City of Industry, CA 91716-0074                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes



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Debtor       ROOME ENTERPIRSES, INC.                                                                Case number (if known)
             Name

3.25      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                  $292.88
          Staples                                                           Contingent
          500 Staples Drive                                                 Unliquidated
          Framingham, MA 01702                                              Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim:
          Last 4 digits of account number
                                                                           Is the claim subject to offset?    No  Yes
3.26      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                       $0.00
          Sunbelt Rentals                                                   Contingent
          573 N Idahline Rd                                                 Unliquidated
          Post Falls, ID 83854                                              Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim:
          Last 4 digits of account number
                                                                           Is the claim subject to offset?    No  Yes
3.27      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                  $375.00
          Verizon Connect                                                   Contingent
          5055 North Point Pkwy                                             Unliquidated
          Alpharetta, GA 30022                                              Disputed
          Date(s) debt was incurred 01-02-2025
                                                                           Basis for the claim:
          Last 4 digits of account number 5434
                                                                           Is the claim subject to offset?    No  Yes
3.28      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                  $967.16
          Verizon Wireless                                                  Contingent
          PO Box 660108                                                     Unliquidated
          Dallas, TX 75266-0108                                             Disputed
          Date(s) debt was incurred 01-002-2025
                                                                           Basis for the claim:
          Last 4 digits of account number 0001
                                                                           Is the claim subject to offset?    No  Yes
3.29      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                       $0.00
          Waste Management                                                  Contingent
          P.O. Box 3020                                                     Unliquidated
          Monroe, WI 53566                                                  Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim:
          Last 4 digits of account number
                                                                           Is the claim subject to offset?    No  Yes

Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                  On which line in Part1 or Part 2 is the        Last 4 digits of
                                                                                                    related creditor (if any) listed?              account number, if
                                                                                                                                                   any
4.1       Brian Davis
          14180 N. Spiral Ridge Trail                                                               Line     3.10
          Rathdrum, ID 83858
                                                                                                          Not listed. Explain

4.2       Charter Communications
          PO BOX 60074                                                                              Line     3.24
          City of Industry, CA 91716-0074
                                                                                                          Not listed. Explain




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Debtor      ROOME ENTERPIRSES, INC.                                                    Case number (if known)
            Name

          Name and mailing address                                                     On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                       related creditor (if any) listed?               account number, if
                                                                                                                                       any
4.3       Exbabylon IT Solutions
          204 W Walnut St. Suite C                                                     Line      3.19
          Newport, WA 99156
                                                                                             Not listed. Explain

4.4       Liberty Mutual Insurance
          175 Berkeley Street                                                          Line      3.1
          Boston, MA 02166
                                                                                             Not listed. Explain

4.5       Verizon Business
          PO Box 489                                                                   Line      3.28
          Newark, NJ 07101-0489
                                                                                             Not listed. Explain

4.6       WA State Dept of Revenue
          Attn: Bankruptcy Unit                                                        Line      2.3
          2101 4th Ave, Suite 1400
          Seattle, WA 98121                                                                  Not listed. Explain



Part 4:     Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                            Total of claim amounts
5a. Total claims from Part 1                                                               5a.          $                     27,729.98
5b. Total claims from Part 2                                                               5b.    +     $                    338,269.16

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                    5c.          $                      365,999.14




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 7 of 7
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Fill in this information to identify the case:

Debtor name        ROOME ENTERPIRSES, INC.

United States Bankruptcy Court for the:      DISTRICT OF IDAHO

Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                                  amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
       Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal            Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                     State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

2.1.         State what the contract or           Mitigation Job
             lease is for and the nature of       Construction &
             the debtor's interest                Restoration

                State the term remaining
                                                                                    A1 Construction
             List the contract number of any                                        6410 N Monroe
                   government contract                                              Spokane, WA 99208


2.2.         State what the contract or           Janitorial
             lease is for and the nature of
             the debtor's interest

                State the term remaining
                                                                                    ABF Frieght System
             List the contract number of any                                        400 N Sycamore St
                   government contract                                              Spokane, WA 99202


2.3.         State what the contract or           Commercial General
             lease is for and the nature of       Liability
             the debtor's interest                Palms Specialty
                                                  Insurance Co Inc
                                                  Hiscox
                                                  Liberty Mutual
                State the term remaining
                                                                                    Acrisure LLC / Dickinson Ins
             List the contract number of any                                        609 N Syringa Street
                   government contract                                              Post Falls, ID 83854


2.4.         State what the contract or           Janitorial
             lease is for and the nature of
             the debtor's interest

                State the term remaining
                                                                                    Advent Luthern Church
             List the contract number of any                                        13009 E Broadway
                   government contract                                              Spokane, WA 99216


Official Form 206G                         Schedule G: Executory Contracts and Unexpired Leases                                              Page 1 of 29
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Debtor 1 ROOME ENTERPIRSES, INC.                                                 Case number (if known)
          First Name         Middle Name           Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.5.      State what the contract or        Janitorial
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Agile Facility Solutions 701
          List the contract number of any                               405 W Neider Ave
                government contract                                     Coeur D Alene, ID 83815


2.6.      State what the contract or        Janitorial
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Agile Facility Solutions 702
          List the contract number of any                               210 W Cataldo Ave
                government contract                                     Spokane, WA 99201


2.7.      State what the contract or        Janitorial
          lease is for and the nature of
          the debtor's interest

             State the term remaining                                   Agile Facility Solutions 703
                                                                        11921 N Division St
          List the contract number of any                               Suite 300
                government contract                                     Spokane, WA 99218


2.8.      State what the contract or        Janitorial
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Agile Facility Solutions 704
          List the contract number of any                               12117 East Mission Ave
                government contract                                     Spokane Valley, WA 99206


2.9.      State what the contract or        Janitorial
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Allen Family Properties
          List the contract number of any                               319 W Hastings Rd
                government contract                                     Spokane, WA 99218




Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                              Page 2 of 29
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Debtor 1 ROOME ENTERPIRSES, INC.                                                 Case number (if known)
          First Name         Middle Name           Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.10.     State what the contract or        Janitorial
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Altium Packaging
          List the contract number of any                               3808 N Sullivan Rd, Bldg 8A
                government contract                                     Spokane, WA 99212


2.11.     State what the contract or        Mitigation Job
          lease is for and the nature of    Construction &
          the debtor's interest             Restoration

             State the term remaining
                                                                        AMCAPLA Mountain View Villag
          List the contract number of any                               393 Larkspur, Unit C
                government contract                                     Ponderay, ID 83852


2.12.     State what the contract or        Janitorial
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        ANDRITZ Hydro Corporation
          List the contract number of any                               157088 E Marietta Lane
                government contract                                     Spokane, WA 99216


2.13.     State what the contract or        Janitorial
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Area Agencyon Aging
          List the contract number of any                               402 W Canfield Ave, Suite 1
                government contract                                     Coeur D Alene, ID 83815


2.14.     State what the contract or        Janitorial
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Auto B Clean
          List the contract number of any                               17 N Ralph St
                government contract                                     Spokane, WA 99202




Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                              Page 3 of 29
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Debtor 1 ROOME ENTERPIRSES, INC.                                                 Case number (if known)
          First Name         Middle Name           Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.15.     State what the contract or        Janitorial
          lease is for and the nature of
          the debtor's interest

             State the term remaining                                   Bartlett Roofing
                                                                        12409 E Mirabeau Pkwy
          List the contract number of any                               Suite 300
                government contract                                     Spokane, WA 99216


2.16.     State what the contract or        Janitorial
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Bimbo Bakery
          List the contract number of any                               3372 Road L NE
                government contract                                     Moses Lake, WA 98837


2.17.     State what the contract or        Janitorial
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Bloch Liberty Lake, LLC
          List the contract number of any                               22425 E Appleway
                government contract                                     Liberty Lake, WA 99019


2.18.     State what the contract or        Non Compete
          lease is for and the nature of    Agreement
          the debtor's interest

             State the term remaining
                                                                        Brian Davis
          List the contract number of any                               14180 N Spiral Ridge Trail
                government contract                                     Rathdrum, ID 83858


2.19.     State what the contract or        Mitigation Job
          lease is for and the nature of    Construction &
          the debtor's interest             Restoration

             State the term remaining
                                                                        Carolynne Jameson
          List the contract number of any                               1608 5th Street
                government contract                                     Cheney, WA 99004




Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                              Page 4 of 29
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Debtor 1 ROOME ENTERPIRSES, INC.                                                 Case number (if known)
          First Name         Middle Name           Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.20.     State what the contract or        Janitorial
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        CDA Chamber of Commerce
          List the contract number of any                               105 N 1st Street
                government contract                                     Coeur D Alene, ID 83814


2.21.     State what the contract or        Janitorial
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        CDA Golf Club, Inc.
          List the contract number of any                               2321 Fairway Dr
                government contract                                     Coeur D Alene, ID 83815


2.22.     State what the contract or        Janitorial
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        CED
          List the contract number of any                               701 W Third Ave
                government contract                                     Moses Lake, WA 98837


2.23.     State what the contract or        Janitorial
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Charles Regalado
          List the contract number of any                               6817 N Cedar, Suite 202
                government contract                                     Spokane, WA 99208


2.24.     State what the contract or        Spectrum Business
          lease is for and the nature of    Internet & Phone
          the debtor's interest             services

             State the term remaining
                                                                        Charter Communications
          List the contract number of any                               PO BOX 60074
                government contract                                     City of Industry, CA 91716-0074




Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                              Page 5 of 29
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Debtor 1 ROOME ENTERPIRSES, INC.                                                 Case number (if known)
          First Name         Middle Name           Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.25.     State what the contract or        Janitorial
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Church ONE
          List the contract number of any                               15601 E 24th Ave
                government contract                                     Spokanne Valley, WA 99037


2.26.     State what the contract or        Janitorial
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Coer d'Alene Builders Supply
          List the contract number of any                               655 W Clayton Ave
                government contract                                     Coeur D Alene, ID 83815


2.27.     State what the contract or        Janitorial
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Coleman Oil
          List the contract number of any                               1725 N Dickey
                government contract                                     Spokane, WA 99212


2.28.     State what the contract or        Janitorial
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Continental Door Company
          List the contract number of any                               12718 E Indianna Ave
                government contract                                     Spokane, WA 99216


2.29.     State what the contract or        Janitorial
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Convoy Supply
          List the contract number of any                               3919 N Sullivan Rd
                government contract                                     Spokane, WA 99216




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Debtor 1 ROOME ENTERPIRSES, INC.                                                 Case number (if known)
          First Name         Middle Name           Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.30.     State what the contract or        Janitorial
          lease is for and the nature of
          the debtor's interest

             State the term remaining                                   Cooperative Supply, Inc/
                                                                        Cenex
          List the contract number of any                               5831 Government Way
                government contract                                     Coeur D Alene, ID 83814


2.31.     State what the contract or        Janitorial
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Corwin Ford of Spokane
          List the contract number of any                               8300 E Sprague
                government contract                                     Spokane, WA 99212


2.32.     State what the contract or        Mitigation Job
          lease is for and the nature of    Construction &
          the debtor's interest             Restoration

             State the term remaining
                                                                        Dorothy Powell
          List the contract number of any                               6218 9th Street
                government contract                                     Zephyrhills, FL 33542


2.33.     State what the contract or        Janitorial
          lease is for and the nature of
          the debtor's interest

             State the term remaining                                   EB Bradley
                                                                        11016 E Montgomery Dr.
          List the contract number of any                               Suite 104
                government contract                                     Spokane, WA 99206


2.34.     State what the contract or        Mitigation Job
          lease is for and the nature of    Construction &
          the debtor's interest             Restoration

             State the term remaining
                                                                        Edward & Margaret Fry
          List the contract number of any                               3434 N OConner Blvd
                government contract                                     Spokane, WA 99202




Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                              Page 7 of 29
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Debtor 1 ROOME ENTERPIRSES, INC.                                                 Case number (if known)
          First Name         Middle Name           Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.35.     State what the contract or        Mitigation Job
          lease is for and the nature of    Construction &
          the debtor's interest             Restoration

             State the term remaining
                                                                        Edward J & Susan L Gray
          List the contract number of any                               7319 E Rutter Ave
                government contract                                     Spokane, WA 99212


2.36.     State what the contract or        Janitorial
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Ellenbecker Eye Clinic
          List the contract number of any                               2020 W Riverstone Dr
                government contract                                     Coeur D Alene, ID 83814


2.37.     State what the contract or        Janitorial
          lease is for and the nature of
          the debtor's interest

             State the term remaining                                   EPIC Land Solutions
                                                                        12310 E Mirabeau Pkwy
          List the contract number of any                               Suite 150
                government contract                                     Spokane, WA 99216


2.38.     State what the contract or        Janitorial
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        EZ Loader Boat Trailers
          List the contract number of any                               717 N Hamilton St
                government contract                                     Spokane, WA 99202


2.39.     State what the contract or        Janitorial
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Fed Ex West
          List the contract number of any                               16621 E Euclid Ave
                government contract                                     Spokane, WA 99216




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Debtor 1 ROOME ENTERPIRSES, INC.                                                 Case number (if known)
          First Name         Middle Name           Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.40.     State what the contract or        Janitorial
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        FedEx Ground
          List the contract number of any                               4005 N Moore Rd
                government contract                                     Spokane, WA 99216


2.41.     State what the contract or        Janitorial
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Ferguson Enterprises, LLC 08
          List the contract number of any                               14778 E Indiana Ave
                government contract                                     Spokane Valley, WA 99216


2.42.     State what the contract or        Janitorial
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Ferguson Enterprises, LLC 37
          List the contract number of any                               2304 N Dollar Road
                government contract                                     Spokane, WA 99212


2.43.     State what the contract or        Janitorial
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        FiberTel LLC
          List the contract number of any                               14199 N Thayer Rd
                government contract                                     Rathdrum, ID 83858


2.44.     State what the contract or        Janitorial
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Franz Bakeries
          List the contract number of any                               5907 E 4th Ave
                government contract                                     Spokane, WA 99212




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Debtor 1 ROOME ENTERPIRSES, INC.                                                  Case number (if known)
          First Name         Middle Name           Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                            State the name and mailing address for all other parties with
                                                                      whom the debtor has an executory contract or unexpired
                                                                      lease

2.45.     State what the contract or        Janitorial
          lease is for and the nature of    0685, 0691, 0692, 0695,
          the debtor's interest             0697, 0698

             State the term remaining
                                                                          Fred's Appliance Corporate
          List the contract number of any                                 2525 N Monroe St
                government contract                                       Spokane, WA 99205


2.46.     State what the contract or        Janitorial
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                          Fulcrum Environmental Conslt
          List the contract number of any                                 207 W Boone Ave
                government contract                                       Spokane, WA 99201


2.47.     State what the contract or        401K
          lease is for and the nature of    ADOPTION
          the debtor's interest             AGREEMENT FOR
                                            GUIDANT FINANCIAL
                                            GROUP, INC.
                                            NON-STANDARDIZED
                                            DEFINED
                                            CONTRIBUTION
                                            PRE-APPROVED PLAN
             State the term remaining
                                                                          Guidant Financial Group
          List the contract number of any                                 2404 Bank Dr. Suite 310
                government contract                                       Boise, ID 83705


2.48.     State what the contract or        Janitorial
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                          H. James Magnuson
          List the contract number of any                                 1250 Northwood Center Court
                government contract                                       Coeur D Alene, ID 83814


2.49.     State what the contract or        Cyber and Data Risk
          lease is for and the nature of    Insurance
          the debtor's interest

             State the term remaining                                     Hiscox Insurance Co Inc.
                                                                          30 North LaSalle St.
          List the contract number of any                                 Suite 1760
                government contract                                       Chicago, IL 60602




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Debtor 1 ROOME ENTERPIRSES, INC.                                                 Case number (if known)
          First Name         Middle Name           Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.50.     State what the contract or        Janitorial
          lease is for and the nature of
          the debtor's interest

             State the term remaining                                   HRS Group Trust
                                                                        c/o Paycheck Connection
          List the contract number of any                               254 W Hanley Ave
                government contract                                     Coeur D Alene, ID 83815


2.51.     State what the contract or        Mitigation Job
          lease is for and the nature of    Construction &
          the debtor's interest             Restoration

             State the term remaining
                                                                        Janette Hall
          List the contract number of any                               304 N Greensferry Rd
                government contract                                     Post Falls, ID 83854


2.52.     State what the contract or        Non Compete
          lease is for and the nature of    Agreement
          the debtor's interest

             State the term remaining
                                                                        Jason McGeary
          List the contract number of any                               3411 W Pine Hill Dr
                government contract                                     Coeur D Alene, ID 83815


2.53.     State what the contract or        Janitorial
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Jordan Tractor
          List the contract number of any                               715 N Pleasant View Rd
                government contract                                     Post Falls, ID 83854


2.54.     State what the contract or        Mitigation Job
          lease is for and the nature of    Construction &
          the debtor's interest             Restoration

             State the term remaining
                                                                        Judith & Jerry Stark
          List the contract number of any                               6799 Clagstone Rd
                government contract                                     Athol, ID 83801




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Debtor 1 ROOME ENTERPIRSES, INC.                                                 Case number (if known)
          First Name         Middle Name           Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.55.     State what the contract or        Mitigation Job
          lease is for and the nature of    Construction &
          the debtor's interest             Restoration

             State the term remaining
                                                                        Kenneth Powell
          List the contract number of any                               3224 S Pines Rd
                government contract                                     Spokane, WA 99206


2.56.     State what the contract or        Janitorial
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Kimball Euipment Company
          List the contract number of any                               520 N Dyer Rd
                government contract                                     Spokane, WA 99212


2.57.     State what the contract or        Janitorial
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        King Beverage
          List the contract number of any                               789 N Central Dr
                government contract                                     Moses Lake, WA 98837


2.58.     State what the contract or        Janitorial
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        King Beverage, Inc
          List the contract number of any                               6715 E Missions Ave
                government contract                                     Spokane, WA 99212


2.59.     State what the contract or        Janitorial
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Legacy Heathing & Cooling- N
          List the contract number of any                               88 E Westview Ave
                government contract                                     Spokane, WA 99218




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Debtor 1 ROOME ENTERPIRSES, INC.                                                 Case number (if known)
          First Name         Middle Name           Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                           State the name and mailing address for all other parties with
                                                                     whom the debtor has an executory contract or unexpired
                                                                     lease

2.60.     State what the contract or        Janitorial
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                         Legacy Heating & Cooling
          List the contract number of any                                110 W Lions Way
                government contract                                      Hayden, ID 83835


2.61.     State what the contract or        Business Automobile
          lease is for and the nature of    Insurance
          the debtor's interest             Dickinson Insurance
                                            609 N Syringa St, Post
                                            Falls, ID 83854-6518
             State the term remaining
                                                                         Liberty Mutual Insurance
          List the contract number of any                                175 Berkeley Street
                government contract                                      Boston, MA 02166


2.62.     State what the contract or        Janitorial
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                         Limantzakis Properties
          List the contract number of any                                601 S Pioneer Way, Suite P
                government contract                                      Moses Lake, WA 98837


2.63.     State what the contract or        Janitorial
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                         Lincoln Hopsital District 66
          List the contract number of any                                550 E Broadway Ave
                government contract                                      Reardan, WA 99029


2.64.     State what the contract or        Janitorial
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                         Lincoln Hospital District 65
          List the contract number of any                                214 SW Main St
                government contract                                      Wilbur, WA 99185




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Debtor 1 ROOME ENTERPIRSES, INC.                                                 Case number (if known)
          First Name         Middle Name           Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.65.     State what the contract or        Janitorial
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Maddie's Place
          List the contract number of any                               1004 E 8th Ave
                government contract                                     Spokane, WA 99202


2.66.     State what the contract or        Janitorial
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Maul Foster Alongi
          List the contract number of any                               601 Front Ave, Suite 202
                government contract                                     Coeur D Alene, ID 83814


2.67.     State what the contract or        Mitigation Job
          lease is for and the nature of    Construction &
          the debtor's interest             Restoration

             State the term remaining
                                                                        Michael Gerhard
          List the contract number of any                               14411 E 23rd Ave
                government contract                                     Veradale, WA 99037


2.68.     State what the contract or        Mitigation Job x2
          lease is for and the nature of    Construction &
          the debtor's interest             Restoration

             State the term remaining
                                                                        Mike & Mary Duval
          List the contract number of any                               1525 E Skyview Ln
                government contract                                     Hayden, ID 83835


2.69.     State what the contract or        Mitigation Job
          lease is for and the nature of    Construction &
          the debtor's interest             Restoration

             State the term remaining
                                                                        Miles Teller
          List the contract number of any                               6467 S Gozzer Rd
                government contract                                     Harrison, ID 83833




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Debtor 1 ROOME ENTERPIRSES, INC.                                                 Case number (if known)
          First Name         Middle Name           Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.70.     State what the contract or        Janitorial
          lease is for and the nature of
          the debtor's interest

             State the term remaining                                   Montgomery Realty, LLC
                                                                        c/o Leavitt Capital Co
          List the contract number of any                               11016 E Montgomery Dr.
                government contract                                     Spokane, WA 99206


2.71.     State what the contract or        5974 W Seltice Way,
          lease is for and the nature of    Post Falls, ID 83854
          the debtor's interest

             State the term remaining
                                                                        N&M Services LLC
          List the contract number of any                               14180 N Spiral Ridge Trail
                government contract                                     Rathdrum, ID 83858


2.72.     State what the contract or        Janitorial
          lease is for and the nature of
          the debtor's interest

             State the term remaining                                   Nabrisco Brands/Mondelez/
                                                                        A. Anthony Corp.
          List the contract number of any                               412 N Haven
                government contract                                     Spokane, WA 99202


2.73.     State what the contract or        Janitorial
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        NAI Black-CDA
          List the contract number of any                               105 N 1st Street, Suite 300
                government contract                                     Coeur D Alene, ID 83814


2.74.     State what the contract or        Janitorial
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Norco CDA
          List the contract number of any                               206 W Ironwood Dr, Suite F
                government contract                                     Coeur D Alene, ID 83814




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Debtor 1 ROOME ENTERPIRSES, INC.                                                 Case number (if known)
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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.75.     State what the contract or        Janitorial
          lease is for and the nature of
          the debtor's interest

             State the term remaining                                   Norco- Spokanne Valley
                                                                        12610 E Mirabeau Pkwy,
          List the contract number of any                               Suite 500
                government contract                                     Spokane, WA 99216


2.76.     State what the contract or        Janitorial
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Norhwest Dematology
          List the contract number of any                               757 E Holland
                government contract                                     Spokane, WA 99218


2.77.     State what the contract or        Janitorial
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        North Idaho College- Rec Cen
          List the contract number of any                               1000 W Garden Ave
                government contract                                     Coeur D Alene, ID 83814


2.78.     State what the contract or        Janitorial
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        North Idaho Eye Institute 18
          List the contract number of any                               8379 N Government Way
                government contract                                     Hayden, ID 83835


2.79.     State what the contract or        Janitorial
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        North Idaho Eye Institute 26
          List the contract number of any                               1901 E Seltice Way
                government contract                                     Post Falls, ID 83854




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Debtor 1 ROOME ENTERPIRSES, INC.                                                 Case number (if known)
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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.80.     State what the contract or        Janitorial
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        North Kootenai Water & Sewer
          List the contract number of any                               13649 N Meyer Rd
                government contract                                     Rathdrum, ID 83858


2.81.     State what the contract or        Janitorial
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        NW Trailer Center
          List the contract number of any                               P.O. Box 11096
                government contract                                     Spokane, WA 99211


2.82.     State what the contract or        Janitorial
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        On Trac
          List the contract number of any                               4310 S Grove Rd
                government contract                                     Spokane, WA 99224


2.83.     State what the contract or        Janitorial
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        ONE - North
          List the contract number of any                               6311 E Mt Spokane Park Drive
                government contract                                     Mead, WA 99021


2.84.     State what the contract or        Janitorial
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Out Front Media
          List the contract number of any                               15320 E Marietta, Suite 2
                government contract                                     Spokane Valley, WA 99206




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          First Name         Middle Name           Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.85.     State what the contract or        Janitorial
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        OXARC
          List the contract number of any                               1500 E Wheeler Rd
                government contract                                     Moses Lake, WA 98837


2.86.     State what the contract or        Excess Policy
          lease is for and the nature of
          the debtor's interest

             State the term remaining                                   Palms Specialty Insurance Co
                                                                        Attn: Gallagher Basset
          List the contract number of any                               PO Box 2934
                government contract                                     Clinton, IA 52733-2394


2.87.     State what the contract or        General Liability
          lease is for and the nature of    Insurance
          the debtor's interest             00364

             State the term remaining
                                                                        Palms Specialty Insurance Co
          List the contract number of any                               700 Universe Blvd.
                government contract                                     Juno Beach, FL 33408


2.88.     State what the contract or        Janitorial
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Pass Word (Sound Telecom)
          List the contract number of any                               1303 W 1st Ave
                government contract                                     Spokane, WA 99201


2.89.     State what the contract or        Mitigation Job
          lease is for and the nature of    Construction &
          the debtor's interest             Restoration

             State the term remaining
                                                                        Perrine Court Apartments
          List the contract number of any                               1191 E Mansfield Ave
                government contract                                     Spokane, WA 99206




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Debtor 1 ROOME ENTERPIRSES, INC.                                                 Case number (if known)
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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.90.     State what the contract or        Janitorial
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Pinecroft LLC 01
          List the contract number of any                               3309 Cherry St
                government contract                                     Spokane Valley, WA 99216


2.91.     State what the contract or        Janitorial
          lease is for and the nature of
          the debtor's interest

             State the term remaining                                   Pinecroft LLC 011
                                                                        12709 E Mirabeau Pkwy
          List the contract number of any                               Suite 30
                government contract                                     Spokane Valley, WA 99216


2.92.     State what the contract or        Janitorial
          lease is for and the nature of
          the debtor's interest

             State the term remaining                                   Pinecroft LLC 013
                                                                        12709 E Mirabeau Pkwy
          List the contract number of any                               Suite 10
                government contract                                     Spokane Valley, WA 99216


2.93.     State what the contract or        Janitorial
          lease is for and the nature of
          the debtor's interest

             State the term remaining                                   Pinecroft LLC 02
                                                                        12409 E Mirabeau Pkwy
          List the contract number of any                               Suite 100
                government contract                                     Spokane Valley, WA 99216


2.94.     State what the contract or        Janitorial
          lease is for and the nature of
          the debtor's interest

             State the term remaining                                   Pinecroft LLC 03
                                                                        12709 E Mirabeau Pkwy
          List the contract number of any                               Suite 20
                government contract                                     Spokane Valley, WA 99216




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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.95.     State what the contract or        Janitorial
          lease is for and the nature of
          the debtor's interest

             State the term remaining                                   Pinecroft LLC 04
                                                                        12509 E Mirabeau Pkwy
          List the contract number of any                               Bldg 4
                government contract                                     Spokane Valley, WA 99216


2.96.     State what the contract or        Janitorial
          lease is for and the nature of
          the debtor's interest

             State the term remaining                                   Pinecroft LLC 05
                                                                        12409 E Mirabeau Pkwy
          List the contract number of any                               Bldg 8
                government contract                                     Spokane Valley, WA 99216


2.97.     State what the contract or        Janitorial
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Pinecroft LLC 06
          List the contract number of any                               112939 E Pinecroft Way
                government contract                                     Spokane Valley, WA 99216


2.98.     State what the contract or        Janitorial
          lease is for and the nature of
          the debtor's interest

             State the term remaining                                   Pinecroft LLC 07
                                                                        12939 E Pinecroft Way
          List the contract number of any                               Suite 200
                government contract                                     Spokane Valley, WA 99216


2.99.     State what the contract or        Janitorial
          lease is for and the nature of
          the debtor's interest

             State the term remaining                                   PineCroft LLC 08
                                                                        12709 E Mirabeau Pkwy
          List the contract number of any                               Bldg 13
                government contract                                     Spokane Valley, WA 99216




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Debtor 1 ROOME ENTERPIRSES, INC.                                                 Case number (if known)
          First Name         Middle Name           Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.100.    State what the contract or        Janitorial
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Post Falls ER & Hospital
          List the contract number of any                               497 S Beck Rd
                government contract                                     Post Falls, ID 83854


2.101.    State what the contract or        Janitorial
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Post Falls Vokswagen
          List the contract number of any                               811 N Greensferry Rd
                government contract                                     Post Falls, ID 83854


2.102.    State what the contract or        Janitorial
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Providence Moses Lake
          List the contract number of any                               821 E Broadway, Suite 5
                government contract                                     Moses Lake, WA 98837


2.103.    State what the contract or        Health Care
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Regence Blue Shield of Idaho
          List the contract number of any                               1602 21st Avenue
                government contract                                     Lewiston, ID 83501


2.104.    State what the contract or        Janitorial
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Renewal by Andersen
          List the contract number of any                               10914 E Montgomery
                government contract                                     Spokane, WA 99206




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Debtor 1 ROOME ENTERPIRSES, INC.                                                 Case number (if known)
          First Name         Middle Name           Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.105.    State what the contract or        Mitigation Job x2
          lease is for and the nature of    Construction &
          the debtor's interest             Restoration

             State the term remaining
                                                                        Robyn Brandstrom
          List the contract number of any                               4017 E Pratt Ave
                government contract                                     Spokane, WA 99202


2.106.    State what the contract or        Janitorial
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Safelite (Northside)
          List the contract number of any                               7777 N Division St
                government contract                                     Spokane, WA 99208


2.107.    State what the contract or        Janitorial
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Safelite Auto Glass
          List the contract number of any                               16311 E Euclid Ave, Suite D
                government contract                                     Spokane Valley, WA 99216


2.108.    State what the contract or        Janitorial
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        SAIA
          List the contract number of any                               111 N Ella Rd
                government contract                                     Spokane, WA 99212


2.109.    State what the contract or        Janitorial
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Sandis Civil Engineers
          List the contract number of any                               708 N Argonne Rd, Suite 5
                government contract                                     Spokane, WA 99212




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          First Name         Middle Name           Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.110.    State what the contract or        Janitorial
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        SEL
          List the contract number of any                               13518 E Indiana Ave
                government contract                                     Spokane, WA 99216


2.111.    State what the contract or        Franchise Agreements
          lease is for and the nature of    License #'s:
          the debtor's interest             10959
                                            10960
                                            10961
                                            10962
                                            10963
                                            10964
                                            11070
             State the term remaining                                   ServiceMaster Clean/Restore
                                                                         One Glenlake Parkway
          List the contract number of any                               14th Floor
                government contract                                     Atlanta, GA 30328


2.112.    State what the contract or        Janitorial
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Silverlake Automotive 819
          List the contract number of any                               1603 E Sherman Ave
                government contract                                     Coeur D Alene, ID 83814


2.113.    State what the contract or        Janitorial
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Silverlake Automotive 820
          List the contract number of any                               3380 E Mullan Ave
                government contract                                     Post Falls, ID 83854


2.114.    State what the contract or        Janitorial
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Silverlake Automotive 821
          List the contract number of any                               274 W Hanley Ave
                government contract                                     Coeur D Alene, ID 83815




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Debtor 1 ROOME ENTERPIRSES, INC.                                                 Case number (if known)
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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.115.    State what the contract or        Janitorial
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Silverlake Automotive 835
          List the contract number of any                               7083 Main St
                government contract                                     Rathdrum, ID 83858


2.116.    State what the contract or        Janitorial
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Sound Telecom
          List the contract number of any                               524 W Indian Ave
                government contract                                     Spokane, WA 99205


2.117.    State what the contract or        Janitorial
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Spokane Packaging
          List the contract number of any                               3808 N Sullivan Rd, Bldg. 21
                government contract                                     Spokane, WA 99216


2.118.    State what the contract or        Janitorial
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Sunflower Bank
          List the contract number of any                               239 W Main Street
                government contract                                     Spokane, WA 99206


2.119.    State what the contract or        Janitorial
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Tapmatic
          List the contract number of any                               802 Clearwater Loop
                government contract                                     Post Falls, ID 83854




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Debtor 1 ROOME ENTERPIRSES, INC.                                                 Case number (if known)
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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.120.    State what the contract or        Janitorial
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Terminix
          List the contract number of any                               15320 E Marietta, Suite 7
                government contract                                     Spokane, WA 99216


2.121.    State what the contract or        Janitorial
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        The Center for Oral Surgery
          List the contract number of any                               322 W 7th Ave
                government contract                                     Spokane, WA 99204


2.122.    State what the contract or        Janitorial
          lease is for and the nature of
          the debtor's interest

             State the term remaining                                   Therapeutic Dimensions
                                                                        Allen Family Properties
          List the contract number of any                               319 W Hastings Rd
                government contract                                     Spokane, WA 99218


2.123.    State what the contract or        Janitorial
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Thompson's Custom Orthotics
          List the contract number of any                               401 S Sherman Ave
                government contract                                     Spokane, WA 99202


2.124.    State what the contract or        Janitorial
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        TopCon Solutions
          List the contract number of any                               1627 W Trent Ave
                government contract                                     Spokane, WA 99202




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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.125.    State what the contract or        Janitorial
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        TruGreen
          List the contract number of any                               225 N Ella Rd
                government contract                                     Spokane, WA 99212


2.126.    State what the contract or        Janitorial
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Utility Trailer Sales #2
          List the contract number of any                               10401 W Westbow Blvd
                government contract                                     Spokane, WA 99224


2.127.    State what the contract or        Janitorial
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        VCA Animal Hospitals 807
          List the contract number of any                               1704 E Seltice Way
                government contract                                     Post Falls, ID 83854


2.128.    State what the contract or        Janitorial
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        VCA Animal Hospitals 813
          List the contract number of any                               310 N Herborn Place
                government contract                                     Post Falls, ID 83854


2.129.    State what the contract or        Janitorial
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        VCA Animal Hospitals 817
          List the contract number of any                               25007 E Wellesley Ave
                government contract                                     Otis Orchards, WA 99207




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Debtor 1 ROOME ENTERPIRSES, INC.                                                 Case number (if known)
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.130.    State what the contract or        Janitorial
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Vega Cloud
          List the contract number of any                               2780 N Eagle Ln
                government contract                                     Liberty Lake, WA 99019


2.131.    State what the contract or        Janitorial
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        VES Spokane- MAXIMUS
          List the contract number of any                               12509 Mirabeau Pkwy
                government contract                                     Spokane, WA 99212


2.132.    State what the contract or        Janitorial
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Visionary Communications Inc
          List the contract number of any                               118 N Stevens
                government contract                                     Spokane, WA 99201


2.133.    State what the contract or        Mitigation Job
          lease is for and the nature of    Construction &
          the debtor's interest             Restoration

             State the term remaining
                                                                        Vitalant
          List the contract number of any                               210 W Cataldo Ave
                government contract                                     Spokane, WA 99201


2.134.    State what the contract or        Janitorial
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Western States Catepillar 09
          List the contract number of any                               10780 N Hwy 95
                government contract                                     Hayden, ID 83835




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Debtor 1 ROOME ENTERPIRSES, INC.                                                 Case number (if known)
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.135.    State what the contract or        Janitorial
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Western States Catepillar 15
          List the contract number of any                               1725 N Waterworks St
                government contract                                     Spokane, WA 99212


2.136.    State what the contract or        Janitorial
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Western States Catepillar 24
          List the contract number of any                               468215 US HWY 95
                government contract                                     Sagle, ID 83860


2.137.    State what the contract or        Janitorial
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Wheatland Bank-Wilbur
          List the contract number of any                               8 NE Main Avenue
                government contract                                     Wilbur, WA 99185


2.138.    State what the contract or        Janitorial
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Whitworth Church
          List the contract number of any                               312 W Hawthorne Rd
                government contract                                     Spokane, WA 99218


2.139.    State what the contract or        Janitorial
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Wildfire Defense Systems,Inc
          List the contract number of any                               888 S Loscha St
                government contract                                     Post Falls, ID 83854




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Debtor 1 ROOME ENTERPIRSES, INC.                                                 Case number (if known)
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.140.    State what the contract or        Janitorial
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Wilson Construction Company
          List the contract number of any                               4510 South Ben Franklin Lane
                government contract                                     Spokane, WA 99224


2.141.    State what the contract or        Janitorial
          lease is for and the nature of
          the debtor's interest

             State the term remaining                                   World Wide
                                                                        11724 E Montgomery
          List the contract number of any                               Bldg D7-9
                government contract                                     Spokane, WA 99206




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Fill in this information to identify the case:

Debtor name      ROOME ENTERPIRSES, INC.

United States Bankruptcy Court for the:   DISTRICT OF IDAHO

Case number (if known)
                                                                                                                          Check if this is an
                                                                                                                              amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

 No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
 Yes
  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                          Name                            Check all schedules
                                                                                                                               that apply:

   2.1    Adolphe Roome               23207 E. Valleyway Ave                                   First Bank of the               D       2.1
                                      Liberty Lake, WA 99019                                   Lake                             E/F
                                                                                                                               G



   2.2    Adolphe Roome               23207 E. Valleyway Ave                                   Kalamata Capitol                D       2.7
                                      Liberty Lake, WA 99019                                   Group                            E/F
                                                                                                                               G



   2.3    Adolphe Roome               23207 E. Valleyway Ave                                   GM Financial                    D       2.5
                                      Liberty Lake, WA 99019                                                                    E/F
                                                                                                                               G



   2.4    Adolphe Roome               23207 E. Valleyway Ave                                   GM Financial                    D       2.4
                                      Liberty Lake, WA 99019                                                                    E/F
                                                                                                                               G



   2.5    Adolphe Roome               23207 E. Valleyway Ave                                   ServiceMaster                   D
                                      Liberty Lake, WA 99019                                   Clean/Restore                    E/F        3.23
                                                                                                                               G



Official Form 206H                                                    Schedule H: Your Codebtors                                            Page 1 of 2
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Debtor    ROOME ENTERPIRSES, INC.                                                 Case number (if known)



         Additional Page to List More Codebtors
         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
          Column 1: Codebtor                                                          Column 2: Creditor



  2.6     Adolphe Roome            23207 E. Valleyway Ave                              American Express             D
                                   Liberty Lake, WA 99019                                                            E/F   3.4
                                                                                                                    G



  2.7     Adolphe Roome            23207 E. Valleyway Ave                              Captiol One                  D
                                   Liberty Lake, WA 99019                                                            E/F   3.6
                                                                                                                    G




Official Form 206H                                              Schedule H: Your Codebtors                                  Page 2 of 2
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Fill in this information to identify the case:

Debtor name         ROOME ENTERPIRSES, INC.

United States Bankruptcy Court for the:    DISTRICT OF IDAHO

Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                                  amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                              04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

Part 1:     Income

1. Gross revenue from business

      None.
      Identify the beginning and ending dates of the debtor’s fiscal year,            Sources of revenue                          Gross revenue
      which may be a calendar year                                                    Check all that apply                        (before deductions and
                                                                                                                                  exclusions)

      For prior year:                                                                  Operating a business                              $4,333,532.01
      From 1/01/2024 to 12/31/2024
                                                                                       Other


      For year before that:                                                            Operating a business                              $4,205,374.00
      From 1/01/2023 to 12/31/2023
                                                                                       Other


      For the fiscal year:                                                             Operating a business                              $2,174,841.00
      From 1/01/2022 to 12/31/2022
                                                                                       Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

      None.
                                                                                      Description of sources of revenue           Gross revenue from
                                                                                                                                  each source
                                                                                                                                  (before deductions and
                                                                                                                                  exclusions)

Part 2:     List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

      None.
      Creditor's Name and Address                                 Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                      Check all that apply




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Debtor       ROOME ENTERPIRSES, INC.                                                            Case number (if known)



      Creditor's Name and Address                                  Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                       Check all that apply
      3.1.
             See Attachment 3.1- List of Payments                                                          $0.00        Secured debt
                                                                                                                        Unsecured loan repayments
                                                                                                                        Suppliers or vendors
                                                                                                                        Services
                                                                                                                        Other


4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
   may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

      None.
      Insider's name and address                                   Dates                 Total amount of value         Reasons for payment or transfer
      Relationship to debtor
      4.1.   ServiceMaster Clean/Restore                           Monthly                         $364,524.98         Royalty payments; guaranteed
             One Glenlake Parkway                                  throughout                                          by Adolphe Roome
             14th Floor                                            2024
             Atlanta, GA 30328
             Franchisor

      4.2.   First Bank of the Lake                                Monthly                         $349,809.01         Loan payments; guaranteed by
             4558 Osage Beach Parkway                              througout                                           Adolphe Roome
             Ste. 100                                              2024
             Osage Beach, MO 65065
             SBA Lender

      4.3.   Diversity Services LLC                                Monthly                          $63,532.44         Seller carryback note for
             14180 N. Spiral Ridge Trail                           throughout                                          franchise purchase; guarateed
             Rathdrum, ID 83858                                    2024                                                by Adolphe Roome
             Lender

      4.4.   Kalamata Capitol Group                                Weekly from                     $353,496.20         Loan payments; guaranteed by
             1 Blue Hill Plaza                                     Jan 2024                                            Adolphe Roome
             Lobby Level #1509                                     through end
             Pearl River, NY 10965                                 of Nov 2024
             A/R lender

      4.5.   Capital One                                           Monthly                         $205,462.43         Business purchases on credit
             PO Box 60599                                          throughout                                          line; guaranteed by Adolphe
             City of Industry, CA 91716                            2024                                                Roome
             Business credit card provider

      4.6.   American Express                                      Monthly from                     $71,346.06         Business purchases on credit
             P.O. Box 981535                                       April 2024 to                                       line; guaranteed by Adolphe
             El Paso, TX 79998                                     December                                            Roome
             Business credit card provider                         2024

      4.7.   GM Financial                                          Monthly                          $22,868.94         Multiple loans for business
             P.O. Box 78143                                        throughout                                          vehicles; guaranteed or
             Phoenix, AZ 85062-8143                                2024                                                co-signed by Adolphe Roome
             Lender on business vehicles

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.




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Debtor       ROOME ENTERPIRSES, INC.                                                              Case number (if known)



      None
      Creditor's name and address                      Describe of the Property                                        Date                 Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

      None
      Creditor's name and address                      Description of the action creditor took                         Date action was                Amount
                                                                                                                       taken

Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

      None.
             Case title                                Nature of case               Court or agency's name and                Status of case
             Case number                                                            address
      7.1.   Kalamata Capital Group LLC                                             Supreme Court of New York                  Pending
             v. Roome Enterprises, Inc. et                                          99 Exchange Blvd. #545                     On appeal
             al.                                                                    Rochester, NY 14614
                                                                                                                               Concluded
             202412120540

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

      None

Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

      None
             Recipient's name and address              Description of the gifts or contributions                  Dates given                            Value


Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

      None
      Description of the property lost and             Amount of payments received for the loss                   Dates of loss             Value of property
      how the loss occurred                                                                                                                              lost
                                                       If you have received payments to cover the loss, for
                                                       example, from insurance, government compensation, or
                                                       tort liability, list the total received.

                                                       List unpaid claims on Official Form 106A/B (Schedule
                                                       A/B: Assets – Real and Personal Property).

Part 6:      Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.
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Debtor        ROOME ENTERPIRSES, INC.                                                           Case number (if known)




      None.
                Who was paid or who received              If not money, describe any property transferred              Dates                Total amount or
                the transfer?                                                                                                                        value
                Address
      11.1.     Grimshaw Law Group PC
                800 W Main Street, Ste. 1400
                Boise, ID 83702                                                                                        Dec 2024                 $30,000.00

                Email or website address


                Who made the payment, if not debtor?
                Adolphe Roome - treated as capital
                contribution



12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

      None.
      Name of trust or device                             Describe any property transferred                   Dates transfers               Total amount or
                                                                                                              were made                              value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

      None.
              Who received transfer?                   Description of property transferred or                    Date transfer              Total amount or
              Address                                  payments received or debts paid in exchange               was made                            value

 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


      Does not apply
                Address                                                                                            Dates of occupancy
                                                                                                                   From-To

Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

          No. Go to Part 9.
      Yes. Fill in the information below.

                Facility name and address              Nature of the business operation, including type of services               If debtor provides meals
                                                       the debtor provides                                                        and housing, number of
                                                                                                                                  patients in debtor’s care

Part 9:       Personally Identifiable Information


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Debtor        ROOME ENTERPIRSES, INC.                                                            Case number (if known)



16. Does the debtor collect and retain personally identifiable information of customers?

          No.
      Yes. State the nature of the information collected and retained.
17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

          No. Go to Part 10.
      Yes. Does the debtor serve as plan administrator?

Part 10:      Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

      None
               Financial Institution name and           Last 4 digits of           Type of account or          Date account was                  Last balance
               Address                                  account number             instrument                  closed, sold,                 before closing or
                                                                                                               moved, or                              transfer
                                                                                                               transferred
      18.1.    US Bank                                  XXXX-6789                   Checking                  12/31/24                                  $77.33
               P.O. Box 1800                                                        Savings
               Saint Paul, MN 55101-0800
                                                                                    Money Market
                                                                                    Brokerage
                                                                                    Other

      18.2.    US Bank                                  XXXX-6493                   Checking                  12/31/24                                    $5.00
               P.O. Box 1800                                                        Savings
               Saint Paul, MN 55101-0800
                                                                                    Money Market
                                                                                    Brokerage
                                                                                    Other

      18.3.    US Bank                                  XXXX-9849                   Checking                  6/5/24                                  $553.15
               P.O. Box 1800                                                        Savings
               Saint Paul, MN 55101-0800                                            Money Market
                                                                                    Brokerage
                                                                                    Other

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


      None
      Depository institution name and address                Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?
                                                             Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.




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Debtor      ROOME ENTERPIRSES, INC.                                                             Case number (if known)




      None
      Facility name and address                             Names of anyone with                  Description of the contents             Does debtor
                                                            access to it                                                                  still have it?


Part 11:    Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

     None
      Owner's name and address                              Location of the property              Describe the property                               Value
      ServiceMaster Clean/Restore                           5974 W. Seltice Way                   Franchisor's intellectual                     Unknown
      One Glenlake Parkway                                  Post Falls, ID 83854                  property used with
      14th Floor                                                                                  permission under franchise
      Atlanta, GA 30328                                                                           agreements

      Owner's name and address                              Location of the property              Describe the property                               Value
      Adam Hicks                                            5974 W. Seltice Way                   Debtor was hired to repair a                  Unknown
      1702 E. Gilbert Ave                                   Post Falls, ID 83854                  damaged home. The owner's
      Coeur D Alene, ID 83815                                                                     furniture, clothing, bedding,
                                                                                                  electronics, and household
                                                                                                  items from the damaged
                                                                                                  portion of owner's home is
                                                                                                  being stored while repairs are
                                                                                                  done.

      Owner's name and address                              Location of the property              Describe the property                               Value
      Oscar Wright                                          5974 W. Seltice Way                   Debtor was hired to repair a                  Unknown
      1215 W. Settlement Rd                                 Post Falls, ID 83854                  damaged home. The owner's
      Priest River, ID 83856                                                                      furniture, clothing, bedding,
                                                                                                  electronics, and household
                                                                                                  items from the damaged
                                                                                                  portion of owner's home is
                                                                                                  being stored while repairs are
                                                                                                  done.

      Owner's name and address                              Location of the property              Describe the property                               Value
      Kenneth Powell                                        5974 W. Seltice Way                   Debtor was hired to repair a                  Unknown
      3224 S. Pines Rd.                                     Post Falls, ID 83854                  damaged home. The owner's
      Spokane Valley, WA 99206                                                                    furniture, clothing, bedding,
                                                                                                  electronics, and household
                                                                                                  items from the damaged
                                                                                                  portion of owner's home is
                                                                                                  being stored while repairs are
                                                                                                  done.

      Owner's name and address                              Location of the property              Describe the property                               Value
      Ronnie Johnson                                        5974 W. Seltice Way                   Debtor was hired to repair a                  Unknown
      1506 E. Fruitdale Ave.                                Post Falls, ID 83854                  damaged home. The owner's
      Coeur D Alene, ID 83815                                                                     furniture, clothing, bedding,
                                                                                                  electronics, and household
                                                                                                  items from the damaged
                                                                                                  portion of owner's home is
                                                                                                  being stored while repairs are
                                                                                                  done.


Part 12:    Details About Environment Information

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Debtor      ROOME ENTERPIRSES, INC.                                                             Case number (if known)



For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.

     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
     similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

          No.
      Yes. Provide details below.
      Case title                                            Court or agency name and              Nature of the case                            Status of case
      Case number                                           address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

          No.
      Yes. Provide details below.
      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

24. Has the debtor notified any governmental unit of any release of hazardous material?

          No.
      Yes. Provide details below.
      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

Part 13:    Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

      None
   Business name address                             Describe the nature of the business               Employer Identification number
                                                                                                       Do not include Social Security number or ITIN.

                                                                                                       Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
          None
      Name and address                                                                                                                 Date of service
                                                                                                                                       From-To
      26a.1.        Van Buren & Assoc                                                                                                  2023
                    1536 W. 25th St., Ste. K
                    San Pedro, CA 90732
      26a.2.        Guidant Financial Group                                                                                            2022
                    2404 Bank Dr., Ste. 310
                    Boise, ID 83705

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

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Debtor      ROOME ENTERPIRSES, INC.                                                             Case number (if known)



           None

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

           None
      Name and address                                                                               If any books of account and records are
                                                                                                     unavailable, explain why
      26c.1.        Adolphe Roome
                    5974 W. Seltice Way
                    Post Falls, ID 83854

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

           None
      Name and address
      26d.1.  Kalamata Capitol Group
                    1 Blue Hill Plaza
                    Lobby Level #1509
                    Pearl River, NY 10965
      26d.2.        GM Financial
                    PO BOX 78143
                    Phoenix, AZ 85062-8143
      26d.3.        Ford Credit
                    P.O. BOX 650575
                    Dallas, TX 75265-0575
      26d.4.        ServiceMaster Clean/Restore
                    One Glenlake Parkway
                    14th Floor
                    Atlanta, GA 30328

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

          No
      Yes. Give the details about the two most recent inventories.
               Name of the person who supervised the taking of the                  Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                     or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

      Name                                    Address                                             Position and nature of any                % of interest, if
                                                                                                  interest                                  any
      Adolphe Roome                           5974 W. Seltice Way                                 President                                 21.3%
                                              Post Falls, ID 83854                                Shareholder

      Name                                    Address                                             Position and nature of any                % of interest, if
                                                                                                  interest                                  any
      Roome Enterprises 401K                  5974 W Seltice Way                                  Majority Shareholder                      78.7%
      Plan                                    Post Falls, ID 83854



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


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Debtor      ROOME ENTERPIRSES, INC.                                                            Case number (if known)




          No
      Yes. Identify below.

30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

      No
          Yes. Identify below.

             Name and address of recipient            Amount of money or description and value of               Dates               Reason for
                                                      property                                                                      providing the value
      30.1                                                                                                      Paid twice per
      .    Adolphe Roome                                                                                        month Jan
             23207 E. Valleyway Ave                                                                             2024 through
             Liberty Lake, WA 99019                   $125,750                                                  Jan 2025            Salary; full-time

             Relationship to debtor
             Owner


      30.2                                                                                                      Paid twice per
      .    Meagan Roome                                                                                         month Jan
             23207 E. Valleyway Ave                                                                             2024 through
             Liberty Lake, WA 99019                   $57,500                                                   Jan 2025            Salary; full-time

             Relationship to debtor
             Owner's spouse


      30.3                                                                                                      Paid twice per
      .    Kaylee Roome                                                                                         month Jan
             23207 E. Valleyway Ave                                                                             2024 through        Hourly; part-time
             Liberty Lake, WA 99019                   $11,172.32                                                Dec 9, 2024         work

             Relationship to debtor
             Owner's daughter


      30.4                                                                                                      Paid twice per
      .    Maizee Roome                                                                                         month Sept
             23207 E. Valleyway Ave                                                                             2024 though         Hourly; part-time
             Liberty Lake, WA 99019                   $2,676.74                                                 Dec 9, 2024         work

             Relationship to debtor
             Owner's daughter


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

          No
      Yes. Identify below.
   Name of the parent corporation                                                                     Employer Identification number of the parent
                                                                                                      corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

          No
      Yes. Identify below.
   Name of the pension fund                                                                           Employer Identification number of the pension
                                                                                                      fund


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Debtor      ROOME ENTERPIRSES, INC.                                                             Case number (if known)



Part 14:    Signature and Declaration

     WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
     connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
     18 U.S.C. §§ 152, 1341, 1519, and 3571.

     I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
     and correct.

     I declare under penalty of perjury that the foregoing is true and correct.

Executed on         January 14, 2025

/s/ Adolphe R Roome                                             Adolphe R Roome
Signature of individual signing on behalf of the debtor         Printed name

Position or relationship to debtor   Owner/President

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
 No
 Yes




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                                       Attachment 3.1- List of Payments
                         ServiceMaster Cleaning & Restoration by Roome
                                                    Bills and Applied Payments
                                                   October 1, 2024 - January 9, 2025
DATE            TRANSACTION TYPE                 MEMO/DESCRIPTION                         NUM                      AMOUNT
A to Z Rental
 01/08/2025     Bill Payment (Check)                                                      3261                       -242.21
 12/14/2024     Bill                                                                      582914-6                   242.21


Ace Hardware - Sprague
 12/09/2024     Bill Payment (Credit Card)                                                                            -47.94
 12/09/2024     Bill                                                                                                  47.94


Adobe
 10/21/2024     Bill Payment (Credit Card)                                                                            -52.25
 10/19/2024     Bill                                                                      2906220858                  52.25
 11/20/2024     Bill Payment (Credit Card)                                                                            -52.25
 11/19/2024     Bill                                                                      2934350780                  52.25
 12/20/2024     Bill Payment (Credit Card)                                                                            -47.98
 12/19/2024     Bill                                                                      2926540485                  47.98


Adolphe Roome-Reimbursement
 12/31/2024     Bill Payment (Credit Card)                                                1
 11/01/2024     Bill                                                                                                3,098.00
 12/31/2024     Journal Entry                    Stock in lieu of expense reimbursement   2291                 -42,235.56
 10/24/2024     Bill                                                                                                  17.10
 10/22/2024     Bill                                                                                                1,635.49
 10/19/2024     Bill                                                                                                 145.60
 10/13/2024     Bill                                                                      955008348                  106.35
 10/13/2024     Bill                                                                      955008347                  106.35
 12/11/2024     Bill                                                                                               30,000.00
 12/01/2024     Bill                                                                                                3,499.00
 10/24/2024     Bill                                                                                                 213.46
 10/24/2024     Bill                                                                                                 316.21
 10/01/2024     Bill                                                                                                3,098.00


Advanced Equipment & Supplies
 10/04/2024     Bill Payment (Check)                                                      2388                       -162.45
 08/22/2024     Bill                                                                      29457                      162.45
 10/14/2024     Bill Payment (Check)                                                      2404                       -237.82
 09/19/2024     Bill                                                                      29602                      237.82
 11/14/2024     Bill Payment (Check)                                                      2434                       -868.37
 10/11/2024     Bill                                                                      29717                      112.60
 10/10/2024     Bill                                                                      29710                       65.56
 10/08/2024     Bill                                                                      29699                      126.87
 10/04/2024     Bill                                                                      29675                      217.80
 10/14/2024     Bill                                                                      29721                       46.06
 10/17/2024     Bill                                                                      29743                       81.68
 10/14/2024     Bill                                                                      29720                      217.80


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                         ServiceMaster Cleaning & Restoration by Roome
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DATE            TRANSACTION TYPE                 MEMO/DESCRIPTION                       NUM                          AMOUNT
 12/06/2024     Bill Payment (Check)                                                    2461                           -767.18
 10/31/2024     Bill                                                                    29687                          767.18
 12/12/2024     Bill Payment (Check)                                                    2487                           -425.84
 11/13/2024     Bill                                                                    29870                          258.79
 11/13/2024     Bill                                                                    29879                           13.07
 11/12/2024     Bill                                                                    29869                          153.98
 12/20/2024     Bill Payment (Check)                                                    2489                             -6.86
 10/17/2024     Bill                                                                    29744                             6.86
 01/03/2025     Bill Payment (Check)                                                    3257                            -71.02
 12/09/2024     Bill                                                                    29999                           71.02


Air Tech Abatement Technologies, Inc.
 11/12/2024     Bill Payment (Check)                                                    2428                     -26,468.00
 09/10/2024     Bill                                                                    9739                         26,468.00


Alaska Air
 12/11/2024     Bill Payment (Credit Card)                                                                             -399.59
 12/11/2024     Bill                                                                    IEBMCB                         441.56
 12/11/2024     Bill Payment (Credit Card)                                                                              -41.97
 12/11/2024     Bill                                                                    IEBMCB                         441.56


Allegro Escrow Services, Inc
 10/29/2024     Bill Payment (Check)                                                                                 -9,149.09
 10/24/2024     Bill                             AUTOPAY                                                              9,149.09
 12/02/2024     Bill Payment (Check)                                                                                 -9,149.09
 11/18/2024     Bill                             AUTOPAY                                                              9,149.09


Alsco
 10/19/2024     Bill Payment (Credit Card)                                                                             -109.00
 10/17/2024     Bill                                                                    LSPO2783627                    109.00


Amazon
 10/11/2024     Bill Payment (Credit Card)                                                                              -15.89
 10/10/2024     Bill                                                                    114-7865445-9316247             15.89
 10/10/2024     Bill Payment (Credit Card)                                                                             -285.11
 10/07/2024     Bill                                                                    111-7363605-7741001            285.11
 11/14/2024     Bill Payment (Credit Card)                                                                             -118.67
 11/12/2024     Bill                                                                    111-3265333-0147400            118.67
 11/14/2024     Bill Payment (Credit Card)                                                                              -54.08
 11/12/2024     Bill                                                                    111-5757842-4745037             54.08
 11/06/2024     Bill Payment (Credit Card)                                                                              -55.09
 11/04/2024     Bill                                                                    111-8141982-4821063             55.09
 11/25/2024     Bill Payment (Credit Card)                                                                              -97.45
 11/22/2024     Bill                                                                    111-4130354-0652249            284.53

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DATE          TRANSACTION TYPE                 MEMO/DESCRIPTION                       NUM                          AMOUNT
 11/26/2024   Bill Payment (Credit Card)                                                                            -187.08
 11/22/2024   Bill                                                                    111-4130354-0652249            284.53
 12/10/2024   Bill Payment (Credit Card)                                                                             -18.00
 12/06/2024   Bill                                                                    111-3524056-0886630             18.00


American Funds
 12/16/2024   Bill Payment (Check)                                                                                  -187.50
 11/13/2024   Bill                                                                    93738010                       187.50


American On-Site Services
 10/29/2024   Bill Payment (Check)                                                    2419                         -1,299.63
 09/30/2024   Bill                                                                    I42057                       1,299.63


Apple
 10/23/2024   Bill Payment (Credit Card)                                                                             -26.91
 10/22/2024   Bill                                                                                                    26.91
 11/23/2024   Bill Payment (Credit Card)                                                                             -26.91
 11/22/2024   Bill                                                                                                    26.91
 12/23/2024   Bill Payment (Credit Card)                                                                             -26.91
 12/22/2024   Bill                                                                                                    26.91


Aramsco
 10/07/2024   Bill Payment (Check)                                                                                 -3,029.90
 09/06/2024   Bill                                                                    S6655807.001                 3,029.90
 10/07/2024   Bill Payment (Check)                                                                                  -120.50
 09/06/2024   Bill                                                                    S6655807.002                   120.50
 10/07/2024   Bill Payment (Check)                                                                                   -81.24
 09/06/2024   Bill                                                                    S6655807.003                    81.24
 11/15/2024   Bill Payment (Check)                                                                                  -873.77
 10/10/2024   Bill                                                                    S6710105.003                   873.77
 11/15/2024   Bill Payment (Check)                                                                                  -646.85
 10/08/2024   Bill                                                                    S6710105.002                   646.85
 11/15/2024   Bill Payment (Check)                                                                                  -116.84
 10/08/2024   Bill                                                                    S6710105.001                   116.84
 12/18/2024   Bill Payment (Check)                                                                                 -1,141.15
 11/07/2024   Bill                                                                    S6762514.001                 1,141.15
 12/18/2024   Bill Payment (Check)                                                                                  -182.39
 11/22/2024   Bill                                                                    S6789013.001                   182.39


ARC Mobile Tire LLC
 10/29/2024   Bill Payment (Check)                                                    2413                          -980.16
 10/15/2024   Bill                                                                    INV-000273                     624.56
 10/15/2024   Bill                                                                    INV-000274                     355.60
 11/18/2024   Bill Payment (Check)                                                    2454                         -1,240.00

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DATE          TRANSACTION TYPE                 MEMO/DESCRIPTION                       NUM                          AMOUNT
 11/15/2024   Bill                                                                    INV-000296                   1,240.00
 01/08/2025   Bill Payment (Check)                                                    3259                          -922.40
 12/16/2024   Bill                                                                    INV-000316                     922.40


Autocenter CDA LLC
 10/04/2024   Bill Payment (Check)                                                    2389                          -105.09
 09/27/2024   Bill                             ROOME10                                RO#55834                       105.09
 10/14/2024   Bill Payment (Check)                                                    2394                         -2,091.15
 10/02/2024   Bill                                                                    RO#55868                       259.61
 10/01/2024   Bill                                                                    RO#55847                       144.81
 10/01/2024   Bill                                                                    RO#55858                        93.20
 10/02/2024   Bill                                                                    RO#55862                        92.87
 10/07/2024   Bill                                                                    RO#55884                       641.85
 10/08/2024   Bill                                                                    RO#55915                       858.81
 11/14/2024   Bill Payment (Check)                                                    2430                          -144.81
 10/29/2024   Bill                                                                    RO#56096                       144.81
 12/12/2024   Bill Payment (Check)                                                    2479                          -144.64
 12/10/2024   Bill                                                                    RO#56400                       144.64
 01/03/2025   Bill Payment (Check)                                                    3251                         -1,922.62
 12/31/2024   Bill                                                                    RO#56547                        95.54
 12/31/2024   Bill                                                                    RO#56480                     1,827.08


AutoZone
 10/05/2024   Bill Payment (Credit Card)                                                                             -14.14
 10/03/2024   Bill                                                                                                    14.14
 12/30/2024   Bill Payment (Credit Card)                                                                            -263.39
 12/30/2024   Bill                                                                                                   263.39


Avista
 10/14/2024   Bill Payment (Check)                                                    2406                           -21.74
 09/30/2024   Bill                                                                    0828359295                      21.74
 11/18/2024   Bill Payment (Check)                                                    2448                           -76.56
 10/29/2024   Bill                                                                    0828359295                      76.56
 12/12/2024   Bill Payment (Check)                                                    2485                          -200.72
 11/27/2024   Bill                             Account ******9295                     0828359295                     200.72


Beam Dental
 10/03/2024   Bill Payment (Check)                                                                                  -393.80
 09/15/2024   Bill                                                                    ID06864-202410                 393.80
 11/05/2024   Bill Payment (Check)                                                                                  -393.80
 10/15/2024   Bill                                                                    ID06864-202411                 393.80
 12/04/2024   Bill Payment (Check)                                                                                  -393.80
 11/15/2024   Bill                                                                    ID06864-202412                 393.80
 01/06/2025   Bill Payment (Check)                                                                                  -393.80


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 12/15/2024    Bill                                                                    ID06864-202501                 393.80


BFC Print
 10/30/2024    Bill Payment (Credit Card)                                                                            -916.30
 10/29/2024    Bill                                                                    283-113902                     916.30


Brandon Rogers
 01/09/2025    Bill Payment (Check)                                                    3263                           -75.00
 12/20/2024    Bill                                                                                                    75.00


Brothers Flooring LLC
 11/22/2024    Bill Payment (Check)                                                    2455                          -145.00
 11/21/2024    Bill                             Woodard                                                               145.00
 12/05/2024    Bill Payment (Credit Card)                                                                           -6,000.00
 12/05/2024    Bill                                                                    2-176                        6,000.00


Bulldog Rooter Inc
 12/12/2024    Bill Payment (Check)                                                    2484                          -739.00
 11/18/2024    Bill                                                                    80839603                       739.00
 12/20/2024    Bill Payment (Check)                                                    2491                         -2,918.00
 11/19/2024    Bill                                                                    80861622                     2,918.00
 01/03/2025    Bill Payment (Check)                                                    3253                         -2,153.80
 12/10/2024    Bill                                                                    81339118                     1,098.90
 12/05/2024    Bill                                                                    81269822                       185.90
 12/04/2024    Bill                                                                    81179276                       869.00


Burger King
 10/12/2024    Bill Payment (Credit Card)                                                                             -13.03
 10/11/2024    Bill                                                                    92                              13.03
 10/15/2024    Bill Payment (Credit Card)                                                                             -39.37
 10/13/2024    Bill                                                                                                    39.37
 10/25/2024    Bill Payment (Credit Card)                                                                             -13.03
 10/24/2024    Bill                                                                                                    13.03
 10/29/2024    Bill Payment (Credit Card)                                                                             -13.03
 10/28/2024    Bill                                                                                                    13.03
 11/13/2024    Bill Payment (Credit Card)                                                                             -13.13
 11/12/2024    Bill                                                                                                    13.13
 11/29/2024    Bill Payment (Credit Card)                                                                             -13.13
 11/27/2024    Bill                                                                                                    13.13


CareerPlug
 11/02/2024    Bill Payment (Credit Card)                                                                            -595.00
 11/01/2024    Bill                                                                    213151                         595.00



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DATE             TRANSACTION TYPE                 MEMO/DESCRIPTION                       NUM                      AMOUNT
 01/06/2025      Bill Payment (Credit Card)                                                                         -595.00
 01/05/2025      Bill                                                                                               595.00


Carpet Warehouse & Color Tile
 10/29/2024      Bill Payment (Check)                                                    2422                     -2,446.08
 10/02/2024      Bill                                                                    40876                     2,446.08


City of Post Falls
 10/14/2024      Bill Payment (Check)                                                    2405                       -288.59
 09/30/2024      Bill                             29-0533-00 Bldg Water                  29-0533-00                 233.17
 09/30/2024      Bill                             29-0534-00 Irrigation                  29-0534-00                  55.42
 11/18/2024      Bill Payment (Check)                                                    2449                       -513.50
 10/31/2024      Bill                             29-0534-00 Irrigation                  29-0534-00                  41.14
 10/31/2024      Bill                             29-0533-00 Bldg Water                  29-0533-00                 472.36
 12/20/2024      Bill Payment (Check)                                                    2492                       -409.53
 11/30/2024      Bill                             29-0533-00 Bldg Water                  29-0533-00                 409.53


CJ Interiors & Consulting, Inc. dba Custom Drywall
 10/04/2024      Bill Payment (Check)                                                    2392                 -10,008.00
 09/25/2024      Bill                                                                    11055                    10,008.00


CLEAN GURU
 10/07/2024      Bill Payment (Credit Card)                                                                          -15.00
 10/04/2024      Bill                                                                    597272                      15.00
 10/14/2024      Bill Payment (Credit Card)                                                                          -99.00
 10/12/2024      Bill                                                                    597966                      99.00
 11/06/2024      Bill Payment (Credit Card)                                                                          -15.00
 11/05/2024      Bill                                                                    600320                      15.00
 11/13/2024      Bill Payment (Credit Card)                                                                          -99.00
 11/11/2024      Bill                                                                    601022                      99.00
 12/06/2024      Bill Payment (Credit Card)                                                                          -15.00
 12/04/2024      Bill                                                                    603390                      15.00
 12/13/2024      Bill Payment (Credit Card)                                                                          -99.00
 12/11/2024      Bill                                                                    604044                      99.00
 01/06/2025      Bill Payment (Credit Card)                                                                          -15.00
 01/04/2025      Bill                                                                    606330                      15.00


ContentsTrack
 10/05/2024      Bill Payment (Credit Card)                                                                          -28.88
 10/01/2024      Bill                                                                    2589229                     28.88
 10/05/2024      Bill Payment (Credit Card)                                                                          -57.76
 09/27/2024      Bill                                                                    2589025                     57.76
 10/05/2024      Bill Payment (Credit Card)                                                                          -28.88
 09/06/2024      Bill                                                                    2587696                     28.88

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DATE            TRANSACTION TYPE                 MEMO/DESCRIPTION                       NUM                          AMOUNT
 10/05/2024     Bill Payment (Credit Card)                                                                             -28.88
 09/09/2024     Bill                                                                    2587861                         28.88


Contractor Connection
 11/14/2024     Bill Payment (Check)                                                    2442                          -762.53
 10/31/2024     Bill                                                                    IN287431                       762.53


Corporate Filings LLC
 01/07/2025     Bill Payment (Credit Card)                                                                            -155.00
 01/01/2025     Bill                                                                    27AF2CB4                       155.00


Corrigo Pro
 10/02/2024     Bill Payment (Credit Card)                                                                             -50.00
 10/01/2024     Bill                                                                    2121266                         50.00
 11/02/2024     Bill Payment (Credit Card)                                                                             -50.00
 11/01/2024     Bill                                                                    2147888                         50.00
 12/03/2024     Bill Payment (Credit Card)                                                                             -50.00
 12/02/2024     Bill                                                                    2174549                         50.00
 01/03/2025     Bill Payment (Credit Card)                                                                             -50.00
 01/02/2025     Bill                                                                    2201380                         50.00


Costco
 10/31/2024     Bill Payment (Credit Card)                                                                            -271.44
 10/30/2024     Bill                                                                                                   271.44
 12/12/2024     Bill Payment (Credit Card)                                                                            -168.88
 12/11/2024     Bill                                                                                                   168.88


CTC Electrical Contracting, Inc.
 10/04/2024     Bill Payment (Check)                                                    2390                         -5,916.55
 09/06/2024     Bill                                                                    2024-C393RoughIn70%          5,916.55


Culligan Water LLC
 10/11/2024     Bill Payment (Credit Card)                                                                             -42.13
 09/30/2024     Bill                                                                    396801                          42.13
 11/12/2024     Bill Payment (Credit Card)                                                                             -53.74
 10/31/2024     Bill                             AUTOPAY                                                                53.74
 12/11/2024     Bill Payment (Credit Card)                                                                             -36.89
 11/30/2024     Bill                             AUTOPAY                                                                36.89


DMV
 10/29/2024     Bill Payment (Check)                                                    2423                          -154.00
 10/01/2024     Bill                             ROOME14                                ROOME15 - 2024                 154.00
 12/28/2024     Bill Payment (Credit Card)                                                                            -157.85


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 11/13/2024    Bill                                                                    ROOME16 - 2024                      157.85


DocuSketch
 11/14/2024    Bill Payment (Check)                                                    2431                               -125.00
 10/31/2024    Bill                                                                    INV-012427                          125.00


Dollar Tree
 12/14/2024    Bill Payment (Credit Card)                                                                                  -92.75
 12/13/2024    Bill                                                                                                         92.75


Dry Box, Inc
 10/02/2024    Bill Payment (Credit Card)                                                                                 -109.18
 10/01/2024    Bill                             Thornton 23-0430-PCK                   1482618                             109.18
 10/11/2024    Bill Payment (Credit Card)                                                                                 -445.48
 10/10/2024    Bill                                                                    1486850                             445.48
 10/15/2024    Bill Payment (Credit Card)                                                                                 -112.17
 10/14/2024    Bill                             Susan Gray 24-0350-CON                 1488180                             112.17
 11/15/2024    Bill Payment (Credit Card)                                                                                 -112.17
 11/14/2024    Bill                             Susan Gray 24-0350-CON                 1501148                             112.17
 11/15/2024    Bill Payment (Credit Card)                                                                                 -136.47
 11/14/2024    Bill                                                                    1501149                             136.47
 12/07/2024    Bill Payment (Credit Card)                                                                                 -496.98
 12/06/2024    Bill                                                                    1510824                             496.98
 12/14/2024    Bill Payment (Credit Card)                                                                                 -136.47
 12/14/2024    Bill                                                                    1513511                             136.47
 12/14/2024    Bill Payment (Credit Card)                                                                                 -112.17
 12/14/2024    Bill                             Susan Gray 24-0350-CON                 1513510                             112.17


Elk River Construction LLC
 11/15/2024    Bill Payment (Check)                                                    2447                              -4,378.00
 11/15/2024    Bill                                                                    C393 Paint Estimate               4,378.00
 12/12/2024    Bill Payment (Check)                                                    2478                              -7,184.00
 12/03/2024    Bill                                                                                                      7,184.00


Enterprise Rent-A-Car
 11/14/2024    Bill Payment (Credit Card)                                                                                 -259.64
 11/14/2024    Bill                                                                                                        259.64


Exbabylon IT Solutions
 10/29/2024    Bill Payment (Check)                                                    2416                              -1,465.00
 10/09/2024    Bill                                                                    208489                              105.00
 10/09/2024    Bill                                                                    208595                            1,360.00
 11/18/2024    Bill Payment (Check)                                                    2453                              -1,670.00



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 11/08/2024     Bill                                                                    209993                  1,360.00
 11/08/2024     Bill                                                                    210104                    30.00
 11/08/2024     Bill                                                                    209886                   250.00
 11/08/2024     Bill                                                                    210105                    30.00
 12/06/2024     Bill Payment (Check)                                                    2471                     -300.00
 09/09/2024     Bill                                                                    207003                   300.00
 12/20/2024     Bill Payment (Check)                                                    2494                   -1,400.00
 12/09/2024     Bill                                                                    210795                    40.00
 12/09/2024     Bill                                                                    210860                  1,360.00


First Bank of the Lake
 10/07/2024     Bill Payment (Check)                                                                       -31,848.59
 10/01/2024     Bill                                                                                           31,848.59
 11/05/2024     Bill Payment (Check)                                                                       -31,324.30
 11/01/2024     Bill                                                                                           31,324.30


Flahertys' Framing & Fine Art Ltd.
 12/20/2024     Bill Payment (Check)                                                    2490                   -1,175.37
 11/08/2024     Bill                                                                    Woodard                 1,175.37


Ford Credit
 10/30/2024     Bill Payment (Check)                                                                           -1,352.66
 10/10/2024     Bill                                                                    63364814                1,352.66
 11/29/2024     Bill Payment (Check)                                                                           -1,352.66
 11/10/2024     Bill                                                                                            1,352.66
 12/31/2024     Bill Payment (Check)                                                                           -1,352.66
 12/10/2024     Bill                                                                                            1,352.66


Gloves.com
 11/07/2024     Bill Payment (Credit Card)                                                                       -364.95
 11/06/2024     Bill                                                                    GL34207                  364.95


GM Financial
 10/03/2024     Bill Payment (Check)                                                                             -752.48
 09/12/2024     Bill                                                                                             752.48
 10/10/2024     Bill Payment (Check)                                                                             -455.61
 09/19/2024     Bill                                                                                             455.61
 10/08/2024     Bill Payment (Check)                                                                             -455.87
 09/17/2024     Bill                                                                                             455.87
 11/04/2024     Bill Payment (Check)                                                                           -1,450.71
 10/12/2024     Bill                                                                                            1,450.71
 11/04/2024     Bill Payment (Check)                                                                             -752.48
 10/13/2024     Bill                                                                                             752.48
 11/08/2024     Bill Payment (Check)                                                                             -455.87

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DATE           TRANSACTION TYPE                 MEMO/DESCRIPTION                       NUM                       AMOUNT
 10/18/2024    Bill                                                                                                455.87
 11/12/2024    Bill Payment (Check)                                                                               -455.61
 10/20/2024    Bill                                                                                                455.61
 12/03/2024    Bill Payment (Check)                                                                               -752.48
 11/12/2024    Bill                                                                                                752.48
 12/09/2024    Bill Payment (Check)                                                                               -455.87
 11/17/2024    Bill                                                                                                455.87
 12/10/2024    Bill Payment (Check)                                                                               -455.61
 11/19/2024    Bill                                                                                                455.61
 12/12/2024    Bill Payment (Check)                                                                              -1,450.71
 11/21/2024    Bill                                                                                              1,450.71
 01/03/2025    Bill Payment (Check)                                                                               -752.48
 12/13/2024    Bill                                                                                                752.48
 01/08/2025    Bill Payment (Check)                                                                               -455.87
 12/18/2024    Bill                                                                                                455.87
 01/08/2025    Bill Payment (Check)                                                                              -1,450.71
 12/22/2024    Bill                                                                                              1,450.71
 01/08/2025    Bill Payment (Check)                                                                               -455.61
 12/18/2024    Bill                                                                                                455.61


Guidant Financial
 10/03/2024    Bill Payment (Credit Card)                                                                         -149.00
 10/01/2024    Bill                                                                    CINV1193196                 149.00
 11/04/2024    Bill Payment (Credit Card)                                                                         -149.00
 11/01/2024    Bill                                                                    CINV1203611                 149.00
 12/03/2024    Bill Payment (Credit Card)                                                                         -149.00
 12/01/2024    Bill                                                                    CINV1212690                 149.00
 01/03/2025    Bill Payment (Credit Card)                                                                         -149.00
 01/01/2025    Bill                                                                    CINV1222780                 149.00


Hardee's
 10/14/2024    Bill Payment (Credit Card)                                                                          -40.03
 10/12/2024    Bill                                                                                                 40.03


Home Appliance Tech
 12/12/2024    Bill Payment (Credit Card)                                                                         -235.67
 12/11/2024    Bill                                                                    4593                        235.67


Home Depot
 10/03/2024    Bill Payment (Credit Card)                                                                          -76.28
 10/03/2024    Bill                                                                                                 76.28
 10/05/2024    Bill Payment (Credit Card)                                                                          -50.81
 10/03/2024    Bill                                                                    58830941                     50.81
 10/04/2024    Bill Payment (Credit Card)                                                                         -110.10


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DATE          TRANSACTION TYPE                 MEMO/DESCRIPTION                       NUM                          AMOUNT
 10/03/2024   Bill                                                                    58830942                      110.10
 10/09/2024   Bill Payment (Credit Card)                                                                             -21.76
 10/07/2024   Bill                                                                                                   21.76
 10/10/2024   Bill Payment (Credit Card)                                                                            -445.34
 10/08/2024   Bill                                                                    WM84204113                    445.34
 10/25/2024   Bill Payment (Credit Card)                                                                             -68.10
 10/23/2024   Bill                                                                                                   68.10
 10/23/2024   Bill Payment (Credit Card)                                                                             -19.04
 10/21/2024   Bill                                                                                                   19.04
 10/31/2024   Bill Payment (Credit Card)                                                                             -75.20
 10/29/2024   Bill                                                                                                   75.20
 11/08/2024   Bill Payment (Credit Card)                                                                             -41.98
 11/06/2024   Bill                                                                    59448953                       41.98
 11/08/2024   Bill Payment (Credit Card)                                                                            -107.45
 11/06/2024   Bill                                                                    59448951                      107.45
 11/07/2024   Bill Payment (Credit Card)                                                                             -30.15
 11/06/2024   Bill                                                                    59448952                       30.15
 11/15/2024   Bill Payment (Credit Card)                                                                             -48.52
 11/13/2024   Bill                                                                                                   48.52
 11/20/2024   Bill Payment (Credit Card)                                                                              -7.92
 11/18/2024   Bill                                                                                                    7.92
 11/22/2024   Bill Payment (Credit Card)                                                                             -58.25
 11/21/2024   Bill                                                                    59725313                       58.25
 11/21/2024   Bill Payment (Credit Card)                                                                            -325.91
 11/21/2024   Bill                                                                                                  325.91
 11/23/2024   Bill Payment (Credit Card)                                                                            -202.65
 11/21/2024   Bill                                                                    59719982                      202.65
 11/28/2024   Bill Payment (Credit Card)                                                                            -273.38
 11/25/2024   Bill                                                                    59779430                      273.38
 12/17/2024   Bill Payment (Credit Card)                                                                             -65.38
 12/17/2024   Bill                                                                                                   65.38
 12/18/2024   Bill Payment (Credit Card)                                                                            -497.53
 12/18/2024   Bill                                                                                                  497.53


IICRC
 11/25/2024   Bill Payment (Credit Card)                                                                             -46.00
 09/06/2024   Bill                                                                    672963                         46.00
 11/25/2024   Bill Payment (Credit Card)                                                                            -199.00
 10/13/2024   Bill                                                                    693091                        199.00


Intuit
 10/28/2024   Bill Payment (Credit Card)                                                                            -235.00
 10/27/2024   Bill                                                                    10001346444964                235.00
 11/29/2024   Bill Payment (Credit Card)                                                                            -235.00


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 11/27/2024     Bill                                                                    10001353546749                    235.00
 12/28/2024     Bill Payment (Credit Card)                                                                                -235.00
 12/27/2024     Bill                                                                    10001360732006                    235.00


Jiffy
 11/25/2024     Bill Payment (Credit Card)                                                                                -662.27
 11/25/2024     Bill                                                                    893405869                         662.27


Justin Chapman
 10/14/2024     Bill Payment (Check)                                                    2396                              -180.00
 10/18/2024     Bill                                                                    Per Diem - Moses Lake              45.00
 10/14/2024     Bill                                                                    Per Diem - Quincy                 135.00
 11/11/2024     Bill Payment (Check)                                                    2427                              -135.00
 11/11/2024     Bill                                                                    Quincy Per Diem                   135.00


Kalamata Capital Group
 10/04/2024     Bill Payment (Check)                                                                                    -8,867.00
 10/04/2024     Bill                                                                                                     8,867.00
 10/11/2024     Bill Payment (Check)                                                                                    -8,867.00
 10/11/2024     Bill                                                                                                     8,867.00
 10/18/2024     Bill Payment (Check)                                                                                    -8,867.00
 10/18/2024     Bill                                                                                                     8,867.00
 10/25/2024     Bill Payment (Check)                                                                                    -8,867.00
 10/25/2024     Bill                                                                                                     8,867.00
 11/01/2024     Bill Payment (Check)                                                                                    -8,867.00
 11/01/2024     Bill                                                                                                     8,867.00
 11/08/2024     Bill Payment (Check)                                                                                    -8,867.00
 11/08/2024     Bill                                                                                                     8,867.00
 11/15/2024     Bill Payment (Check)                                                                                    -8,867.00
 11/15/2024     Bill                                                                                                     8,867.00
 11/22/2024     Bill Payment (Check)                                                                                    -8,867.00
 11/22/2024     Bill                                                                                                     8,867.00
 11/29/2024     Bill Payment (Check)                                                                                    -8,867.00
 11/29/2024     Bill                                                                                                     8,867.00


Kiemle Hagood
 10/01/2024     Bill Payment (Check)                                                    2387                        -14,413.00
 10/01/2024     Bill                                                                    1ROOME                          14,413.00
 11/01/2024     Bill Payment (Check)                                                    2424                        -14,413.00
 11/01/2024     Bill                                                                    1Roome                          14,413.00
 12/02/2024     Bill Payment (Check)                                                    2456                        -14,413.00
 12/01/2024     Bill                                                                    1ROOME                          14,413.00
 01/03/2025     Bill Payment (Check)                                                    3254                        -14,519.68
 01/01/2025     Bill                                                                    1ROOME                          14,519.68


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Kinzer Air LLC
 12/06/2024      Bill Payment (Check)                                                    2462                          -1,476.08
 10/31/2024      Bill                                                                    I-65590-1                     1,476.08


Kirishian Imported Rug Co.
 11/14/2024      Bill Payment (Check)                                                    2435                           -129.72
 11/05/2024      Bill                                                                    22089                           129.72
 12/06/2024      Bill Payment (Check)                                                    2468                           -276.84
 11/06/2024      Bill                                                                    1451                            276.84


Knights Inn
 10/18/2024      Bill Payment (Credit Card)                                                                             -297.51
 10/16/2024      Bill                                                                    151024032952545                 297.51
 10/16/2024      Bill Payment (Credit Card)                                                                              -99.17
 10/15/2024      Bill                                                                    151024032218270                  99.17


Knudtsen Chevrolet
 11/04/2024      Bill Payment (Credit Card)                                                                              -89.70
 11/04/2024      Bill                                                                                                     89.70


Kootenai County Solid Waste
 11/14/2024      Bill Payment (Check)                                                    2446                           -501.80
 10/16/2024      Bill                             10-32704.00 Dump SEPTEMBER             10-32704.00 Dump SEPT           124.80
 10/16/2024      Bill                             10-87344.00 - Dumpster - SEPT          10-87344.00                     377.00
 12/06/2024      Bill Payment (Check)                                                    2466                           -433.55
 11/15/2024      Bill                             10-32704.00 Dump OCTOBER               10-32704.00 Dump OCT             82.55
 11/15/2024      Bill                             10-87344.00 - Dumpster - OCT           10-87344.00 OCT                 351.00
 01/03/2025      Bill Payment (Check)                                                    3255                           -414.70
 12/16/2024      Bill                             10-87344.00 - Dumpster - NOV           10-87344.00 NOV                 318.50
 12/16/2024      Bill                             10-32704.00 Dump NOVEMBER              10-32704.00 Dump NOV             96.20


Kootenai Electric Cooperative
 10/14/2024      Bill Payment (Check)                                                    2399                           -499.27
 09/30/2024      Bill                                                                    1855744                         499.27
 11/14/2024      Bill Payment (Check)                                                    2445                           -458.33
 10/30/2024      Bill                                                                    1855744                         458.33
 12/12/2024      Bill Payment (Check)                                                    2483                           -232.58
 11/27/2024      Bill                                                                    1855744                         232.58
 01/08/2025      Bill Payment (Check)                                                    3262                           -391.11
 12/30/2024      Bill                                                                    1855744                         391.11


Krispy Kreme


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 10/04/2024     Bill Payment (Credit Card)                                                                          -35.98
 10/04/2024     Bill                                                                                                 35.98
 10/21/2024     Bill Payment (Credit Card)                                                                          -37.98
 10/21/2024     Bill                                                                                                 37.98
 10/22/2024     Bill Payment (Credit Card)                                                                          -41.98
 10/22/2024     Bill                                                                                                 41.98
 12/02/2024     Bill Payment (Credit Card)                                                                          -38.17
 12/02/2024     Bill                                                                                                 38.17
 12/20/2024     Bill Payment (Credit Card)                                                                          -40.64
 12/20/2024     Bill                                                                                                 40.64


Kyron Environmental, Inc.
 10/29/2024     Bill Payment (Check)                                                    2410                       -625.00
 10/04/2024     Bill                                                                    4407                        625.00


Liberty Stop & Go
 11/27/2024     Bill Payment (Credit Card)                                                                          -41.60
 11/25/2024     Bill                                                                                                 41.60


Lowe's
 11/15/2024     Bill Payment (Credit Card)                                                                          -22.20
 11/14/2024     Bill                                                                                                 22.20


LPM Supply, Inc
 11/14/2024     Bill Payment (Check)                                                    2438                      -2,335.83
 10/07/2024     Bill                                                                    356791                    2,335.83


Maverick
 10/28/2024     Bill Payment (Credit Card)                                                                          -50.60
 10/25/2024     Bill                                                                                                 50.60
 10/30/2024     Bill Payment (Credit Card)                                                                          -48.08
 10/28/2024     Bill                                                                                                 48.08
 10/28/2024     Bill Payment (Credit Card)                                                                          -31.49
 10/28/2024     Bill                                                                                                 31.49


Maverik
 10/11/2024     Bill Payment (Credit Card)                                                                          -24.37
 10/09/2024     Bill                                                                                                 24.37


Misc - Florida/Hurricane
 10/11/2024     Bill Payment (Credit Card)                                                                         -154.61
 10/10/2024     Bill                                                                    ROOME_99580                 154.61
 10/11/2024     Bill Payment (Credit Card)                                                                         -149.83


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 10/10/2024   Bill                                                                    ROOME_99579                149.83
 10/12/2024   Bill Payment (Credit Card)                                                                         -180.62
 10/12/2024   Bill                                                                    205731                     180.62
 10/12/2024   Bill Payment (Credit Card)                                                                         -152.47
 10/11/2024   Bill                                                                    ROOME 60336                152.47
 10/12/2024   Bill Payment (Credit Card)                                                                         -152.47
 10/11/2024   Bill                                                                    ROOME 60337                152.47
 10/12/2024   Bill Payment (Credit Card)                                                                         -180.62
 10/12/2024   Bill                                                                    41635733                   180.62
 10/15/2024   Bill Payment (Credit Card)                                                                         -499.00
 10/13/2024   Bill                                                                                               499.00
 10/15/2024   Bill Payment (Credit Card)                                                                          -42.47
 10/14/2024   Bill                                                                    1166129071                  42.47
 10/15/2024   Bill Payment (Credit Card)                                                                          -92.45
 10/13/2024   Bill                                                                                                92.45
 10/14/2024   Bill Payment (Credit Card)                                                                         -147.22
 10/12/2024   Bill                                                                                               147.22
 10/12/2024   Bill Payment (Credit Card)                                                                          -75.00
 10/11/2024   Bill                                                                                                75.00
 10/11/2024   Bill Payment (Credit Card)                                                                          -28.13
 10/11/2024   Bill                                                                                                28.13
 10/11/2024   Bill Payment (Credit Card)                                                                          -60.02
 10/11/2024   Bill                                                                                                60.02
 10/10/2024   Bill Payment (Credit Card)                                                                          -97.74
 10/10/2024   Bill                                                                                                97.74
 10/12/2024   Bill Payment (Credit Card)                                                                          -93.36
 10/11/2024   Bill                                                                                                93.36
 10/12/2024   Bill Payment (Credit Card)                                                                          -56.33
 10/11/2024   Bill                                                                                                56.33
 10/11/2024   Bill Payment (Credit Card)                                                                          -53.28
 10/10/2024   Bill                                                                                                53.28
 10/11/2024   Bill Payment (Credit Card)                                                                          -43.58
 10/09/2024   Bill                                                                                                43.58
 10/10/2024   Bill Payment (Credit Card)                                                                         -102.20
 10/10/2024   Bill                                                                                               102.20
 10/16/2024   Bill Payment (Credit Card)                                                                          -68.27
 10/14/2024   Bill                                                                                                68.27
 10/14/2024   Bill Payment (Credit Card)                                                                         -111.15
 10/12/2024   Bill                                                                                               111.15
 10/14/2024   Bill Payment (Credit Card)                                                                          -47.66
 10/13/2024   Bill                                                                                                47.66
 10/14/2024   Bill Payment (Credit Card)                                                                          -48.53
 10/12/2024   Bill                                                                                                48.53
 10/18/2024   Bill Payment (Credit Card)                                                                         -267.57
 10/17/2024   Bill                                                                                               267.57

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 10/14/2024   Bill Payment (Credit Card)                                                                        -13.54
 10/13/2024   Bill                                                                                              13.54
 10/16/2024   Bill Payment (Credit Card)                                                                       -274.33
 10/14/2024   Bill                                                                                             274.33
 10/24/2024   Bill Payment (Credit Card)                                                                       -130.43
 10/22/2024   Bill                                                                    81669                    130.43
 10/21/2024   Bill Payment (Credit Card)                                                                       -206.58
 10/20/2024   Bill                                                                    53073201                 206.58
 10/25/2024   Bill Payment (Credit Card)                                                                        -19.75
 10/25/2024   Bill                                                                                              19.75
 10/25/2024   Bill Payment (Credit Card)                                                                        -21.33
 10/25/2024   Bill                                                                                              21.33
 10/23/2024   Bill Payment (Credit Card)                                                                        -37.01
 10/23/2024   Bill                                                                                              37.01
 10/23/2024   Bill Payment (Credit Card)                                                                       -100.00
 10/23/2024   Bill                                                                                             100.00
 10/22/2024   Bill Payment (Credit Card)                                                                        -91.68
 10/22/2024   Bill                                                                                              91.68
 10/25/2024   Bill Payment (Credit Card)                                                                       -101.06
 10/25/2024   Bill                                                                                             101.06
 10/25/2024   Bill Payment (Credit Card)                                                                        -81.03
 10/25/2024   Bill                                                                                              81.03
 10/24/2024   Bill Payment (Credit Card)                                                                        -56.20
 10/24/2024   Bill                                                                                              56.20
 10/24/2024   Bill Payment (Credit Card)                                                                        -27.13
 10/24/2024   Bill                                                                                              27.13
 10/23/2024   Bill Payment (Credit Card)                                                                        -27.68
 10/23/2024   Bill                                                                                              27.68
 10/23/2024   Bill Payment (Credit Card)                                                                       -156.79
 10/24/2024   Bill                                                                                             156.79
 10/21/2024   Bill Payment (Credit Card)                                                                        -50.58
 10/21/2024   Bill                                                                                              50.58
 10/25/2024   Bill Payment (Credit Card)                                                                       -135.57
 10/25/2024   Bill                                                                                             135.57
 10/25/2024   Bill Payment (Credit Card)                                                                        -10.08
 10/24/2024   Bill                                                                                              10.08
 10/25/2024   Bill Payment (Credit Card)                                                                        -16.76
 10/24/2024   Bill                                                                                              16.76
 10/22/2024   Bill Payment (Credit Card)                                                                        -99.33
 10/23/2024   Bill                                                                    956673786                 99.33
 10/22/2024   Bill Payment (Credit Card)                                                                       -153.66
 10/21/2024   Bill                                                                    956298891                153.66
 10/24/2024   Bill Payment (Credit Card)                                                                       -167.99
 10/23/2024   Bill                                                                                             167.99
 10/29/2024   Bill Payment (Credit Card)                                                                       -141.90

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 10/24/2024   Bill                                                                    82123666                      141.90
 10/12/2024   Bill Payment (Credit Card)                                                                             -59.00
 10/10/2024   Bill                                                                                                   59.00


Misc Vendor
 10/09/2024   Bill Payment (Credit Card)                                                                            -199.20
 10/08/2024   Bill                                                                    9404                          199.20
 10/24/2024   Bill Payment (Credit Card)                                                                            -171.28
 10/22/2024   Bill                                                                                                  171.28
 10/28/2024   Bill Payment (Credit Card)                                                                             -54.01
 10/25/2024   Bill                                                                                                   54.01
 10/29/2024   Bill Payment (Credit Card)                                                                             -56.08
 10/27/2024   Bill                                                                                                   56.08
 10/30/2024   Bill Payment (Credit Card)                                                                             -63.19
 10/28/2024   Bill                                                                                                   63.19
 10/31/2024   Bill Payment (Credit Card)                                                                             -90.13
 10/30/2024   Bill                                                                    529983                         90.13
 11/05/2024   Bill Payment (Credit Card)                                                                            -142.10
 11/04/2024   Bill                                                                                                  142.10
 11/04/2024   Bill Payment (Credit Card)                                                                            -232.72
 11/05/2024   Bill                                                                                                  232.72
 11/07/2024   Bill Payment (Credit Card)                                                                             -91.04
 11/07/2024   Bill                                                                    72959850048243                 91.04
 11/14/2024   Bill Payment (Credit Card)                                                                              -3.31
 11/14/2024   Bill                                                                                                    3.31
 11/14/2024   Bill Payment (Credit Card)                                                                             -60.00
 11/14/2024   Bill                                                                                                   60.00
 11/16/2024   Bill Payment (Credit Card)                                                                             -42.40
 11/14/2024   Bill                                                                                                   42.40
 11/18/2024   Bill Payment (Credit Card)                                                                              -5.37
 11/18/2024   Bill                                                                    01-33419                        5.37
 11/20/2024   Bill Payment (Credit Card)                                                                             -24.65
 11/18/2024   Bill                                                                                                   24.65
 12/10/2024   Bill Payment (Credit Card)                                                                            -669.94
 12/09/2024   Bill                                                                    160947-008890                 669.94
 12/13/2024   Bill Payment (Credit Card)                                                                            -153.96
 12/10/2024   Bill                                                                    30587887                      153.96
 12/20/2024   Bill Payment (Credit Card)                                                                             -12.20
 12/20/2024   Bill                                                                                                   12.20


Montgomery Hardware
 10/14/2024   Bill Payment (Check)                                                    2402                           -48.80
 09/18/2024   Bill                                                                    1056848                        31.01
 09/23/2024   Bill                                                                    1057616                        17.79


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 10/29/2024      Bill Payment (Check)                                                         2417                     -50.61
 09/24/2024      Bill                                                                         1057749                  50.61
 11/14/2024      Bill Payment (Check)                                                         2437                     -85.65
 10/08/2024      Bill                                                                         1059889                  14.68
 10/17/2024      Bill                                                                         1061174                   9.54
 10/19/2024      Bill                                                                         1061540                  45.65
 10/06/2024      Bill                                                                         1059534                  15.78
 12/06/2024      Bill Payment (Check)                                                         2460                    -134.45
 10/29/2024      Bill                                                                         1062835                  13.93
 11/21/2024      Bill                                                                         1065884                   2.39
 11/11/2024      Bill                                                                         1064628                  85.27
 11/13/2024      Bill                                                                         1064893                  32.86
 01/03/2025      Bill Payment (Check)                                                         3256                     -97.25
 12/06/2024      Bill                                                                         1067932                  54.41
 12/11/2024      Bill                                                                         1068450                   9.54
 12/12/2024      Bill                                                                         1068637                  33.30


Mountain Laboratories NW, Inc
 10/05/2024      Bill Payment (Credit Card)                                                                           -504.00
 10/04/2024      Bill                                                                         10-4-24                 504.00
 10/12/2024      Bill Payment (Credit Card)                                                                           -108.00
 10/11/2024      Bill                                                                         10-11-24                108.00
 10/19/2024      Bill Payment (Credit Card)                                                                            -54.00
 10/18/2024      Bill                                                                         10-18-24                 54.00
 10/26/2024      Bill Payment (Credit Card)                                                                           -234.00
 10/25/2024      Bill                                                                         10-25-24                234.00
 11/02/2024      Bill Payment (Credit Card)                                                                           -224.00
 11/01/2024      Bill                                                                         11-1-24                 224.00
 11/19/2024      Bill Payment (Credit Card)                                                                           -582.00
 11/15/2024      Bill                                                                         11-15-24                582.00
 11/23/2024      Bill Payment (Credit Card)                                                                           -108.00
 11/22/2024      Bill                                                                         11-22-24                108.00
 12/07/2024      Bill Payment (Credit Card)                                                                           -608.00
 12/06/2024      Bill                                                                         12-6-24                 608.00
 12/14/2024      Bill Payment (Credit Card)                                                                           -105.00
 12/13/2024      Bill                                                                         12-13-24                105.00


My Corporation
 01/02/2025      Bill Payment (Credit Card)                                                                           -100.00
 11/25/2024      Bill                             This should bill to the Capital One card.   2SRFWX5                 100.00


NAPA
 10/03/2024      Bill Payment (Credit Card)                                                                           -504.67
 10/03/2024      Bill                                                                                                 504.67


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 10/03/2024     Bill Payment (Credit Card)                                                                            -29.13
 10/03/2024     Bill                                                                                                   29.13
 10/31/2024     Bill Payment (Credit Card)                                                                            -29.67
 10/31/2024     Bill                                                                                                   29.67
 11/18/2024     Bill Payment (Credit Card)                                                                           -280.14
 11/18/2024     Bill                                                                    027025                        280.14


NetVendor
 10/07/2024     Bill Payment (Credit Card)                                                                           -119.00
 10/07/2024     Bill                                                                    06DA994F-0005                 119.00


Newport Alarm
 10/14/2024     Bill Payment (Check)                                                    2400                          -35.00
 09/30/2024     Bill                                                                    208256                         35.00
 11/14/2024     Bill Payment (Check)                                                    2443                          -35.00
 10/31/2024     Bill                                                                    209743                         35.00
 12/12/2024     Bill Payment (Check)                                                    2482                          -35.00
 11/30/2024     Bill                                                                    210512                         35.00


Next Gear Solutions
 10/05/2024     Bill Payment (Credit Card)                                                                           -199.00
 09/01/2024     Bill                             AUTOPAY                                INV3508195                    199.00
 11/06/2024     Bill Payment (Credit Card)                                                                           -199.00
 10/01/2024     Bill                             AUTOPAY                                INV3515533                    199.00
 12/06/2024     Bill Payment (Check)                                                    2464                         -199.00
 11/01/2024     Bill                                                                    INV3520622                    199.00
 12/06/2024     Bill Payment (Credit Card)                                                                           -199.00
 12/01/2024     Bill                                                                    INV3527229                    199.00


North Idaho Sprinklers
 10/04/2024     Bill Payment (Check)                                                    2391                          -60.00
 09/23/2024     Bill                                                                    23838092324                    60.00


Northwest Supply Company
 10/14/2024     Bill Payment (Check)                                                    2401                         -218.00
 09/17/2024     Bill                                                                    12894                         218.00
 10/29/2024     Bill Payment (Check)                                                    2418                         -108.00
 09/24/2024     Bill                             0826 North Idaho Eye - Post Falls      12915                         108.00
 11/14/2024     Bill Payment (Check)                                                    2439                         -537.60
 10/08/2024     Bill                                                                    12966                         263.00
 10/08/2024     Bill                                                                    12968                         129.60
 10/08/2024     Bill                                                                    12963                         145.00
 11/18/2024     Bill Payment (Check)                                                    2451                        -1,151.00
 10/08/2024     Bill                                                                    12964                          59.00

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 10/22/2024     Bill                                                                    13024                  1,092.00
 12/06/2024     Bill Payment (Check)                                                    2469                     -83.50
 11/06/2024     Bill                                                                    13078                     83.50
 12/12/2024     Bill Payment (Check)                                                    2475                    -585.35
 11/12/2024     Bill                                                                    13098                    512.75
 10/11/2024     Bill                                                                    12987                     72.60
 01/03/2025     Bill Payment (Check)                                                    3252                    -594.00
 12/03/2024     Bill                                                                    13150                    236.00
 12/03/2024     Bill                                                                    13151                     87.00
 12/03/2024     Bill                             Bloch                                  13152                    271.00


OCC Med Northwest Specialty Hospital
 10/29/2024     Bill Payment (Check)                                                    2411                     -30.00
 10/09/2024     Bill                                                                    10092024                  30.00
 12/06/2024     Bill Payment (Check)                                                    2473                     -30.00
 11/11/2024     Bill                                                                    11112024                  30.00


Online Labels
 10/15/2024     Bill Payment (Credit Card)                                                                      -105.57
 10/10/2024     Bill                                                                    7285178                  105.57


Outsource Management Inc dba Custom Insulation
 10/04/2024     Bill Payment (Check)                                                    2393                   -2,681.50
 09/27/2024     Bill                             Crooks 24-0094-STC                     11266                  2,681.50
 12/06/2024     Bill Payment (Check)                                                    2463                   -2,681.50
 10/31/2024     Bill                                                                    11343                  2,681.50


P Fleet
 10/01/2024     Bill Payment (Check)                                                                            -954.32
 09/29/2024     Bill                                                                    B053813                  954.32
 10/08/2024     Bill Payment (Check)                                                                           -1,037.95
 10/06/2024     Bill                                                                    B057602                1,037.95
 10/16/2024     Bill Payment (Check)                                                                           -1,846.81
 10/13/2024     Bill                                                                    B060504                1,846.81
 10/22/2024     Bill Payment (Check)                                                                           -1,409.55
 10/20/2024     Bill                                                                    B064279                1,409.55
 10/29/2024     Bill Payment (Check)                                                                           -1,870.86
 10/27/2024     Bill                                                                    B067173                1,870.86
 11/05/2024     Bill Payment (Check)                                                                            -761.88
 11/03/2024     Bill                                                                    B070942                  761.88
 11/13/2024     Bill Payment (Check)                                                                            -786.79
 11/10/2024     Bill                                                                    B073826                  786.79
 11/19/2024     Bill Payment (Check)                                                                            -484.05
 11/17/2024     Bill                                                                    B077572                  484.05


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 11/26/2024     Bill Payment (Check)                                                                            -567.89
 11/24/2024     Bill                                                                    B080453                  567.89
 12/03/2024     Bill Payment (Check)                                                                            -374.24
 11/30/2024     Bill                                                                    B083948                  374.24
 12/10/2024     Bill Payment (Check)                                                                            -957.35
 12/08/2024     Bill                                                                    B087006                  957.35
 12/17/2024     Bill Payment (Check)                                                                            -547.52
 12/15/2024     Bill                                                                    B090738                  547.52
 12/24/2024     Bill Payment (Check)                                                                            -432.58
 12/22/2024     Bill                                                                    B093611                  432.58
 12/31/2024     Bill Payment (Check)                                                                            -375.50
 12/29/2024     Bill                                                                    B096360                  375.50
 01/07/2025     Bill Payment (Check)                                                                            -320.47
 01/05/2025     Bill                                                                    B101806                  320.47
 01/07/2025     Bill Payment (Check)                                                                             -47.86
 12/31/2024     Bill                                                                    B099614                   47.86


Panda Express
 10/11/2024     Bill Payment (Credit Card)                                                                       -31.77
 10/10/2024     Bill                                                                                              31.77


PeopleReady Inc
 10/29/2024     Bill Payment (Check)                                                    2415                   -3,853.62
 10/22/2024     Bill                                                                    28893825                 680.10
 10/22/2024     Bill                                                                    28893826               1,112.71
 10/15/2024     Bill                                                                    28881738                 693.36
 10/15/2024     Bill                                                                    28881737               1,367.45


Performance Systems Integration LLC
 12/06/2024     Bill Payment (Check)                                                    2472                     -53.34
 08/29/2024     Bill                                                                    12627072                  53.34
 01/03/2025     Bill Payment (Check)                                                    3250                    -196.33
 11/27/2024     Bill                                                                    12644790                 196.33


Pioneer Packaging
 12/12/2024     Bill Payment (Check)                                                    2480                    -869.49
 11/11/2024     Bill                                                                    IN143169                 869.49


Pur Laundry
 10/10/2024     Bill Payment (Credit Card)                                                                       -50.00
 10/08/2024     Bill                                                                                              50.00
 10/10/2024     Bill Payment (Credit Card)                                                                      -100.00
 10/08/2024     Bill                                                                                             100.00



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Quincy Inn & Suites
 10/30/2024       Bill Payment (Credit Card)                                                                                -98.25
 10/29/2024       Bill                                                                    LH24102544012461                   98.25


Regence
 10/08/2024       Bill Payment (Check)                                                                                    -4,626.82
 09/20/2024       Bill                             AUTOPAY                                242560006216                    4,626.82
 11/06/2024       Bill Payment (Check)                                                                                    -4,626.82
 10/12/2024       Bill                             AUTOPAY                                242860060661                    4,626.82
 12/06/2024       Bill Payment (Check)                                                                                    -5,722.58
 11/12/2024       Bill                             AUTOPAY                                243170005520                    5,722.58
 01/07/2025       Bill Payment (Check)                                                                                    -6,030.72
 12/12/2024       Bill                             AUTOPAY                                243470037311                    6,030.72


Reliable Towing
 11/14/2024       Bill Payment (Check)                                                    2429                             -653.40
 10/28/2024       Bill                                                                    24-88341                          653.40


Renew Air
 12/06/2024       Bill Payment (Check)                                                    2467                             -499.00
 11/05/2024       Bill                                                                    1294                              499.00


RocketLevel, Inc
 10/12/2024       Bill Payment (Credit Card)                                                                              -3,500.00
 10/13/2024       Bill                                                                    23A9957C-0006                   3,500.00
 11/12/2024       Bill Payment (Credit Card)                                                                              -3,500.00
 11/13/2024       Bill                                                                    23A9957C-0007                   3,500.00
 12/12/2024       Bill Payment (Credit Card)                                                                              -3,500.00
 12/13/2024       Bill                                                                    4F18CB5-0001                    3,500.00


Ross Babcock
 10/14/2024       Bill Payment (Check)                                                    2397                              -45.00
 10/14/2024       Bill                                                                    Per Diem - Quincy                  45.00
 10/21/2024       Bill Payment (Check)                                                    2408                              -45.00
 10/21/2024       Bill                                                                    QUINCY-PER DIEM OCT22              45.00
 10/29/2024       Bill Payment (Check)                                                    2409                              -45.00
 10/28/2024       Bill                                                                    QUINCY - PER DIEM                  45.00


Safeway
 11/07/2024       Bill Payment (Credit Card)                                                                                -19.48
 11/07/2024       Bill                                                                                                       19.48




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Sawmill Grille & Spirits
 12/03/2024      Bill Payment (Credit Card)                                                                            -48.16
 12/03/2024      Bill                                                                                                  48.16


ServiceChannel
 10/24/2024      Bill Payment (Check)                                                                                   -4.00
 10/22/2024      Bill                             AUTOPAY                                INV01581624                     4.00
 11/26/2024      Bill Payment (Check)                                                                                   -4.00
 11/22/2024      Bill                             AUTOPAY                                INV01600929                     4.00
 12/24/2024      Bill Payment (Check)                                                                                   -4.00
 12/22/2024      Bill                             AUTOPAY                                INV01619937                     4.00


ServiceMaster
 10/04/2024      Bill Payment (Check)                                                                                 -125.00
 09/07/2024      Bill                                                                    CINV-0539564                 125.00
 10/04/2024      Bill Payment (Check)                                                                                 -180.00
 09/07/2024      Bill                                                                    CINV-0539618                 180.00
 10/04/2024      Bill Payment (Check)                                                                                 -625.00
 09/06/2024      Bill                                                                    CINV-0539057                 625.00
 10/21/2024      Bill Payment (Check)                                                                               -6,164.37
 10/08/2024      Bill                                                                                                6,164.37
 10/21/2024      Bill Payment (Check)                                                                                  -58.28
 10/08/2024      Bill                                                                                                  58.28
 10/21/2024      Bill Payment (Check)                                                                               -2,677.98
 10/08/2024      Bill                                                                                                2,677.98
 10/21/2024      Bill Payment (Check)                                                                                 -125.00
 09/30/2024      Bill                                                                    CINV-0548767                 125.00
 10/21/2024      Bill Payment (Check)                                                                           -13,379.90
 10/08/2024      Bill                                                                                               13,379.90
 10/21/2024      Bill Payment (Check)                                                                               -1,337.99
 10/08/2024      Bill                                                                                                1,337.99
 10/21/2024      Bill Payment (Check)                                                                                 -230.72
 10/08/2024      Bill                                                                                                 230.72
 10/21/2024      Bill Payment (Check)                                                                                 -582.75
 10/08/2024      Bill                                                                                                 582.75
 10/21/2024      Bill Payment (Check)                                                                                 -326.19
 10/08/2024      Bill                                                                                                 326.19
 10/21/2024      Bill Payment (Check)                                                                                  -30.75
 10/08/2024      Bill                                                                                                  30.75
 10/21/2024      Bill Payment (Check)                                                                               -3,251.03
 10/08/2024      Bill                                                                                                3,251.03
 10/21/2024      Bill Payment (Check)                                                                                 -101.95
 10/08/2024      Bill                                                                                                 101.95
 10/21/2024      Bill Payment (Check)                                                                               -1,331.56


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 10/08/2024   Bill                                                                                         1,331.56
 10/21/2024   Bill Payment (Check)                                                                          -307.51
 10/08/2024   Bill                                                                                          307.51
 10/21/2024   Bill Payment (Check)                                                                          -614.75
 10/08/2024   Bill                                                                                          614.75
 10/28/2024   Bill Payment (Check)                                                                          -707.00
 09/23/2024   Bill                                                              CINV-0546233                707.00
 10/28/2024   Bill Payment (Check)                                                                          -100.00
 10/08/2024   Bill                                                              CINV-0554935                100.00
 10/28/2024   Bill Payment (Check)                                                                          -100.00
 10/08/2024   Bill                                                              CINV-0554396                100.00
 10/28/2024   Bill Payment (Check)                                                                          -100.00
 10/08/2024   Bill                                                              CINV-0553992                100.00
 10/28/2024   Bill Payment (Check)                                                                          -100.00
 10/08/2024   Bill                                                              CINV-0553904                100.00
 10/28/2024   Bill Payment (Check)                                                                          -100.00
 10/08/2024   Bill                                                              CINV-0552571                100.00
 10/28/2024   Bill Payment (Check)                                                                          -100.00
 10/08/2024   Bill                                                              CINV-0551829                100.00
 10/28/2024   Bill Payment (Check)                                                                          -100.00
 10/08/2024   Bill                                                              CINV-0551734                100.00
 10/28/2024   Bill Payment (Check)                                                                          -100.00
 10/08/2024   Bill                                                              CINV-0551690                100.00
 10/28/2024   Bill Payment (Check)                                                                          -100.00
 10/08/2024   Bill                                                              CINV-0551438                100.00
 10/28/2024   Bill Payment (Check)                                                                           -15.00
 10/08/2024   Bill                                                              CINV-0563117                 15.00
 10/28/2024   Bill Payment (Check)                                                                           -15.00
 10/08/2024   Bill                                                              CINV-0556323                 15.00
 10/28/2024   Bill Payment (Check)                                                                           -15.00
 10/08/2024   Bill                                                              CINV-0557339                 15.00
 10/28/2024   Bill Payment (Check)                                                                           -15.00
 10/08/2024   Bill                                                              CINV-0558301                 15.00
 10/28/2024   Bill Payment (Check)                                                                           -15.00
 10/08/2024   Bill                                                              CINV-0558660                 15.00
 10/28/2024   Bill Payment (Check)                                                                           -15.00
 10/08/2024   Bill                                                              CINV-0558693                 15.00
 10/28/2024   Bill Payment (Check)                                                                           -15.00
 10/08/2024   Bill                                                              CINV-0560470                 15.00
 10/28/2024   Bill Payment (Check)                                                                           -15.00
 10/08/2024   Bill                                                              CINV-0562838                 15.00
 10/28/2024   Bill Payment (Check)                                                                           -15.00
 10/08/2024   Bill                                                              CINV-0562734                 15.00
 10/28/2024   Bill Payment (Check)                                                                           -15.00
 10/08/2024   Bill                                                              CINV-0562848                 15.00

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 11/14/2024   Bill Payment (Check)                                                                          -450.00
 09/30/2024   Bill                                                              CINV-0549312                 450.00
 11/14/2024   Bill Payment (Check)                                                                          -625.00
 09/30/2024   Bill                                                              CINV-0548367                 625.00
 11/20/2024   Bill Payment (Check)                                                                         -1,569.92
 11/10/2024   Bill                                                                                         1,569.92
 11/20/2024   Bill Payment (Check)                                                                         -5,999.08
 11/10/2024   Bill                                                                                         5,999.08
 11/20/2024   Bill Payment (Check)                                                                           -42.24
 11/10/2024   Bill                                                                                            42.24
 11/20/2024   Bill Payment (Check)                                                                          -238.34
 11/10/2024   Bill                                                                                           238.34
 11/20/2024   Bill Payment (Check)                                                                         -2,754.23
 11/10/2024   Bill                                                                                         2,754.23
 11/20/2024   Bill Payment (Check)                                                                          -920.97
 11/10/2024   Bill                                                                                           920.97
 11/20/2024   Bill Payment (Check)                                                                          -436.93
 11/10/2024   Bill                                                                                           436.93
 11/20/2024   Bill Payment (Check)                                                                           -27.23
 11/10/2024   Bill                                                                                            27.23
 11/20/2024   Bill Payment (Check)                                                                          -422.43
 11/10/2024   Bill                                                                                           422.43
 11/20/2024   Bill Payment (Check)                                                                          -121.81
 11/10/2024   Bill                                                                                           121.81
 11/20/2024   Bill Payment (Check)                                                                         -9,011.74
 11/10/2024   Bill                                                                                         9,011.74
 11/20/2024   Bill Payment (Check)                                                                          -594.09
 11/10/2024   Bill                                                                                           594.09
 11/20/2024   Bill Payment (Check)                                                                           -43.69
 11/10/2024   Bill                                                                                            43.69
 11/20/2024   Bill Payment (Check)                                                                          -272.25
 11/10/2024   Bill                                                                                           272.25
 11/21/2024   Bill Payment (Check)                                                                          -125.00
 10/31/2024   Bill                                                              CINV-0566095                 125.00
 11/21/2024   Bill Payment (Check)                                                                          -354.00
 10/21/2024   Bill                                                              CINV-0563472                 354.00
 11/21/2024   Bill Payment (Check)                                                                          -100.00
 10/28/2024   Bill                                                              CINV-0563794                 100.00
 11/21/2024   Bill Payment (Check)                                                                          -625.00
 10/31/2024   Bill                                                              CINV-0565790                 625.00
 11/21/2024   Bill Payment (Check)                                                                          -100.00
 11/08/2024   Bill                                                              CINV-0569015                 100.00
 11/21/2024   Bill Payment (Check)                                                                          -100.00
 11/08/2024   Bill                                                              CINV-0567718                 100.00
 11/21/2024   Bill Payment (Check)                                                                          -100.00

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 11/08/2024   Bill                                                              CINV-0567747                 100.00
 11/21/2024   Bill Payment (Check)                                                                          -100.00
 11/08/2024   Bill                                                              CINV-0567781                 100.00
 11/21/2024   Bill Payment (Check)                                                                          -100.00
 11/08/2024   Bill                                                              CINV-0570085                 100.00
 11/21/2024   Bill Payment (Check)                                                                          -100.00
 11/08/2024   Bill                                                              CINV-0571185                 100.00
 12/19/2024   Bill Payment (Check)                                                                          -125.00
 11/30/2024   Bill                                                              CINV-0574896                 125.00
 12/19/2024   Bill Payment (Check)                                                                          -751.00
 11/21/2024   Bill                                                              CINV-0572476                 751.00
 12/20/2024   Bill Payment (Check)                                                                          -667.38
 12/10/2024   Bill                                                                                           667.38
 12/20/2024   Bill Payment (Check)                                                                         -2,474.82
 12/10/2024   Bill                                                                                         2,474.82
 12/20/2024   Bill Payment (Check)                                                                           -28.22
 12/10/2024   Bill                                                                                            28.22
 12/20/2024   Bill Payment (Check)                                                                          -603.85
 12/10/2024   Bill                                                                                           603.85
 12/20/2024   Bill Payment (Check)                                                                          -164.49
 12/10/2024   Bill                                                                                           164.49
 12/20/2024   Bill Payment (Check)                                                                          -247.48
 12/10/2024   Bill                                                                                           247.48
 12/20/2024   Bill Payment (Check)                                                                         -1,439.75
 12/10/2024   Bill                                                                                         1,439.75
 12/20/2024   Bill Payment (Check)                                                                          -282.15
 12/10/2024   Bill                                                                                           282.15
 12/20/2024   Bill Payment (Check)                                                                          -110.97
 12/10/2024   Bill                                                                                           110.97
 12/20/2024   Bill Payment (Check)                                                                         -1,644.90
 12/10/2024   Bill                                                                                         1,644.90
 12/20/2024   Bill Payment (Check)                                                                         -2,749.61
 12/10/2024   Bill                                                                                         2,749.61
 12/20/2024   Bill Payment (Check)                                                                         -6,077.13
 12/10/2024   Bill                                                                                         6,077.13
 12/20/2024   Bill Payment (Check)                                                                           -66.74
 12/10/2024   Bill                                                                                            66.74
 12/20/2024   Bill Payment (Check)                                                                          -237.88
 12/10/2024   Bill                                                                                           237.88
 12/20/2024   Bill Payment (Check)                                                                          -100.00
 12/08/2024   Bill                                                              CINV-0580182                 100.00
 12/20/2024   Bill Payment (Check)                                                                          -100.00
 12/08/2024   Bill                                                              CINV-0580020                 100.00
 12/20/2024   Bill Payment (Check)                                                                          -625.00
 11/30/2024   Bill                                                              CINV-0573143                 625.00

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 12/20/2024    Bill Payment (Check)                                                                                -100.00
 12/08/2024    Bill                                                                    CINV-0579858                100.00
 12/20/2024    Bill Payment (Check)                                                                                -100.00
 12/08/2024    Bill                                                                    CINV-0579108                100.00
 12/20/2024    Bill Payment (Check)                                                                                -100.00
 12/08/2024    Bill                                                                    CINV-0578325                100.00
 12/20/2024    Bill Payment (Check)                                                                                -100.00
 12/08/2024    Bill                                                                    CINV-0577042                100.00
 12/20/2024    Bill Payment (Check)                                                                                -100.00
 12/08/2024    Bill                                                                    CINV-0578744                100.00
 12/20/2024    Bill Payment (Check)                                                                                 -15.00
 12/08/2024    Bill                                                                    CINV-0581924                 15.00
 12/20/2024    Bill Payment (Check)                                                                                 -15.00
 12/08/2024    Bill                                                                    CINV-0583003                 15.00
 12/20/2024    Bill Payment (Check)                                                                                 -15.00
 12/08/2024    Bill                                                                    CINV-0584280                 15.00
 12/20/2024    Bill Payment (Check)                                                                                 -15.00
 12/08/2024    Bill                                                                    CINV-0586285                 15.00
 12/20/2024    Bill Payment (Check)                                                                                 -15.00
 12/08/2024    Bill                                                                    CINV-0586237                 15.00
 12/20/2024    Bill Payment (Check)                                                                                 -15.00
 12/08/2024    Bill                                                                    CINV-0585960                 15.00
 12/20/2024    Bill Payment (Check)                                                                                 -15.00
 12/08/2024    Bill                                                                    CINV-0582485                 15.00
 12/20/2024    Bill Payment (Check)                                                                                 -15.00
 12/08/2024    Bill                                                                    CINV-0584722                 15.00
 12/20/2024    Bill Payment (Check)                                                                                 -15.00
 12/08/2024    Bill                                                                    CINV-0585441                 15.00
 12/20/2024    Bill Payment (Check)                                                                                -100.00
 12/08/2024    Bill                                                                    CINV-0580234                100.00
 12/20/2024    Bill Payment (Check)                                                                                -100.00
 12/08/2024    Bill                                                                    CINV-0580378                100.00
 12/20/2024    Bill Payment (Check)                                                                                -100.00
 12/08/2024    Bill                                                                    CINV-0580356                100.00
 12/20/2024    Bill Payment (Check)                                                                                -100.00
 12/08/2024    Bill                                                                    CINV-0580293                100.00


ServiceMaster Product Ordering
 12/27/2024    Bill Payment (Credit Card)                                                                          -366.09
 12/27/2024    Bill                                                                    VP_P165V5CL                 366.09


Signpost
 10/04/2024    Bill Payment (Credit Card)                                                                          -169.63
 10/03/2024    Bill                                                                    221673                      169.63


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 11/04/2024    Bill Payment (Credit Card)                                                                           -193.38
 11/01/2024    Bill                                                                                                 193.38


Silverlake Automotive
 10/14/2024    Bill Payment (Check)                                                    2395                         -136.46
 10/11/2024    Bill                                                                    WO#16104                     136.46
 10/29/2024    Bill Payment (Check)                                                    2412                         -356.70
 10/14/2024    Bill                                                                    WO#16103                     138.55
 10/22/2024    Bill                                                                    WO#16344                     218.15
 11/14/2024    Bill Payment (Check)                                                    2432                         -281.93
 11/07/2024    Bill                                                                    WO#16486                     125.37
 10/31/2024    Bill                                                                    WO#16380                     156.56


Spectrum Business
 10/22/2024    Bill Payment (Credit Card)                                                                           -179.97
 10/03/2024    Bill                             AUTOPAY                                0608516100324                179.97
 11/22/2024    Bill Payment (Credit Card)                                                                           -179.97
 11/03/2024    Bill                             AUTOPAY                                0608516110324                179.97
 12/23/2024    Bill Payment (Credit Card)                                                                           -179.97
 12/03/2024    Bill                             AUTOPAY                                0608516120324                179.97


Spokane Forklift
 12/12/2024    Bill Payment (Check)                                                    2476                         -232.99
 11/15/2024    Bill                                                                    INV-0020430                  232.99


Staples
 10/04/2024    Bill Payment (Credit Card)                                                                           -131.87
 10/01/2024    Bill                                                                    7642089842                   131.87
 10/07/2024    Bill Payment (Credit Card)                                                                           -450.72
 10/03/2024    Bill                                                                    7642339894                   450.72
 10/07/2024    Bill Payment (Credit Card)                                                                           -585.76
 10/04/2024    Bill                                                                    7642452657                   585.76
 10/11/2024    Bill Payment (Credit Card)                                                                           -802.40
 10/08/2024    Bill                                                                    7908093253                   802.40
 10/14/2024    Bill Payment (Credit Card)                                                                           -173.38
 10/10/2024    Bill                                                                    7642911247                   173.38
 10/18/2024    Bill Payment (Credit Card)                                                                           -344.18
 10/14/2024    Bill                             0830 WA12 Vantage                      7643145571                   344.18
 10/18/2024    Bill Payment (Credit Card)                                                                           -188.15
 10/14/2024    Bill                             0833 WA13 Vantage                      7643145534                   188.15
 10/25/2024    Bill Payment (Credit Card)                                                                           -219.66
 10/21/2024    Bill                                                                    7643753016                   219.66
 11/01/2024    Bill Payment (Credit Card)                                                                           -235.86
 10/28/2024    Bill                                                                    7644388328                   235.86


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 11/01/2024    Bill Payment (Credit Card)                                                                             -75.12
 10/28/2024    Bill                                                                    7644390181                     75.12
 11/07/2024    Bill Payment (Credit Card)                                                                            -252.22
 11/04/2024    Bill                                                                    7644875994                    252.22
 11/07/2024    Bill Payment (Credit Card)                                                                            -210.72
 11/04/2024    Bill                                                                    7644876639                    210.72
 11/16/2024    Bill Payment (Credit Card)                                                                            -337.76
 11/10/2024    Bill                                                                    7645372858                    337.76
 11/16/2024    Bill Payment (Credit Card)                                                                            -161.34
 11/05/2024    Bill                                                                    7644985081                    161.34
 11/18/2024    Bill Payment (Credit Card)                                                                            -418.68
 11/15/2024    Bill                                                                    7645822800                    418.68
 11/25/2024    Bill Payment (Credit Card)                                                                            -298.42
 11/22/2024    Bill                                                                    7646364111                    298.42
 12/09/2024    Bill Payment (Credit Card)                                                                            -154.89
 12/05/2024    Bill                                                                    7647269429                    154.89


State Insurance Fund
 11/14/2024    Bill Payment (Check)                                                    2444                        -4,699.00
 10/21/2024    Bill                                                                    29233405                     4,699.00


Symbility Solutions Corp
 10/04/2024    Bill Payment (Credit Card)                                                                             -30.00
 09/30/2024    Bill                                                                    INV02146661                    30.00
 12/04/2024    Bill Payment (Credit Card)                                                                             -45.00
 11/30/2024    Bill                                                                    INV02215913                    45.00


Tall Pines Remodel & Restoration, LLC
 10/29/2024    Bill Payment (Credit Card)                                                                      -12,582.33
 10/29/2024    Bill                             Bentley Bldg A 24-0042-STR             1254                        12,582.33


Target
 10/31/2024    Bill Payment (Credit Card)                                                                             -21.52
 10/31/2024    Bill                                                                                                   21.52


Terminix
 10/10/2024    Bill Payment (Credit Card)                                                                             -75.00
 10/10/2024    Bill                                                                                                   75.00
 11/12/2024    Bill Payment (Credit Card)                                                                             -75.00
 11/08/2024    Bill                                                                    WO#2052616250                  75.00
 12/17/2024    Bill Payment (Credit Card)                                                                             -75.00
 12/14/2024    Bill                                                                    2063926162                     75.00




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The Chrono-Tek Company, Inc
 10/02/2024     Bill Payment (Credit Card)                                                                            -369.00
 10/01/2024     Bill                                                                    257300                         369.00
 11/02/2024     Bill Payment (Credit Card)                                                                            -364.00
 11/01/2024     Bill                                                                    258363                         364.00
 12/02/2024     Bill Payment (Credit Card)                                                                            -384.00
 12/01/2024     Bill                                                                    259406                         384.00
 01/04/2025     Bill Payment (Credit Card)                                                                            -389.00
 01/01/2025     Bill                                                                    260439                         389.00


The Sherwin-Williams Company
 11/18/2024     Bill Payment (Check)                                                    2450                          -545.23
 10/10/2024     Bill                                                                    OE0043063A721465               174.20
 10/09/2024     Bill                                                                    OE0043026A721465               371.03


Thermal-King Inc.
 10/29/2024     Bill Payment (Check)                                                    2414                          -277.00
 10/21/2024     Bill                                                                    10003778                       277.00
 11/14/2024     Bill Payment (Check)                                                    2440                          -628.46
 11/08/2024     Bill                                                                    10003899                       628.46
 12/26/2024     Bill Payment (Credit Card)                                                                           -4,250.00
 12/24/2024     Bill                                                                    10004217                     4,250.00


Tractor Supply Co
 10/08/2024     Bill Payment (Credit Card)                                                                             -17.93
 10/08/2024     Bill                                                                    12667                           17.93


Verification Services Inc
 11/01/2024     Bill Payment (Credit Card)                                                                            -299.00
 10/31/2024     Bill                                                                    A-9CC-13750-20241031           299.00
 12/02/2024     Bill Payment (Credit Card)                                                                            -350.00
 11/30/2024     Bill                                                                    A-9CC-13750-20241130           350.00
 01/02/2025     Bill Payment (Credit Card)                                                                            -267.00
 12/31/2024     Bill                                                                    A-9CC-13750-20241231           267.00


Verizon Connect
 10/17/2024     Bill Payment (Credit Card)                                                                            -375.00
 10/01/2024     Bill                                                                    6230000065893                  375.00
 11/19/2024     Bill Payment (Credit Card)                                                                            -375.00
 11/01/2024     Bill                                                                    6150000065190                  375.00
 12/17/2024     Bill Payment (Credit Card)                                                                            -375.00
 12/02/2024     Bill                                                                    30200000067396                 375.00




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Verizon Wireless
 10/23/2024    Bill Payment (Credit Card)                                                                        -966.92
 10/02/2024    Bill                                                                    9975369894                966.92
 11/23/2024    Bill Payment (Credit Card)                                                                        -966.92
 11/02/2024    Bill                                                                    9977809358                966.92
 12/23/2024    Bill Payment (Credit Card)                                                                        -966.92
 12/02/2024    Bill                                                                    6100215426                966.92


Walmart
 10/14/2024    Bill Payment (Credit Card)                                                                         -44.17
 10/12/2024    Bill                                                                                               44.17
 10/14/2024    Bill Payment (Credit Card)                                                                        -103.68
 10/13/2024    Bill                                                                                              103.68
 11/15/2024    Bill Payment (Credit Card)                                                                         -33.23
 11/15/2024    Bill                                                                                               33.23
 11/15/2024    Bill Payment (Credit Card)                                                                         -43.25
 11/14/2024    Bill                                                                                               43.25
 11/19/2024    Bill Payment (Credit Card)                                                                        -189.69
 11/19/2024    Bill                                                                                              189.69
 11/22/2024    Bill Payment (Credit Card)                                                                         -81.20
 11/21/2024    Bill                                                                                               81.20
 11/25/2024    Bill Payment (Credit Card)                                                                         -17.92
 11/25/2024    Bill                                                                                               17.92
 11/29/2024    Bill Payment (Credit Card)                                                                         -21.13
 11/27/2024    Bill                                                                                               21.13
 12/05/2024    Bill Payment (Credit Card)                                                                          -1.25
 12/05/2024    Bill                                                                                                1.25
 12/11/2024    Bill Payment (Credit Card)                                                                        -136.74
 12/11/2024    Bill                                                                                              136.74
 12/11/2024    Bill Payment (Credit Card)                                                                          -8.44
 12/11/2024    Bill                                                                                                8.44
 12/13/2024    Bill Payment (Credit Card)                                                                         -94.50
 12/13/2024    Bill                                                                                               94.50
 12/17/2024    Bill Payment (Credit Card)                                                                         -90.68
 12/17/2024    Bill                                                                                               90.68
 12/20/2024    Bill Payment (Credit Card)                                                                         -72.40
 12/20/2024    Bill                                                                                               72.40
 01/06/2025    Bill Payment (Credit Card)                                                                        -124.49
 01/05/2025    Bill                                                                                              124.49


Walter E Nelson Co.
 11/14/2024    Bill Payment (Check)                                                    2441                      -948.85
 10/15/2024    Bill                                                                    534704                    807.49
 10/15/2024    Bill                                                                    534705                    141.36


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 11/18/2024    Bill Payment (Check)                                                    2452                            -53.68
 10/23/2024    Bill                                                                    535220                           53.68
 12/06/2024    Bill Payment (Check)                                                    2470                            -95.04
 11/07/2024    Bill                                                                    536297                           70.68
 11/12/2024    Bill                                                                    536568                           24.36
 12/20/2024    Bill Payment (Check)                                                    2493                           -278.76
 11/20/2024    Bill                                                                    537410                          278.76


Washington Secretary of State
 11/01/2024    Bill Payment (Check)                                                                                      -3.84
 10/30/2024    Bill                                                                                                      3.84


William York
 10/14/2024    Bill Payment (Check)                                                    2403                            -45.00
 10/18/2024    Bill                                                                    Per Diem - Moses Lake            45.00


Wood Run Renovate & Repair LLC
 11/04/2024    Bill Payment (Check)                                                    2425                          -4,828.43
 10/22/2024    Bill                                                                    1022                            247.77
 10/22/2024    Bill                                                                    1045a                         2,308.77
 10/22/2024    Bill                                                                    1008a                         2,271.89


Xactware Solutions, Inc
 10/29/2024    Bill Payment (Check)                                                    2420                           -566.45
 09/30/2024    Bill                                                                    XUS01207153                     144.45
 09/30/2024    Bill                                                                    XUS01081842                     422.00
 11/14/2024    Bill Payment (Check)                                                    2433                          -1,108.21
 10/31/2024    Bill                                                                    XUS01684952                     264.21
 11/01/2024    Bill                                                                    XUS01402023                     844.00
 12/06/2024    Bill Payment (Check)                                                    2465                           -422.00
 12/01/2024    Bill                                                                    XUS01715989                     422.00
 12/12/2024    Bill Payment (Check)                                                    2477                           -153.96
 11/30/2024    Bill                                                                    XUS01998896                     153.96
 01/08/2025    Bill Payment (Check)                                                    3260                           -526.61
 12/31/2024    Bill                                                                    XUS02290290                     104.61
 01/01/2025    Bill                                                                    XUS02029390                     422.00


Yokes Market
 10/07/2024    Bill Payment (Credit Card)                                                                                -4.48
 10/07/2024    Bill                                                                                                      4.48
 10/15/2024    Bill Payment (Credit Card)                                                                              -33.98
 10/14/2024    Bill                                                                                                     33.98
 10/23/2024    Bill Payment (Credit Card)                                                                                -6.36
 10/23/2024    Bill                                                                                                      6.36

                                            Thursday, January 9, 2025 02:56 PM GMT-08:00                                32/33
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                       ServiceMaster Cleaning & Restoration by Roome
                                                  Bills and Applied Payments
                                                 October 1, 2024 - January 9, 2025


DATE          TRANSACTION TYPE                 MEMO/DESCRIPTION                       NUM               AMOUNT
 10/30/2024   Bill Payment (Credit Card)                                                                 -16.94
 10/29/2024   Bill                                                                                        16.94




                                           Thursday, January 9, 2025 02:56 PM GMT-08:00                   33/33
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                                                      United States Bankruptcy Court
                                                                      District of Idaho
 In re    ROOME ENTERPIRSES, INC.                                                                                 Case No.
                                                                                Debtor(s)                         Chapter        11

                                                  LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

Name and last known address or place of                     Security Class Number of Securities                              Kind of Interest
business of holder
Adolphe Roome                                                                     21.3%                                      Shares
5974 W. Seltice Way
Post Falls, ID 83854

Roome Enterprises 401K Plan                                                       78.7%
5974 W Seltice Way
Post Falls, ID 83854


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the Owner/President of the corporation named as the debtor in this case, declare under penalty of perjury that I
have read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and
belief.



Date January 14, 2025                                                    Signature /s/ Adolphe R Roome
                                                                                        Adolphe R Roome

                   Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                    18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                                               United States Bankruptcy Court
                                                            District of Idaho
 In re   ROOME ENTERPIRSES, INC.                                                                Case No.
                                                                    Debtor(s)                   Chapter      11




                                   VERIFICATION OF CREDITOR MATRIX


I, the Owner/President of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and

correct to the best of my knowledge.




Date:     January 14, 2025                              /s/ Adolphe R Roome
                                                        Adolphe R Roome/Owner/President
                                                        Signer/Title
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C
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1
k
b
}




                        A1 Construction
                        6410 N Monroe
                        Spokane, WA 99208



                        ABF Frieght System
                        400 N Sycamore St
                        Spokane, WA 99202



                        Acrisure LLC / Dickinson Ins
                        609 N Syringa Street
                        Post Falls, ID 83854



                        Adolphe Roome
                        PO Box 1799
                        Post Falls, ID 83877



                        Adolphe Roome
                        23207 E. Valleyway Ave
                        Liberty Lake, WA 99019



                        Advanced Equipment Supplies
                        P.O. Box 2531
                        Spokane, WA 99220



                        Advent Luthern Church
                        13009 E Broadway
                        Spokane, WA 99216



                        Agile Facility Solutions 701
                        405 W Neider Ave
                        Coeur D Alene, ID 83815



                        Agile Facility Solutions 702
                        210 W Cataldo Ave
                        Spokane, WA 99201
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                    Agile Facility Solutions 703
                    11921 N Division St
                    Suite 300
                    Spokane, WA 99218



                    Agile Facility Solutions 704
                    12117 East Mission Ave
                    Spokane Valley, WA 99206



                    Air Tech Abatement Tech
                    55 E Lincoln Rd #106
                    Spokane, WA 99208



                    Air Tech Abatement Technolog
                    55 E Lincoln Rd #106
                    Spokane, WA 99208



                    Allen Family Properties
                    319 W Hastings Rd
                    Spokane, WA 99218



                    Altium Packaging
                    3808 N Sullivan Rd, Bldg 8A
                    Spokane, WA 99212



                    AMCAPLA Mountain View Villag
                    393 Larkspur, Unit C
                    Ponderay, ID 83852



                    American Express
                    P.O. BOX 981535
                    El Paso, TX 79998-1535



                    American Express
                    P.O. BOX 60189
                    City of Industry, CA 91716-0189
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                    ANDRITZ Hydro Corporation
                    157088 E Marietta Lane
                    Spokane, WA 99216



                    Area Agencyon Aging
                    402 W Canfield Ave, Suite 1
                    Coeur D Alene, ID 83815



                    Auto B Clean
                    17 N Ralph St
                    Spokane, WA 99202



                    Avista
                    1411 E. Mission Ave
                    Spokane, WA 99252-0001



                    Bartlett Roofing
                    12409 E Mirabeau Pkwy
                    Suite 300
                    Spokane, WA 99216



                    Berkovitich Bouskila, PLLC
                    Attn: Ariel Bouskila
                    1545 U.S. 202, Ste. 101
                    Pomona, NY 10970



                    Bimbo Bakery
                    3372 Road L NE
                    Moses Lake, WA 98837



                    Bloch Liberty Lake, LLC
                    22425 E Appleway
                    Liberty Lake, WA 99019



                    Brian Davis
                    14180 N. Spiral Ridge Trail
                    Rathdrum, ID 83858
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                    Brian Davis
                    14180 N Spiral Ridge Trail
                    Rathdrum, ID 83858



                    Captiol One
                    P.O. Box 60519
                    City of Industry, CA 91716-0519



                    Carolynne Jameson
                    1608 5th Street
                    Cheney, WA 99004



                    CDA Chamber of Commerce
                    105 N 1st Street
                    Coeur D Alene, ID 83814



                    CDA Golf Club, Inc.
                    2321 Fairway Dr
                    Coeur D Alene, ID 83815



                    CED
                    701 W Third Ave
                    Moses Lake, WA 98837



                    Charles Regalado
                    6817 N Cedar, Suite 202
                    Spokane, WA 99208



                    Charter Communications
                    PO BOX 60074
                    City of Industry, CA 91716-0074



                    Church ONE
                    15601 E 24th Ave
                    Spokanne Valley, WA 99037
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                    City of Post Falls
                    PO Box 789
                    Post Falls, ID 83877



                    Coer d'Alene Builders Supply
                    655 W Clayton Ave
                    Coeur D Alene, ID 83815



                    Coleman Oil
                    1725 N Dickey
                    Spokane, WA 99212



                    Continental Door Company
                    12718 E Indianna Ave
                    Spokane, WA 99216



                    Convoy Supply
                    3919 N Sullivan Rd
                    Spokane, WA 99216



                    Cooperative Supply, Inc/
                    Cenex
                    5831 Government Way
                    Coeur D Alene, ID 83814



                    Corwin Ford of Spokane
                    8300 E Sprague
                    Spokane, WA 99212



                    CTC Electrical Contracting
                    1423 N Molter Rd, Suite 813
                    Liberty Lake, WA 99019



                    Culligan Water LLC
                    991 E Best Ave
                    Coeur D Alene, ID 83814
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                    Diversity Services LLC
                    14180 N. Spiral Ridge Trail
                    Rathdrum, ID 83858



                    Dorothy Powell
                    6218 9th Street
                    Zephyrhills, FL 33542



                    EB Bradley
                    11016 E Montgomery Dr.
                    Suite 104
                    Spokane, WA 99206



                    Edward Margaret Fry
                    3434 N OConner Blvd
                    Spokane, WA 99202



                    Edward J Susan L Gray
                    7319 E Rutter Ave
                    Spokane, WA 99212



                    Ellenbecker Eye Clinic
                    2020 W Riverstone Dr
                    Coeur D Alene, ID 83814



                    EPIC Land Solutions
                    12310 E Mirabeau Pkwy
                    Suite 150
                    Spokane, WA 99216



                    Exbabylon IT Solutions
                    204 W Walnut St. Suite D
                    Newport, WA 99156



                    Exbabylon IT Solutions
                    204 W Walnut St. Suite C
                    Newport, WA 99156
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                    EZ Loader Boat Trailers
                    717 N Hamilton St
                    Spokane, WA 99202



                    Fed Ex West
                    16621 E Euclid Ave
                    Spokane, WA 99216



                    FedEx Ground
                    4005 N Moore Rd
                    Spokane, WA 99216



                    Ferguson Enterprises, LLC 08
                    14778 E Indiana Ave
                    Spokane Valley, WA 99216



                    Ferguson Enterprises, LLC 37
                    2304 N Dollar Road
                    Spokane, WA 99212



                    FiberTel LLC
                    14199 N Thayer Rd
                    Rathdrum, ID 83858



                    First Bank of the Lake
                    4558 Osage Beach Parkway,
                    Suite 100
                    Osage Beach, MO 65065



                    First Bank of the Lake
                    1088 N Church St
                    Greenville, SC 29601



                    Ford Credit
                    P.O. BOX 650575
                    Dallas, TX 75265-0575
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                    Ford Credit
                    P.O. BOX 650574
                    Dallas, TX 75265-0575



                    Franz Bakeries
                    5907 E 4th Ave
                    Spokane, WA 99212



                    Fred's Appliance Corporate
                    2525 N Monroe St
                    Spokane, WA 99205



                    Fulcrum Environmental Conslt
                    207 W Boone Ave
                    Spokane, WA 99201



                    GM Financial
                    PO BOX 78143
                    Phoenix, AZ 85062-8143



                    GM Financial
                    PO Box 1510
                    Cockeysville, MD 21030



                    Guidant Financial Group
                    2404 Bank Drive, Suite 310
                    Boise, ID 83705



                    Guidant Financial Group
                    2404 Bank Dr. Suite 310
                    Boise, ID 83705



                    H. James Magnuson
                    1250 Northwood Center Court
                    Coeur D Alene, ID 83814
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                    Hiscox Insurance Co Inc.
                    30 North LaSalle St.
                    Suite 1760
                    Chicago, IL 60602



                    Home Appliance Tech
                    PO Box 2622
                    Post Falls, ID 83877



                    HRS Group Trust
                    c/o Paycheck Connection
                    254 W Hanley Ave
                    Coeur D Alene, ID 83815



                    Idaho State Tax Commission
                    Attn: Bankruptcy
                    P.O. Box 36
                    Boise, ID 83722-0410



                    Internal Revenue Service
                    Centralized Insolvency
                    PO Box 7346
                    Philadelphia, PA 19101



                    Janette Hall
                    304 N Greensferry Rd
                    Post Falls, ID 83854



                    Jason McGeary
                    3411 W Pine Hill Dr.
                    Coeur D Alene, ID 83815



                    Jason McGeary
                    3411 W Pine Hill Dr
                    Coeur D Alene, ID 83815



                    Jordan Tractor
                    715 N Pleasant View Rd
                    Post Falls, ID 83854
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                    Judith Jerry Stark
                    6799 Clagstone Rd
                    Athol, ID 83801



                    Kalamata Capitol Group
                    1 Blue Hill Plaza
                    Lobby Level #1509
                    Pearl River, NY 10965



                    Kenneth Powell
                    3224 S Pines Rd
                    Spokane, WA 99206



                    Kimball Euipment Company
                    520 N Dyer Rd
                    Spokane, WA 99212



                    King Beverage
                    789 N Central Dr
                    Moses Lake, WA 98837



                    King Beverage, Inc
                    6715 E Missions Ave
                    Spokane, WA 99212



                    Legacy Heathing Cooling- N
                    88 E Westview Ave
                    Spokane, WA 99218



                    Legacy Heating Cooling
                    110 W Lions Way
                    Hayden, ID 83835



                    Liberty Mutual Insurance
                    175 Berkeley Street
                    Boston, MA 02166
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                    Limantzakis Properties
                    601 S Pioneer Way, Suite P
                    Moses Lake, WA 98837



                    Lincoln Hopsital District 66
                    550 E Broadway Ave
                    Reardan, WA 99029



                    Lincoln Hospital District 65
                    214 SW Main St
                    Wilbur, WA 99185



                    Maddie's Place
                    1004 E 8th Ave
                    Spokane, WA 99202



                    Maul Foster Alongi
                    601 Front Ave, Suite 202
                    Coeur D Alene, ID 83814



                    Michael Gerhard
                    14411 E 23rd Ave
                    Veradale, WA 99037



                    Mike Mary Duval
                    1525 E Skyview Ln
                    Hayden, ID 83835



                    Miles Teller
                    6467 S Gozzer Rd
                    Harrison, ID 83833



                    Montgomery Hardware
                    9110 E. Montgomery Ave
                    Spokane, WA 99206
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                    Montgomery Realty, LLC
                    c/o Leavitt Capital Co
                    11016 E Montgomery Dr.
                    Spokane, WA 99206



                    N M Services LLC
                    14180 N. Spiral Trail
                    Rathdrum, ID 83858



                    N M Services LLC
                    14180 N Spiral Ridge Trail
                    Rathdrum, ID 83858



                    Nabrisco Brands/Mondelez/
                    A. Anthony Corp.
                    412 N Haven
                    Spokane, WA 99202



                    NAI Black-CDA
                    105 N 1st Street, Suite 300
                    Coeur D Alene, ID 83814



                    Newport Alarm
                    204 W. Walnut St.
                    Newport, WA 99156



                    Norco CDA
                    206 W Ironwood Dr, Suite F
                    Coeur D Alene, ID 83814



                    Norco- Spokanne Valley
                    12610 E Mirabeau Pkwy,
                    Suite 500
                    Spokane, WA 99216



                    Norhwest Dematology
                    757 E Holland
                    Spokane, WA 99218
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                    North Idaho College- Rec Cen
                    1000 W Garden Ave
                    Coeur D Alene, ID 83814



                    North Idaho Eye Institute 18
                    8379 N Government Way
                    Hayden, ID 83835



                    North Idaho Eye Institute 26
                    1901 E Seltice Way
                    Post Falls, ID 83854



                    North Kootenai Water      Sewer
                    13649 N Meyer Rd
                    Rathdrum, ID 83858



                    Northwest Supply Company
                    P.O. Box 2131
                    Hayden, ID 83835



                    NW Trailer Center
                    P.O. Box 11096
                    Spokane, WA 99211



                    On Trac
                    4310 S Grove Rd
                    Spokane, WA 99224



                    ONE - North
                    6311 E Mt Spokane Park Drive
                    Mead, WA 99021



                    Out Front Media
                    15320 E Marietta, Suite 2
                    Spokane Valley, WA 99206
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                    OXARC
                    1500 E Wheeler Rd
                    Moses Lake, WA 98837



                    Palms Specialty Insurance Co
                    700 Universe Blvd.
                    North Palm Beach, FL 33408



                    Palms Specialty Insurance Co
                    Attn: Gallagher Basset
                    PO Box 2934
                    Clinton, IA 52733-2394



                    Palms Specialty Insurance Co
                    700 Universe Blvd.
                    Juno Beach, FL 33408



                    Pass Word (Sound Telecom)
                    1303 W 1st Ave
                    Spokane, WA 99201



                    Perrine Court Apartments
                    1191 E Mansfield Ave
                    Spokane, WA 99206



                    Pinecroft LLC 01
                    3309 Cherry St
                    Spokane Valley, WA 99216



                    Pinecroft LLC 011
                    12709 E Mirabeau Pkwy
                    Suite 30
                    Spokane Valley, WA 99216



                    Pinecroft LLC 013
                    12709 E Mirabeau Pkwy
                    Suite 10
                    Spokane Valley, WA 99216
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                    Pinecroft LLC 02
                    12409 E Mirabeau Pkwy
                    Suite 100
                    Spokane Valley, WA 99216



                    Pinecroft LLC 03
                    12709 E Mirabeau Pkwy
                    Suite 20
                    Spokane Valley, WA 99216



                    Pinecroft LLC 04
                    12509 E Mirabeau Pkwy
                    Bldg 4
                    Spokane Valley, WA 99216



                    Pinecroft LLC 05
                    12409 E Mirabeau Pkwy
                    Bldg 8
                    Spokane Valley, WA 99216



                    Pinecroft LLC 06
                    112939 E Pinecroft Way
                    Spokane Valley, WA 99216



                    Pinecroft LLC 07
                    12939 E Pinecroft Way
                    Suite 200
                    Spokane Valley, WA 99216



                    PineCroft LLC 08
                    12709 E Mirabeau Pkwy
                    Bldg 13
                    Spokane Valley, WA 99216



                    Post Falls ER Hospital
                    497 S Beck Rd
                    Post Falls, ID 83854
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                    Post Falls Vokswagen
                    811 N Greensferry Rd
                    Post Falls, ID 83854



                    Providence Moses Lake
                    821 E Broadway, Suite 5
                    Moses Lake, WA 98837



                    Regence Blue Shield of Idaho
                    1602 21st Avenue
                    Lewiston, ID 83501



                    Renewal by Andersen
                    10914 E Montgomery
                    Spokane, WA 99206



                    Robyn Brandstrom
                    4017 E Pratt Ave
                    Spokane, WA 99202



                    Safelite (Northside)
                    7777 N Division St
                    Spokane, WA 99208



                    Safelite Auto Glass
                    16311 E Euclid Ave, Suite D
                    Spokane Valley, WA 99216



                    SAIA
                    111 N Ella Rd
                    Spokane, WA 99212



                    Sandis Civil Engineers
                    708 N Argonne Rd, Suite 5
                    Spokane, WA 99212
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                    SEL
                    13518 E Indiana Ave
                    Spokane, WA 99216



                    ServiceMaster Clean/Restore
                     One Glenlake Parkway
                    14th Floor
                    Atlanta, GA 30328



                    Silverlake Automotive 819
                    1603 E Sherman Ave
                    Coeur D Alene, ID 83814



                    Silverlake Automotive 820
                    3380 E Mullan Ave
                    Post Falls, ID 83854



                    Silverlake Automotive 821
                    274 W Hanley Ave
                    Coeur D Alene, ID 83815



                    Silverlake Automotive 835
                    7083 Main St
                    Rathdrum, ID 83858



                    Sound Telecom
                    524 W Indian Ave
                    Spokane, WA 99205



                    Spectrum
                    PO Box 60075
                    City of Industry, CA 91716-0074



                    Spokane Packaging
                    3808 N Sullivan Rd, Bldg. 21
                    Spokane, WA 99216
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                    Staples
                    500 Staples Drive
                    Framingham, MA 01702



                    Sunbelt Rentals
                    573 N Idahline Rd
                    Post Falls, ID 83854



                    Sunflower Bank
                    239 W Main Street
                    Spokane, WA 99206



                    Tapmatic
                    802 Clearwater Loop
                    Post Falls, ID 83854



                    Terminix
                    15320 E Marietta, Suite 7
                    Spokane, WA 99216



                    The Center for Oral Surgery
                    322 W 7th Ave
                    Spokane, WA 99204



                    Therapeutic Dimensions
                    Allen Family Properties
                    319 W Hastings Rd
                    Spokane, WA 99218



                    Thompson's Custom Orthotics
                    401 S Sherman Ave
                    Spokane, WA 99202



                    TopCon Solutions
                    1627 W Trent Ave
                    Spokane, WA 99202
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                    TruGreen
                    225 N Ella Rd
                    Spokane, WA 99212



                    Utility Trailer Sales #2
                    10401 W Westbow Blvd
                    Spokane, WA 99224



                    Van Buren Assoc
                    1536 W. 25th St., Ste. K
                    San Pedro, CA 90732



                    VCA Animal Hospitals 807
                    1704 E Seltice Way
                    Post Falls, ID 83854



                    VCA Animal Hospitals 813
                    310 N Herborn Place
                    Post Falls, ID 83854



                    VCA Animal Hospitals 817
                    25007 E Wellesley Ave
                    Otis Orchards, WA 99207



                    Vega Cloud
                    2780 N Eagle Ln
                    Liberty Lake, WA 99019



                    Verizon Business
                    PO Box 489
                    Newark, NJ 07101-0489



                    Verizon Connect
                    5055 North Point Pkwy
                    Alpharetta, GA 30022
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                    Verizon Wireless
                    PO Box 660108
                    Dallas, TX 75266-0108



                    VES Spokane- MAXIMUS
                    12509 Mirabeau Pkwy
                    Spokane, WA 99212



                    Visionary Communications Inc
                    118 N Stevens
                    Spokane, WA 99201



                    Vitalant
                    210 W Cataldo Ave
                    Spokane, WA 99201



                    WA State Dept of Revenue
                    Attn: Bankruptcy Unit
                    2101 4th Ave., Ste 1400
                    Seattle, WA 98121



                    WA State Dept of Revenue
                    Attn: Bankruptcy Unit
                    2101 4th Ave, Suite 1400
                    Seattle, WA 98121



                    WA State Labor Industries
                    7273 Linderson Way SW
                    Turnwater, WA 98501-5414



                    Waste Management
                    P.O. Box 3020
                    Monroe, WI 53566



                    Western States Catepillar 09
                    10780 N Hwy 95
                    Hayden, ID 83835
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                    Western States Catepillar 15
                    1725 N Waterworks St
                    Spokane, WA 99212



                    Western States Catepillar 24
                    468215 US HWY 95
                    Sagle, ID 83860



                    Wheatland Bank-Wilbur
                    8 NE Main Avenue
                    Wilbur, WA 99185



                    Whitworth Church
                    312 W Hawthorne Rd
                    Spokane, WA 99218



                    Wildfire Defense Systems,Inc
                    888 S Loscha St
                    Post Falls, ID 83854



                    Wilson Construction Company
                    4510 South Ben Franklin Lane
                    Spokane, WA 99224



                    World Wide
                    11724 E Montgomery
                    Bldg D7-9
                    Spokane, WA 99206
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                                          United States Bankruptcy Court
                                                      District of Idaho
 In re   ROOME ENTERPIRSES, INC.                                                       Case No.
                                                              Debtor(s)                Chapter     11




                             CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for ROOME ENTERPIRSES, INC. in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:
Roome Enterprises 401K Plan
5974 W Seltice Way
Post Falls, ID 83854




 None [Check if applicable]




January 14, 2025                                 /s/ Matthew W. Grimshaw
Date                                             Matthew W. Grimshaw
                                                 Signature of Attorney or Litigant
                                                 Counsel for ROOME ENTERPIRSES, INC.
                                                 Grimshaw Law Group, P.C.
                                                 800 W. Main Street
                                                 Suite 1460
                                                 Boise, ID 83702
                                                 208-391-7860
                                                 matt@grimshawlawgroup.com
